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 1                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
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 3     ___________________________

 4     UNITED STATES OF AMERICA,

 5                            Plaintiff,           Criminal Action
                                                   No. 99-10371-DJC
 6     V.
                                                    August 5, 2013
 7     JAMES J. BULGER,                             8:44 a.m.

 8                         Defendant.
       ___________________________
 9

10

11                       TRANSCRIPT OF JURY TRIAL DAY 36

12                                CLOSING ARGUMENTS

13                     BEFORE THE HONORABLE DENISE J. CASPER

14                          UNITED STATES DISTRICT COURT

15                        JOHN J. MOAKLEY U.S. COURTHOUSE

16                                 1 COURTHOUSE WAY

17                                 BOSTON, MA    02210

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21
                             DEBRA M. JOYCE, RMR, CRR
22                           LEE A. MARZILLI, RMR, CRR
                             Official Court Reporters
23                        John J. Moakley U.S. Courthouse
                            1 Courthouse Way, Room 5204
24                               Boston, MA 02210
                                    617-737-4410
25
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 1     APPEARANCES:

 2     FOR THE GOVERNMENT:

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         1                              P R O C E E D I N G S

         2                       (The following proceedings were held in open

         3     court before the Honorable Denise J. Casper, United States

         4     District Judge, United States District Court, District of

         5     Massachusetts, at the John J. Moakley United States Courthouse,

         6     1 Courthouse Way, Boston, Massachusetts, on August 5, 2013.)

         7                THE COURT:    Good morning, counsel.

         8                ALL:   Good morning.

         9                THE COURT:    Good morning, Mr. Bulger.

08:45   10                THE DEFENDANT:    Good morning.

        11                THE COURT:    Counsel, before we check on the jurors

        12     this morning, just a few matters related to the charge and a

        13     few other things.

        14                First, I have had handed to you a final copy of the

        15     charge, the elements chart, and the verdict form, along with

        16     the forfeiture -- separate forfeiture charge and separate

        17     special verdict forms for the forfeiture matter.

        18                Just a few things on the charge itself, that is, the

        19     criminal charge, there were a few minor tweaks I needed to

08:45   20     make.

        21                The first is on page 17, the bottom of page 17, three

        22     lines from the bottom, "and information, the usefulness of

        23     which could not reasonably have been anticipated," should be

        24     "or information, the usefulness of which could not reasonably

        25     have been anticipated."      So I've changed the "and" to an "or"
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         1     consistent with Rule 35.

         2                On page 57, in regards to the elements for the state

         3     extortion charge against Mr. Bulger arising out of the alleged

         4     extortion of Mr. Slinger, between the first and second element,

         5     it was implicit, but I added the word "and" to make clear that

         6     both elements are required.

         7                Page 77, given that we've now bifurcated this matter

         8     between the criminal charges and the forfeiture, on the bottom

         9     of page 77 where I talk about the return of a verdict, I've

08:46   10     added the following sentence, "After you reach a verdict, there

        11     may be an additional proceeding."

        12                And page 79 in regards to my direction to you about

        13     the firearms and ammunition and the cash found in the

        14     California apartment, in the third paragraph I've just made a

        15     notation that the exhibits, except the firearms, ammo, and cash

        16     themselves will be sent back with you, but those are otherwise

        17     available upon request for inspection.

        18                Last thing, counsel, because I don't think I mentioned

        19     this before, after I read the charge to the jury, when I get to

08:47   20     page 79, I'll see you at sidebar to address any issues before I

        21     read the submitting the case to the jury piece and we send them

        22     into the deliberation room.

        23                In regards to the forfeiture allegations, as I said,

        24     I've given you hard copies of both of those documents.            For the

        25     most part, counsel, they track what was proposed by the
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         1     government.    I've added and revised a few things just to make

         2     it consistent with the charge on the criminal counts.

         3                Just a few things about the forfeiture allegations.

         4                Mr. Kelly, I don't know if you know the answer to

         5     this, but in terms of the indictment that's going back to the

         6     jury room with the criminal counts, I'm thinking it makes sense

         7     to take out the forfeiture allegations from that indictment,

         8     and people behind you are shaking their heads.

         9                MR. KELLY:    I have to make sure which people are

08:48   10     shaking their heads.

        11                (Pause.)

        12                MR. KELLY:    The right one, yes, your Honor.

        13                THE COURT:    So I'm going to take those pages out but

        14     leave the signature page.

        15                I also -- perhaps this is directed to counsel behind

        16     you -- I understand you're not pursuing the money laundering

        17     forfeiture allegations.

        18                MS. MURRANE:    That's right, your Honor.      So we are

        19     arguing these are related to the main offense.

08:49   20                THE COURT:    If we get to the second part, the

        21     forfeiture, where I'm charging them on forfeiture, we could

        22     send back the racketeering forfeiture allegations but not the

        23     money laundering.

        24                MS. MURRANE:    That's right, your Honor.

        25                THE COURT:    In regards to the elements chart, counsel,
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         1     there was one change I made to, I think it's page -- to Count

         2     One, the Racketeering Act 21 and 24, this was just to be

         3     consistent with the charge, and that was that as to the

         4     conspiracy, the defendant willfully joined in this agreement.

         5     There were those three places where it said "knowingly and

         6     willfully," which was not consistent with the charge, so that's

         7     been changed.

         8                And lastly, counsel, when I made Houlihan findings on

         9     the record on Friday, I made reference to certain statements

08:50   10     that were introduced as to Mr. Halloran, Mr. McIntyre,

        11     Mr. Castucci.     When I went back over the docket this weekend,

        12     the government made a motion to the admission of statements

        13     made by Mr. Callahan --

        14                MR. HAFER:    Yes, your Honor.

        15                THE COURT:    -- under Houlihan on Docket 1064, I just

        16     wanted to make sure that my findings on Friday included those

        17     statements as well.      Those were statements that were proffered,

        18     if I recall correctly, through Mr. Solimando.

        19                MR. HAFER:    That's correct, your Honor.

08:50   20                THE COURT:    And, counsel, I find that those -- the

        21     findings in terms of forfeiture by wrongdoing are appropriately

        22     made as to those statements as well.        I think there was

        23     sufficient non-hearsay evidence presented at trial regarding

        24     Mr. Callahan's role and the concern about him cooperating.        So

        25     for all of those reasons, the findings that I alluded to on
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         1     June 25, 2013 and made conditional I make final on this record

         2     now.   Again, that's a reference to Docket 1064.

         3                 Counsel, anything else before we check on the jury?

         4                 MR. WYSHAK:    Just so we're clear, your Honor, we're

         5     bifurcating the forfeiture proceedings, so I assume you

         6     contemplate a second summation on the forfeiture?

         7                 THE COURT:    I had not contemplated that, but do you

         8     want to be heard?

         9                 MR. WYSHAK:    Well, I think that -- yes.     I think that

08:51   10     the rule provides for and allows for --

        11                 THE COURT:    Well, both additional discovery and

        12     argument, counsel?

        13                 MR. WYSHAK:    Yes.

        14                 THE COURT:    But you're not anticipating additional

        15     evidence.

        16                 MR. WYSHAK:    Right.   But I don't intend to argue

        17     forfeiture in this first summation.        I think I'd rather have

        18     Mr. Kelly do the forfeiture argument.

        19                 THE COURT:    That seems like a surprise to Mr. Kelly,

08:52   20     but, okay.

        21                 MR. KELLY:    I'll be ready, your Honor.

        22                 THE COURT:    Okay.

        23                 And, counsel -- well, I guess we'll get to that.

        24                 Mr. Carney, do you have a different position?

        25                 MR. CARNEY:    No, your Honor, thank you.
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         1                THE COURT:    Well, counsel, we can talk about that at

         2     that juncture after we've sent them on their way for the

         3     criminal counts, but I imagine you wouldn't want much time on

         4     that, counsel.

         5                MR. KELLY:    Certainly less than three hours.

         6                THE COURT:    Okay.

         7                Counsel, anything else?

         8                Mr. Wyshak?

         9                MR. WYSHAK:    No, your Honor.

08:52   10                THE COURT:    Mr. Carney?

        11                MR. CARNEY:    No, your Honor, thank you.

        12                THE COURT:    Once we get the jurors and bring them in,

        13     I'll just give them a brief overview of what the schedule will

        14     be today because it will be a little bit different than our

        15     other days.

        16                Mr. Wyshak, as I said, we'll take about a ten-minute

        17     break, I think you had suggested around 10:30, which sounds

        18     about right.    I'll also let them know that once you finish,

        19     we'll take an early lunch break for an hour, and then

08:53   20     Mr. Carney and Mr. Brennan will have the defense closing.         I'll

        21     also take about a ten-minute break somewhere in there.

        22                Counsel, does it make sense to take that when you're

        23     handing off to the other?

        24                MR. CARNEY:    Yes, your Honor.     Mr. Brennan will do the

        25     first half of the argument, I'll do the second, and in between
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         1     would be appropriate ten minutes.

         2                THE COURT:    And then we'll see where we are, whether

         3     or not we take a break before any rebuttal.

         4                Counsel, why don't we check on the jurors.

         5                (Discussion off the record.)

         6                THE COURT:    Counsel, do you need any time if they're

         7     ready?   Are you all set up?

         8                MR. WYSHAK:    I think we're all set, your Honor.

         9                THE COURT:    Okay.

08:54   10                (Pause.)

        11                (Jury entered the courtroom.)

        12                THE COURT:    Good morning, jurors.

        13                THE JURY:    Good morning.

        14                THE COURT:    As I mentioned to you on Friday, this

        15     morning and today for the remainder of the day we're going to

        16     have closing arguments by both sides in this case.

        17                Tomorrow, as I also told you on Friday, I'll give you

        18     my final instructions, the jury charge, which is the law you

        19     are to follow in your deliberations, but let me just briefly

08:59   20     say today, remind you of something I said in my preliminary

        21     instructions to you:      The arguments by counsel are not

        22     evidence, they're intended to help you interpret the evidence,

        23     but they're not evidence in and of themselves.          If the

        24     attorneys on either side say something about the facts that

        25     differs from your memory, it's going to be your collective
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         1      memory as jurors that will control.        So just keep that in mind

         2      as you listen to arguments, and I'll give you full instructions

         3      tomorrow morning.

         4                  Let me just give you a little more information about

         5      today's schedule, because it's going to be slightly different

         6      than our schedule previously.

         7                  The government will do their closing argument first,

         8      because they have the burden of proof in this case.          We're

         9      going to take about a ten-minute break at some point during the

09:00   10      closing argument by Mr. Wyshak.       We will take an early lunch

        11      break for an hour after the government has concluded its

        12      closing argument.     After lunch, we'll have closing arguments by

        13      Mr. Carney and Mr. Brennan.      We'll also take about a ten-minute

        14      break at some point during that closing argument.          And then

        15      after that, the government will have an opportunity for

        16      rebuttal.    So we will be going into the afternoon, I can't tell

        17      you exactly when into the afternoon, but I know that you're all

        18      prepared to stay for a longer day today.

        19                  Thank you, and I will ask Mr. Wyshak to begin the

09:00   20      government's closing.

        21                  MR. WYSHAK:   Thank you, your Honor.

        22                  Good morning, ladies and gentlemen.

        23                  We've been here for two months, we're near the end, so

        24      I'm going to ask you to put up with me for a few more hours

        25      today.
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         1                The evidence at this trial has convincingly proven

         2      that the defendant in this case, James Bulger, is one of the

         3      most vicious, violent, and calculating criminals ever to walk

         4      the streets of Boston.      So is his partner, Stephen Flemmi.

         5      Stephen Flemmi, you saw him on the witness stand, he's a

         6      depraved individual.     He's doing life-plus-30 in jail, and he's

         7      not going anywhere, ladies and gentlemen.

         8                These two men for 20 years lived together day after

         9      day after day, they plotted, they schemed, they robbed, they

09:02   10      murdered together, but they were also informants together, and

        11      if there's one thing you've heard during this trial, it's how

        12      secretive a relationship that is.       The last thing a criminal

        13      wants to be known as is an informant, and he certainly doesn't

        14      want any of his co-criminals to know about that.          Yet, these

        15      two men, Stephen Flemmi and James Bulger, shared that very

        16      sensitive and secret relationship together with the FBI.

        17                So now the defendant, James Bulger, wants to distance

        18      himself from Mr. Flemmi.      He can't do it, ladies and gentlemen.

        19      This is his partner.     They're two peas in a pod.       They're the

09:02   20      same.   Everything you might say about Stephen Flemmi you might

        21      just as well say about James Bulger.

        22                So, too, with John Martorano.       Remember that it was

        23      John Martorano to whom James Bulger went in 1972 when James

        24      Bulger was on the losing end of a gang war in South Boston, and

        25      he went to John Martorano to ask John Martorano to have Howie
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         1      Winter intervene in this gang war, and Howie Winter did that

         2      for James Bulger.     He settled that.     And then it was James

         3      Bulger again who went back to John Martorano and said, Why

         4      don't we round up all the bookmakers in town, go into the

         5      gambling business.     And now, again, the defendant wants to

         6      distance himself from John Martorano, this man with whom he

         7      committed crimes, this man with whom -- for whom he sent money

         8      to Florida week after week, month after month for almost 20

         9      years.    Again, those two men were partners in crime for 25

09:04   10      years.    Now the defendant wants to distance himself from John

        11      Martorano.    He can't do it.

        12                  To show you how close these men were, John Martorano

        13      told you he named his infant son after James Bulger and Stephen

        14      Flemmi.   That's the nature of this relationship.

        15                  It was James Bulger who chose these men.       It was James

        16      Bulger who chose these men to commit crimes with, to murder

        17      people with.    The government did not choose these men.          The

        18      reason these men are here testifying before you in this

        19      courtroom is because of the choices that James Bulger made in

09:05   20      his life.    For everything you want to say about them, he's the

        21      same.

        22                  Now, before I get into this too much, I want to thank

        23      you for your attention and patience during the course of the

        24      trial.    You've been here for two months, you've seen a lot of

        25      evidence, heard a lot of testimony, seen a lot of documents, a
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         1      lot of physical evidence go into evidence in this case.

         2                 Now, my job in this first closing, because,

         3      unfortunately for you, I'm going to come back and have the last

         4      word, is to try to give you some kind of guidance on how to

         5      deal with all the evidence that's before you, essentially to

         6      try to help you separate the wheat from the chaff, decide

         7      what's important from the case and what's not important.

         8                 The reason you were chosen as jurors is because we

         9      thought you could be fair and impartial, and we also thought

09:06   10      you had the requisite common sense to decide the facts in this

        11      case.    The Judge is going to tell you that when you start

        12      deliberations, you throw your biases, your prejudices out the

        13      door, you don't bring those to your deliberations, but the most

        14      important thing you do bring to your deliberations is your

        15      common sense, your life experience, and you need your common

        16      sense in this case to help you separate the wheat from the

        17      chaff.

        18                 There's no doubt that the evidence that you've heard

        19      in this case is deeply disturbing.        It's disturbing first and

09:06   20      foremost because of the breadth and extent of the criminal

        21      activity in which the defendant and his co-conspirators

        22      engaged.    It's disturbing that it was happening while

        23      Mr. Bulger and Mr. Flemmi were informants for the FBI, and this

        24      criminal activity seemingly occurred right under the FBI's

        25      nose.    It's disturbing that Mr. Bulger and Mr. Flemmi bribed
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         1      FBI agents, bribed other local law enforcement, and in doing

         2      so, they enhanced their ability to commit crime and avoid

         3      prosecution for so many years.       It is disturbing that we are

         4      here in 2013, almost 20 years after the defendant was initially

         5      indicted, and we're here 20 years later because Mr. Bulger was

         6      tipped off by John Connolly, a corrupt FBI agent, and he fled

         7      Boston and remained a fugitive for all these years.

         8                But, again, what is your job in this case?         Your sworn

         9      obligation is to decide what the evidence is and apply that

09:08   10      evidence to the law as Judge Casper is going to give it to you.

        11      In doing so, ladies and gentlemen, I submit to you that whether

        12      or not Mr. Bulger and Mr. Flemmi were FBI informants has very

        13      little to do with the charges in this case.

        14                It doesn't matter whether or not Mr. Bulger was an FBI

        15      informant when he put a gun to the head of Arthur Barrett and

        16      pulled the trigger.     Whether he's an FBI informant or not, he's

        17      guilty of murder.

        18                This trial is not whether or not John Morris and John

        19      Connolly were corrupt FBI agents.       It's not about that.      It's

09:09   20      not about whether or not Gerry Montanari did a good job

        21      handling Brian Halloran.      It's not about whether or not the FBI

        22      office in Boston was a mess.       It's not a referendum on whether

        23      or not Kevin Weeks and John Martorano should be spending the

        24      rest of their lives in jail, just like Mr. Flemmi.          It's about

        25      whether or not the defendant is guilty of the crimes charged in
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         1      the indictment.    He's the one on trial here, ladies and

         2      gentlemen, not the government, not the FBI, not John Martorano,

         3      not Kevin Weeks, James Bulger.

         4                So you need to keep your eye on the ball.         Don't get

         5      distracted by the defense arguments about irrelevant issues

         6      that are designed to keep you from focusing on what's important

         7      for you to decide the evidence in this case.

         8                So what is the relevance of the FBI corruption?         Well,

         9      essentially the reason that the government put in evidence of

09:10   10      the defendant's relationship with the FBI is because there are

        11      four people dead because of the relationship between John

        12      Connolly and James Bulger.      That's why you heard about that

        13      relationship.    That relationship also enhanced Mr. Bulger's

        14      ability to commit crime and avoid prosecution.

        15                The defense would have you think that the entire

        16      Department of Justice, the U.S. Attorney's Office, the Strike

        17      Force, is corrupt.     Not so, ladies and gentlemen.       Use your

        18      common sense.    You know, there's an old saying, a few bad

        19      apples spoil the barrel.

09:11   20                This is a case just like any other case where, whether

        21      you work in a bank, whether you work in a company, like IBM, or

        22      whether you work in the government, no system is perfect, and

        23      if there are dishonest people who work in the bank, work for

        24      IBM, work in a government office and they see a way to exploit

        25      a weakness in the system, whether it's a bank teller who is
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         1      stealing money out of the drawer, whether it's an accountant

         2      who works for a big corporation who embezzles money, it's a

         3      dishonest person who takes advantage of the system and uses it

         4      to their own benefit.     And that's what happened here.

         5                John Connolly was a corrupt FBI agent.         John Connolly

         6      cared more about his relationship with James Bulger and William

         7      Bulger than he did about doing his job.        He saw a way not only

         8      to enhance his own career, but also to protect Mr. Bulger.

         9      Along the way he corrupted John Morris, his supervisor, and

09:12   10      perhaps several other FBI agents.       It doesn't mean that

        11      everybody in the Boston office was corrupt.

        12                Were there agents who suspected something was going

        13      on?   You heard the testimony.      I think the defense probably did

        14      a better job proving this than the government did, yes, the

        15      Boston FBI office was a mess.       Why was it a mess?     It was a

        16      mess because there was a problem in that office, and that

        17      problem was John Connolly and John Morris, and other agents

        18      suspected it, and it ruined the entire atmosphere in the Boston

        19      office.   It caused distrust among agents.        Was there a failure

09:13   20      in management?    Absolutely.    But there's no grand scheme here,

        21      ladies and gentlemen.

        22                This program, in which Mr. Bulger and Mr. Flemmi were

        23      recruited to become FBI informants, was a flawed program.

        24      Taking high-ranking members of organized crime and using them

        25      as informants is a bad idea, and Mr. Connolly saw a way to
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         1      exploit that bad idea for his own personal benefit.

         2                Again, that really has nothing to do with whether

         3      Mr. Bulger is guilty of the crimes charged in the indictment.

         4      When he puts a gun in the stomach of Mr. Solimando, a machine

         5      gun, and tells him, You owe me $400,000, it doesn't matter

         6      whether he's an informant or not.       It doesn't matter whether

         7      John Connolly is corrupt or not.       It doesn't matter whether the

         8      FBI is leaking information to him.        He is the person who's

         9      extorting individuals, who's murdering individuals.          It's his

09:14   10      criminal liabilities that you are here to determine.

        11                Now, there are some things that Mr. Carney did say in

        12      his opening with which the government agrees.         He told you that

        13      Mr. Bulger paid money to John Connolly.        The government doesn't

        14      dispute that, the evidence has proven it.

        15                He told you that his client, James Bulger, was

        16      involved in illegal gambling, loansharking, drug dealing,

        17      extortion.    We don't dispute that, we agree with that.          The

        18      evidence, again, has proven it.

        19                He told you that James Bulger made millions of dollars

09:15   20      from engaging in this criminal activity.         Again, we agree.       The

        21      evidence has shown that as well.

        22                He told you, Mr. Carney, in his opening, that James

        23      Bulger paid money to other members of law enforcement other

        24      than John Connolly.     And again, there's no dispute about that.

        25                Now, I'm going to talk about the indictment in the
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         1      case, and in order to assess the charges in the indictment, I

         2      want to talk about theories of criminal liability.          So if

         3      you'll bear with me a second, I made a little chart here.

         4                (Pause.)

         5                So there are three ways that somebody is liable for

         6      the commission of a crime.      The first way is obvious, they're

         7      the principal actor, the person who walks into the bank, puts

         8      the gun to the bank teller and says, Give me your money.

         9      That's clear, I think everybody gets that.

09:17   10                Aider and abetter.     The law provides that you are as

        11      guilty as a principal if you aided and abetted the commission

        12      of the crime.    And what is aiding and abetting?        Aiding and

        13      abetting is the guy who's maybe sitting outside the bank in the

        14      getaway car.    He doesn't go into the bank, he doesn't rob the

        15      bank, but he's helping the person who's doing it by sitting in

        16      that getaway car.     Let's say he stole the car for use in a bank

        17      robbery or got the gun for the person who went into the bank to

        18      rob that bank.    If he did those acts with the same intent as

        19      the person who walks into the bank and robs the bank, he's as

09:17   20      guilty as the principal.      If he hires somebody to commit a

        21      crime, if he solicits them to commit a crime, he's as guilty as

        22      the person who commits the crime.

        23                There's also what's called co-conspirator to

        24      liability, and that's especially pertinent in this case, ladies

        25      and gentlemen.    If you are a member of a conspiracy, and in
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         1      this case you've seen that this is a very broad and

         2      wide-ranging conspiracy, if you're a member of a conspiracy,

         3      you are liable for all the acts of every other member of the

         4      conspiracy that is reasonably foreseeable.         Now, what do I mean

         5      by that?   Conspiracies are a very insidious thing.         One man can

         6      only do so much.     Five men can do more, ten men can do more, 20

         7      men can do more, and that's why conspiracies are so dangerous.

         8                 When you create a criminal organization in which

         9      different people play different roles, different people are

09:19   10      engaging in different types of criminal activity, it becomes a

        11      much more dangerous situation for society than a single

        12      individual acting alone.      So, again, you become -- when you get

        13      on that train with all those other members of the conspiracy,

        14      you become liable for what those other individuals do, as long

        15      as it's reasonably foreseeable.       And what do I mean by that?

        16      Well, let's say, again, using the bank robbery analogy, ten men

        17      get together and say, We're going to become bank robbers, we're

        18      going to go rob a series of banks, and one of the men who's a

        19      member of that conspiracy, he rapes a woman.         Well, that's not

09:19   20      reasonably foreseeable to the other members of the bank robbery

        21      conspiracy, because their business is robbing banks.          But let's

        22      say two of the members of the conspiracy one day go out and rob

        23      a bank, well, that's part of the conspiracy.         The other members

        24      of the conspiracy should have reasonably foreseen that other

        25      members of this group are going to engage in the type of
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         1      criminal activity that was -- that the group was formed in

         2      order to conduct.     That's very important in this case, because

         3      as you have heard, Mr. Bulger was the leader of a very

         4      wide-ranging, broad organization that was engaged in many

         5      different types of crimes, from illegal gambling, loansharking,

         6      extortion, murders.     As the leader of that organization -- if

         7      you find that he's not the principal actor and even if he did

         8      not aid and abet the commission of the crime, but that as the

         9      leader of this criminal organization it was reasonably

09:20   10      foreseeable for him to believe that some other member of his

        11      organization would commit the crime charged in the indictment,

        12      he is as guilty as the principal.

        13                Now, getting back to the indictment.        You're going to

        14      have a copy of the indictment to take into the deliberations

        15      room with you.    I'm not going to go over it right now.          I

        16      suggest to you that you read through it, obviously.

        17                The first count lays out the racketeering conspiracy,

        18      and that's what I want to talk about first.         The first two

        19      counts in the indictment are RICO counts.         RICO is

09:21   20      racketeering.    The time period addressed by those two counts is

        21      1972 to approximately 2000.

        22                Now, what is racketeering?

        23                (Pause.)

        24                Showing you what's been marked Exhibit 94, this is a

        25      racketeering organization, ladies and gentlemen.          The case
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         1      against Mr. Bulger is the type of case that the RICO statute

         2      was designed to address when it was passed, an organized crime

         3      group composed of many individuals engaged in different types

         4      of criminal activity.     The charge in front of you shows the

         5      original leadership, Mr. Bulger, Mr. Flemmi, Mr. Martorano,

         6      Howard Winter, Joe McDonald, and Jimmy Sims in the 1970s, and

         7      the various individuals, many of whom you've heard evidence

         8      about, who were members and associates of that racketeering

         9      organization.

09:23   10                As you know, the leadership of this organization

        11      evolved over time as Mr. Sims and Mr. McDonald became

        12      fugitives, Mr. Winter was incarcerated for extortion, and

        13      ultimately, John Martorano became a fugitive.         And what did

        14      that leave?

        15                (Pause.)

        16                Again, referring to -- I think it's 95 in evidence.

        17      By the early 1980s, the leadership of this organization is down

        18      to James Bulger and Stephen Flemmi.        John Martorano is a

        19      partner, but he's in Florida on the lam.

09:24   20                Kevin Weeks has sort of stepped into a second-tier

        21      role, along with George Kaufman, who was always there; and

        22      again, Mr. Bulger begins to rely upon his South Boston group --

        23      Mr. Linskey, Mr. Curran, Mr. Nee, John Hurley, Kevin O'Neil --

        24      more than he had during the '70s.       He also incorporates

        25      Mr. Connolly and Schneiderhan, a lieutenant in the State
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         1      Police, into this criminal organization, and you'll hear a

         2      little bit more about that.

         3                But this organization is now like this.         You still

         4      have all these players here, all the bookies, the loan sharks.

         5      You change the leadership, and then -- I think this is Exhibit

         6      90 -- Mr. Bulger and Mr. Flemmi add this feature to their

         7      criminal organization.      You heard the testimony about the

         8      beginning of this drug distribution network in the early 1980s.

         9                So this Winter Hill organization, this South Boston

09:25   10      organization, continues to grow.       This is a RICO organization.

        11                Now, what is racketeering?       I just want to walk

        12      through the elements a little bit for you.

        13                (Pause.)

        14                The Judge is going to instruct you on the law.           This

        15      is just a little shortcut for you, but RICO has five elements:

        16                The fact that there's an enterprise.        What is an

        17      enterprise?    Well, it's what I've just shown you, a group of

        18      individuals, as in this case, associated in fact.          An

        19      enterprise can also be a legal enterprise, such as a

09:26   20      corporation, like IBM, or Staples.        A RICO organization could

        21      be a government agency.      All it is, is simply an entity that

        22      either exists as a matter of fact or has some kind of other

        23      legal existence.

        24                The activities of the enterprise must affect

        25      interstate commerce, and in this case, it's clear that this
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         1      wide-ranging organization affected interstate commerce.           How

         2      did it do that?    The gambling business.      You heard testimony

         3      from James Katz about how they would have customers out of

         4      state, those out-of-state customers would FedEx money to him in

         5      Massachusetts in payment of their gambling debts.          You heard

         6      that they used the banking system to funnel these phony checks

         7      that were made out in the names of people like Ronald Reagan

         8      and George Washington through check-cashing places.          You heard

         9      about the race fix scheme, where they were fixing races up and

09:27   10      down the East Coast at racetracks in New York, New Jersey,

        11      Pennsylvania.    You heard about this individual, Jack Mace, the

        12      big bookie in New York who was working as a layoff office for

        13      Winter Hill's gambling business.       You heard testimony about how

        14      when John Martorano fled from Massachusetts, he went to

        15      Florida, and for 20 years, at least once a month, if not

        16      several times a month he would receive a package of money that

        17      was either couriered to him or sent in the mail.          You've heard

        18      about meetings outside Massachusetts, meetings in New York

        19      between Mr. Martorano and Mr. Flemmi.        You've heard that people

09:28   20      were murdered outside of Massachusetts in connection with the

        21      activities of this RICO enterprise, John Callahan, Roger

        22      Wheeler.    You also heard that the drug distribution network

        23      obtained their supply from outside of Massachusetts, Florida,

        24      Colombia.

        25                  The next element of the RICO charge is that the
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         1      defendant was associated with or employed by the enterprise.

         2      Well, in this case that's an easy one.        Mr. Bulger, he's the

         3      leader.   He's the boss.     He's certainly associated or employed

         4      by this enterprise.

         5                  The next element is that the defendant engaged in a

         6      pattern of racketeering activity.       What does that mean?      That

         7      means that the defendant committed at least two crimes that are

         8      racketeering crimes, and I will tell you as a matter of law,

         9      and Judge Casper is going to tell you as well, that the

09:29   10      racketeering acts charged in this case are predicate RICO

        11      offenses.    Extortion, money laundering, murder, narcotics

        12      distribution are all, as a matter of law, the kind of crimes

        13      that the RICO statute is meant to address.         In order to show a

        14      pattern, you have to show that the defendant committed at least

        15      two of these crimes within a ten-year period, and that the

        16      crimes are related; in other words, they have something to do

        17      with each other in the activities of the enterprise.

        18                  And that's the last element there, that the defendant

        19      conducted or participated in the conduct of the enterprise

09:30   20      through that pattern of racketeering.

        21                  So again, taking the analogy that we had talked about

        22      before, if there's an individual who's a member of a bank

        23      robbery conspiracy and, let's say, he went out and he raped two

        24      women and committed two rapes, well, those crimes are not

        25      committed pursuant to the conduct of the enterprise.
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         1                But in this case, as you know, the extortions, the

         2      murders, the money laundering, the drug distribution were all

         3      committed pursuant to the defendant's conduct and participation

         4      in the activities of the enterprise.        So that's essentially

         5      what you need to determine in order to find the defendant

         6      guilty of racketeering.

         7                In this case, there's a lot more than two racketeering

         8      acts, there's 33 of them.      The first 20 relate to murder.

         9      Racketeering Acts 21 through 28 relate to extortion.

09:31   10      Racketeering Act 29, narcotics distribution.         Racketeering Acts

        11      30 through 33 relate to money laundering.

        12                The difference between Count One and Count Two is

        13      Count One is a conspiracy.      And what does that mean?

        14      Conspiracy just means that the defendant agreed with one or

        15      more persons to commit the underlying racketeering crime.           So

        16      even if, let's say hypothetically, none of the substantive

        17      racketeering acts were ever committed but Mr. Bulger in his

        18      participation in the racketeering enterprise agreed that two or

        19      more racketeering acts should be committed, either by himself

09:32   20      or some other member of the RICO enterprise, that is sufficient

        21      to convict him, find him guilty of conspiracy.

        22                Count Two is the subjective racketeering crime.         Now,

        23      the reason that this racketeering organization was so

        24      successful is that the men who led this group, again, showing

        25      you the organizational chart from the '70s -- Bulger, Flemmi,
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         1      Martorano, Winter, McDonald, Sims -- these men were the

         2      survivors of a gang war during the '60s.         And you heard a

         3      little bit about that, how these neighborhood groups in

         4      Charlestown and Somerville and Roxbury and Dorchester were

         5      involved in this shooting war, where over 60 people died during

         6      the '60s.   The Mafia sort of sat on the sidelines taking

         7      potshots at both sides in that gang war, but these men were the

         8      victors, these men were the survivors.        They were armed to the

         9      teeth.   They were organized, they were feared.        They acted like

09:34   10      a paramilitary organization.       You heard the evidence.        When

        11      they engaged in criminal activity, they had this armory of

        12      weapons, they used stolen cars, I think Mr. Martorano described

        13      them as boilers, they had backup cars in order to crash into

        14      any police vehicles that may come onto the scene.          They

        15      communicated via walkie-talkies.       They obtained intelligence

        16      from law enforcement, they had their sources in law

        17      enforcement.    They hunted their targets.       These men didn't hunt

        18      animals, ladies and gentlemen, they hunted people.          That's why

        19      they are so successful.      These men were the scariest people

09:34   20      walking the streets of Boston.       And that is why whenever they

        21      approached a bookmaker or a loan shark or a drug dealer or any

        22      other criminal and said, You work for us, we want a piece of

        23      the action, you have to pay us tribute, you have to pay us

        24      rent, there was very little resistance, because those

        25      individuals knew either they paid or they got hurt.          It's this
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         1      reputation for violence that enables them to be so successful

         2      in committing extortion, shaking down people like Mike

         3      Solimando, Kevin Hayes, Richard Buccheri, Ray Slinger, Steven

         4      Rakes, Teddy Berenson, David Lindholm.        These are the extortion

         5      counts, these are the Racketeering Acts, 21 through 28, in

         6      Counts 3 and 4 in the indictment.

         7                Now, just to finish this piece on the rackets --

         8                (Pause.)

         9                In Boston, this is how the rackets worked.         In Boston

09:36   10      there were two groups that controlled the rackets, the Winter

        11      Hill Gang and the Mafia, they're organized crime.          Everybody

        12      else, all these bookies and loan sharks, bank robbers, drug

        13      dealers running around town, they're criminals, too, but

        14      they're disorganized.     And those members of disorganized crime,

        15      they prey upon the public, they're the people who are out

        16      robbing people, shaking them down.        In order for them to do

        17      what they want here, they have to pay tribute.         Either they

        18      associate themselves with the Mafia or they associate

        19      themselves with Winter Hill.       Those are the only two games in

09:37   20      town, ladies and gentlemen.      And you saw that Winter Hill

        21      coordinated its activities with the Mafia.         You saw all those

        22      photos from time to time of meetings between Mr. Bulger,

        23      Mr. Flemmi, and members of the Mafia.        You saw those photos,

        24      many from the Lancaster Street garage surveillance.

        25                Bookmakers and loan sharks who are approached and have
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         1      guns put in their stomachs, pointed at their heads, they can't

         2      go to the police and say, Mr. Bulger is shaking me down.           Why

         3      can't they do that?     They can't do that because they're

         4      criminals, too.    They can't go to the police and say, I'm a

         5      drug dealer and Mr. Bulger wants a piece of my action.            That's

         6      what makes this almost a perfect crime.        And you've heard, and

         7      I'll discuss it with you a little bit later, these people were

         8      more afraid of James Bulger and his co-conspirators than they

         9      were of the police, than they were of the law, than they were

09:38   10      of going to jail.

        11                  So it's Winter Hill and the Mafia who act as judges,

        12      juries, and sometimes executioners when it ever comes to

        13      disputes between bookmakers, loan sharks, drug dealers, who can

        14      do what, how they can do it, when they can do it.          They act as

        15      the law in the criminal world.

        16                  Now, again, I want to talk a little bit about John

        17      Connolly.    The defense would have you believe in this case that

        18      the relationship between John Connolly and James Bulger was a

        19      one-way street, that James Bulger bribed John Connolly; not so,

09:39   20      this is a two-way street.

        21                  Why does Mr. Bulger give John Connolly information?

        22      He gives John Connolly information because it helps him remove

        23      his competition.     It's like any business, I don't care whether

        24      you're Wal-Mart or Stop & Shop, you try to beat the

        25      competition.    This was one way that Mr. Bulger could remove his
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         1      competition, that other part of organized crime, the Mafia, by

         2      helping the FBI destroy the Mafia.        And what happened is over

         3      the years, as Mr. Bulger and Mr. Flemmi, and of course they're

         4      not the only informants who are working with the FBI to take

         5      down the Mafia, but they are the ones who exploit that.           They

         6      are the ones who, as the Mafia continues to be decimated by

         7      prosecutions over the years, Winter Hill, James Bulger, Stephen

         8      Flemmi, they become the biggest crooks in town.

         9                  This was a relationship that also helped John

09:40   10      Connolly.    How does it help John Connolly?       Well, he put money

        11      in his pocket, number one, but it also enhances his career in

        12      the FBI.    As you heard I think it was one of the defense

        13      witnesses said John Connolly was the BMOC.         What does that

        14      mean?   The big man on campus.

        15                  There's another factor that we can't ignore in this

        16      case, and that's Mr. Bulger's brother, William, who was one of

        17      the most powerful politicians in Massachusetts at the time.

        18      You heard the testimony of John Morris.        It was John Connolly's

        19      dream to become Police Commissioner of the Boston Police

09:41   20      Department.    Who was going to get him there?       William Bulger.

        21      John Connolly was going to bring John Morris along as his

        22      second man.    You heard the stories about the St. Patrick's Day

        23      breakfast, how politicians stood in line outside waiting to get

        24      in, but John Connolly and a select group of FBI agents were

        25      brought into the back door and given a seat right up front.
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         1      That's another reason why John Connolly aligned himself with

         2      James Bulger.    Not only did it enhance his personal career, it

         3      cemented his relationship with William Bulger for that next job

         4      as Police Commissioner of the City of Boston.

         5                 In the final analysis, ladies and gentlemen, you don't

         6      have to decide whether Mr. Bulger was an FBI informant or not.

         7      That's not something that is an element of any of these crimes.

         8      We've given you the evidence to show you the relationship, but

         9      it's not something you have to decide.        Why has it been so

09:42   10      hotly contested in this trial?       It's because Mr. Bulger cares

        11      more about his reputation as an FBI informant than he does

        12      about his reputation as a murderous thug.         And again, when he

        13      kills Brian Halloran and Michael Donahue right down the street

        14      from this courthouse, he's no less guilty of that crime whether

        15      or not he's an FBI informant.

        16                 Now, another issue that's come up and that I think you

        17      obviously are going to have to deal with during your

        18      deliberations is the agreements that the government has reached

        19      with some of the witnesses in this case.         You may not like some

09:43   20      of these agreements, but it's not about whether or not you

        21      agree with what the government did in this case, whether you

        22      like the agreements, it's about whether or not you believe the

        23      witness.   And the defense spent long hours cross-examining

        24      witnesses about some of their agreements with the government.

        25      But you're not here to decide whether or not those agreements
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         1      are good or bad.     Again, John Martorano and Kevin Weeks are not

         2      on trial.    They have had their day in court, they've gone to

         3      jail.   Don't forget, it is James Bulger who is on trial here

         4      today, and it's your job to decide whether or not James Bulger

         5      committed the crimes that are charged against him in the

         6      indictment.     Of course you should carefully scrutinize the

         7      testimony of a James Martorano and a Kevin Weeks, and in

         8      considering their credibility you should look at the agreement

         9      that they have reached with the government.

09:44   10                  So let's talk a little bit about John Martorano.       You

        11      heard he was arrested in 1995.       He was arrested as part of the

        12      investigation that led to the indictment of Bulger, Flemmi,

        13      Frank Salemme, several other individuals that you've heard

        14      about in this case.     He was charged with racketeering and

        15      loansharking, illegal gambling violations.         He told you that he

        16      was looking at about six years in jail.        But what else did he

        17      tell you happened while that 1995 case was pending?          He told

        18      you that for the first time it was disclosed that Mr. Bulger,

        19      Mr. Flemmi were FBI informants, and that John Connolly was

09:45   20      their handler.     And you heard about the extensive hearings

        21      before a judge in this courthouse, Judge Wolf, about the

        22      relationship between Mr. Bulger, Mr. Flemmi, and John Connolly.

        23                  You also heard testimony from Colonel Foley of the

        24      State Police.    That was early on in the case, but one of the

        25      things that Colonel Foley told you was among members of law
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         1      enforcement, this relationship had created a significant amount

         2      of tension and that relationships between the State Police and

         3      the FBI were frayed.

         4                  During these Wolf hearings, these hearings before

         5      Judge Wolf, Flemmi was alleging that he and Bulger could not be

         6      prosecuted because they were FBI informants.         Of course, Flemmi

         7      told you at the time he wasn't admitting that he had a corrupt

         8      relationship with John Connolly.       But John Martorano knew what

         9      the truth was.    He was horrified that these two men, who he

09:46   10      felt were as close to him as brothers, had been informants, had

        11      betrayed him, and he decided to expose them, and in doing so,

        12      he exposed himself.     He exposed himself to prosecution for

        13      murder.

        14                  What else do you know about these murders?       You know

        15      that they had gone unsolved for decades.         John Martorano told

        16      you he was never charged with murder.        He told you that there

        17      were no threats to charge him for murder.         Colonel Foley told

        18      you that these were cold cases, never solved.         John Martorano

        19      came forward and admitted his role in 20 murders.          Horrific.

09:47   20      Horrific.    But the families of these victims would never have

        21      known what had happened if he had not come forward.          His

        22      cooperation had collateral effects.        People like Charlie Raso

        23      and Dickie O'Brien and many of the individuals on some of these

        24      charts that I had shown you who wouldn't testify, who had gone

        25      to jail rather than testify, agreed to cooperate.          Kevin Weeks
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         1      agreed to cooperate.

         2                  Does John Martorano deserve to spend the rest of his

         3      life in prison?    Absolutely.     Absolutely.    No question about

         4      that.   Did the government have the evidence to put him there?

         5      Absolutely not.    He would have been entitled to a trial, just

         6      like this one that you're sitting in here, and the government

         7      would have had to have proven that he engaged in those murders,

         8      and there was no evidence, none of those murders had ever been

         9      solved, there was no evidence to convict him of any of those

09:48   10      murders.

        11                  The relationship between John Connolly, James Bulger,

        12      and Stephen Flemmi was a cancer eating away at law enforcement

        13      in Boston.    Bodies had piled up, South Boston had been flooded

        14      with drugs, and the last insult of all was Mr. Bulger had been

        15      allowed to escape because he had been tipped off by a corrupt

        16      FBI agent.

        17                  There was feuding between state and local law

        18      enforcement, something had to be done, ladies and gentlemen.

        19                  The only thing worse than making a deal with John

09:49   20      Martorano at that time was not making a deal.         The government

        21      held their nose and made that deal.

        22                  A witness that the defense called, Bob Fitzpatrick, I

        23      think is a poster boy for what was wrong in the Boston FBI at

        24      the time.    This is a man who resigned in disgrace from the FBI.

        25      Every piece of evidence that's before you in this trial is
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         1      inconsistent with his claim that he was sent to Boston to clean

         2      up the Boston office.     When it suits him, he solved every crime

         3      since Jack The Ripper.      He told you he was assigned to the JFK

         4      assassination.    He recovered the gun from Martin Luther -- that

         5      was used to kill Martin Luther King.        He headed up ABSCAM.    He

         6      arrested Jerry Angiulo.      When it doesn't suit him, what does he

         7      tell you when he's shown documents in this case which are

         8      clearly inconsistent with his claim that he was the Lone

         9      Ranger, the voice in the wilderness, close James Bulger, what

09:50   10      does he say?    Oh, I was only a scribe.      I couldn't do anything.

        11      I was only the second man in charge of the whole Boston office,

        12      but I couldn't do anything.      He did nothing wrong.      Everybody

        13      at headquarters, they're the ones who did everything wrong.

        14      Everybody below him in the Boston office, they're the ones who

        15      did everything wrong.

        16                That was the situation that existed back in 1998

        17      during the hearings in front of Judge Wolf.         While Bob

        18      Fitzpatrick was the number two man in the FBI in Boston, and

        19      you heard that for a period of time he was the number one man,

09:51   20      Larry Sarhatt had retired, there was nobody else in charge,

        21      Mr. Fitzpatrick split the running the Boston office with this

        22      other ASAC, that's Assistant Special Agent in Charge, the

        23      fellow, Ed Ludemann, the two of them were running the office.

        24      While that was going, Debbie Davis was murdered, Roger Wheeler

        25      was murdered, John Callahan was murdered, Brian Halloran was
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         1      murdered, Michael Donahue was murdered, John McIntyre and

         2      Arthur Barrett were murdered; and Bob Fitzpatrick wants to tell

         3      you he couldn't do anything about it.

         4                So, yes, the government held its nose and made a deal

         5      with John Martorano.     And what are the results, ladies and

         6      gentlemen?    The results are Stephen Flemmi is serving life in

         7      prison, John Connolly is serving a 40-year sentence for murder

         8      in a Florida prison, likely the rest of his life.          Dozens of

         9      family members have received some degree of closure regarding

09:52   10      the fates of their loved ones.       Six families who didn't even

        11      know what happened to their relatives, their remains were

        12      returned to them for a decent burial.        Other corrupt law

        13      enforcement officers, like that State Police Lieutenant

        14      Schneiderhan and Stephen Flemmi's brother, who was a Boston

        15      police officer, were prosecuted and received lengthy jail

        16      terms.

        17                You can never bring back somebody who's been murdered.

        18      There is no doubt that the family members in this case can

        19      never feel good or right about the results.         No matter how many

09:53   20      people go to jail and who is prosecuted, that's understandable.

        21      They will never, ever feel good or right about what happened,

        22      and they shouldn't.     This is a horrific, horrific situation.

        23      But what I am telling you, I am telling you to give you some

        24      perspective when you analyze the evidence in this case and what

        25      happened in this case.
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         1                Kevin Weeks.    John Martorano may have started the ball

         2      rolling, but Kevin Weeks provided some of the most compelling

         3      evidence in this case.      He was indicted in 1999 and cooperated

         4      in short order.    He led investigators to the remains of Deborah

         5      Hussey, Arthur Barrett, and John McIntyre outside Florian Hall.

         6      He provided additional information that led to the recovery of

         7      the remains of Paul McGonagle, Thomas King, and Debra Davis.

         8      He identified the weapons hide at 832 East Third Street, which

         9      ultimately lead to the recovery of all the weapons that you've

09:54   10      seen at this trial.     And these men, John Martorano, Kevin

        11      Weeks, they've testified in numerous trials and are responsible

        12      for the conviction of numerous people, as we've discussed.          He

        13      received a sentence of six years after the government

        14      recommended nine.     It's not enough.     It clearly is not enough.

        15      Yet, when you consider who Kevin Weeks is, yes, he's a thug,

        16      but he never strangled anybody, he never shot anybody, he never

        17      killed anybody.    He aided and abetted, he was there, he was

        18      criminally liable.

        19                Other witnesses in this case, John Morris.         There's

09:55   20      been a lot of criticism about John Morris.         Who was John

        21      Morris?   John Morris was John Connolly's supervisor, and he

        22      admitted to you, he took the witness stand, as he's done in

        23      several other cases, as you've heard, and he admitted to you, I

        24      took bribes, I leaked information to Bulger and Flemmi.           The

        25      last time he leaked information to Bulger and Flemmi was in
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         1      1988.   He told you about tipping them off to that wiretap on

         2      one of their bookmakers, John Bahorian.

         3                He could not have been prosecuted for any of those

         4      crimes by 1998 when this situation came to light at these

         5      hearings before Judge Wolf.      Ten years had passed.      Colonel

         6      Foley told you there's a five-year statute of limitations under

         7      federal law for the prosecution of the type of crimes that John

         8      Morris had committed, bribery, obstruction of justice.            Ten

         9      years later, he can't be prosecuted.

09:56   10                It's been suggested that he's a co-conspirator to the

        11      murder of Brian Halloran.      Now, whether or not you believe that

        12      the evidence demonstrates that when he told John Connolly that

        13      Brian Halloran was cooperating he intended for John Connolly to

        14      tell James Bulger that and he intended for James Bulger to go

        15      and murder Brian Halloran, that's a separate issue, but even if

        16      he did that, there's a six-year statute of limitations under

        17      Massachusetts law for conspiracy to commit murder.

        18                So what happened to John Morris?        What happened to

        19      John Morris was what's happened to many of the witnesses that

09:57   20      you've heard in this case.      He was compelled to testify by an

        21      order of a district court judge.       That's how this case was

        22      built, ladies and gentlemen.       You have to get orders from

        23      judges forcing people to testify, and if they refuse to testify

        24      they can be held in contempt and go to jail, and that's what

        25      happened to John Morris.      Yes, when a judge issues such an
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         1      order, the individual who's the subject of the order gets

         2      what's called use immunity; it means that nothing they say can

         3      be used against them.     That's their Fifth Amendment privilege.

         4      We all have that privilege, it's in the Constitution.             But it

         5      does not mean that they can never be prosecuted for the

         6      underlying crime, it just means that what they say cannot be

         7      used against them in such a prosecution.

         8                 So I suggest to you, ladies and gentlemen, that John

         9      Morris received no benefit from the government.          He was served

09:58   10      with an order, and he was forced to testify.         If he lied, he

        11      could be indicted for perjury.

        12                 Now, you've also heard that many of the other

        13      witnesses who were served with such orders went to jail rather

        14      than testify.    Some of them lied when they were forced to

        15      testify.    And why did they do that?      They went to jail, they

        16      refused to testify, they lied because, again, they're more

        17      afraid of James Bulger and Stephen Flemmi and John Martorano

        18      and Kevin Weeks than they are of the federal government and the

        19      Bureau of Prisons.     People like James Katz, Dickie O'Brien,

09:59   20      Charlie Raso, David Lindholm, Paul Moore, Tony Attardo, Billy

        21      Shea, Joe Tower, they were all the subjects of these compulsion

        22      orders.    These orders are a tool that Congress has provided to

        23      the government to use to attack criminal organizations like we

        24      have here.    And as I said earlier, this organization was

        25      dismantled from the bottom up.
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         1                  Now, as I said, the defense spent a long time

         2      cross-examining witnesses about these agreements.          You have to

         3      use, again, your common sense to decide Does this help me

         4      decide the evidence in this case?       Let me give you an example.

         5                  I don't know if you remember that witness David

         6      Lindholm, he was the marijuana dealer.        Mr. Carney must have

         7      spent two hours cross-examining Mr. Lindholm about a case that

         8      Mr. Lindholm testified about 20 years ago regarding a man named

         9      Trenkler who had participated in building a bomb that was put

10:00   10      under a car, the bomb blew up, one of the police officers died

        11      who was trying to dismantle the bomb.

        12                  So we spent two hours talking about that case.        And

        13      then when we finally get to what's important in this case,

        14      whether or not Mr. Lindholm was dragged down to the Marconi

        15      Club, brought upstairs into a dark room where Mr. Bulger and

        16      some of his other thugs were, while they shot a gun past his

        17      head, played Russian roulette with him, Mr. Bulger threatened

        18      to cut off his head, well, when we got to that part, it was,

        19      Well, this happened, didn't it, yeah, Mr. Bulger, he's trying

10:01   20      to get you more customers, and he's going to protect your

        21      business.

        22                  So what is the purpose of spending two hours talking

        23      about the Trenkler case?      That happened over and over and over

        24      again in this case.     You need to focus on What helps me decide

        25      this case and what evidence is unhelpful and meant to distract
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         1      me.   It not only happened with David Lindholm, it happened with

         2      many of the other witnesses in this case.

         3                  The last thing I'd like to talk about before I get to

         4      the actual charges in this case is witness credibility.           The

         5      government is not here telling you to decide this case solely

         6      based upon the testimony of a John Martorano or a Kevin Weeks

         7      or a Stephen Flemmi.     And you've heard from time to time

         8      cross-examination of not only those witnesses but of other

         9      witnesses about something that they may have said on a prior

10:02   10      occasion.    You have to use your common sense in determining

        11      whether these inconsistencies are important or not.

        12                  Remember, again, that we are here in 2013 because that

        13      man ran away.    So we're here 20 years later.       And you've heard

        14      what's happened over the past 20 years, these witnesses have

        15      testified at numerous criminal trials, civil trials, they've

        16      been deposed, they've appeared before grand juries.          I suggest

        17      to you that the amount of inconsistencies that may exist in

        18      some of their testimony is de minimis compared to what's

        19      important in this case.      Again, you need to use your common

10:03   20      sense.

        21                  Let's say we all went to a Red Sox game.       There's

        22      30,000 other people in the stands, and Dustin Pedroia -- it's

        23      the bottom of the ninth, the Red Sox are losing, Dustin Pedroia

        24      hits a grand slam home run, it's a walk-off home run and the

        25      Red Sox win the game.
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         1                Twenty years later, you're probably still going to

         2      remember that moment, because that's what's important.            Are you

         3      going to remember who was on first, who was on second, who was

         4      on third, who was pitching, whether the ball went over the

         5      Green Monster or over the center field wall?         That's how you

         6      have to bring your common sense to evaluating the evidence in

         7      this case.    Do the witnesses remember the key points, what's

         8      important?

         9                I suggest to you that regarding any of the significant

10:04   10      information in evidence in this case, such as who shot who, why

        11      did it happen, who extorted who, who shook down who, there is

        12      no equivocation or inconsistency in any of the testimony that's

        13      before you.

        14                Let's take an example, the murder of Brian Halloran

        15      and Michael Donahue.     Again, it occurred in 1982 right down the

        16      street from here.     This is an example of how to -- and I

        17      suggest to you, obviously, you're going to decide when you're

        18      deliberating how you're going to determine the evidence.           But,

        19      for example, in that murder, Kevin Weeks is an eyewitness at

10:05   20      the scene.    He's there.    He sees Mr. Bulger gun down Brian

        21      Halloran and Michael Donahue in broad daylight on Northern

        22      Boulevard.    After that murder, Mr. Bulger goes to Flemmi's

        23      mother's house with Mr. Weeks and Mr. Bulger describes in great

        24      detail to you -- to him what happened.        So you have an

        25      eyewitness at the scene, you have a subsequent admission to
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         1      Mr. Flemmi.

         2                  What else do you have?    You have Mr. Martorano who is

         3      whistled up from New York -- to New York few weeks later to

         4      meet with Bulger and Flemmi, and Bulger again describes to him

         5      that he committed the murder of Brian Halloran, how he

         6      committed it, and why he committed it.

         7                  You have testimony from John Morris who says, Yes, I

         8      knew Brian Halloran was cooperating, and I told John Connolly

         9      that in March or April, a month, two months before Brian

10:06   10      Halloran was murdered.

        11                  You have all those FBI reports, if you recall, where

        12      Mr. Bulger is, you know, even a year before the murder of Brian

        13      Halloran, but an important point, after the murder of Roger

        14      Wheeler, Mr. Bulger continues to talk about Brian Halloran,

        15      Brian Halloran is using coke, Brian Halloran is unreliable, the

        16      Mafia wants to kill Brian Halloran, Charlestown wants to kill

        17      Brian Halloran, everybody in Boston wants to kill Brian

        18      Halloran.    Well, in light of what the evidence is, those

        19      reports are very damning, ladies and gentlemen.

10:06   20                  So, you know, you take the evidence, all the pieces of

        21      the evidence, and it's like putting a puzzle together.            Do the

        22      pieces fit?    If they fit, you can accept the evidence.          Do they

        23      harmonize together?     Do they make sense?

        24                  Again, as you go through the evidence, as you see that

        25      the testimony of a Weeks or a Flemmi or a Martorano is
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         1      corroborated over and over again by the testimony of other

         2      witnesses, by the existence of other independent pieces of

         3      evidence, again, you can begin to accept their testimony more

         4      and more standing on its own.

         5                And again, I want to remind you, it's not whether you

         6      like the witness.     Nobody likes these men.      These men, these

         7      co-conspirators, these partners of the defendant are the most

         8      reprehensible people to walk the streets of Boston, but they're

         9      his friends, his partners, his co-conspirators, he's the same

10:07   10      as they are.

        11                There are other witnesses in this case, law

        12      enforcement witnesses like Lieutenant Long, who told you about

        13      the surveillance at the Lancaster Street garage; Colonel Foley

        14      told you about the recovery of all the weapons; Bill Doogan

        15      from the Boston Police Department put in a bunch of the crime

        16      scene evidence; Robin Fabry, again, State Police, put in State

        17      Police crime scene evidence; several other law enforcement

        18      witnesses.    You know, you can decide to accept their testimony

        19      on its face.    No motive to lie, no reason to fabricate.

10:08   20                Other witnesses, such as the experts in this case,

        21      Dr. Evans, the M.E.; Dr. Mires, the forensic anthropologist;

        22      Gina Pineda, the DNA expert; Dr. Crowley, the forensic dentist.

        23      Again, no reason to question their testimony.

        24                Other witnesses in the case like Mike Solimando,

        25      Richard Buccheri, Ray Slinger -- well, he didn't testify, but
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         1      you heard about him -- these men are legitimate businessmen.

         2      They're not criminals, they're not participants in the criminal

         3      activity.    No reason to discount their testimony.

         4                  Other witnesses, James Katz and the Dickie O'Briens,

         5      Charlie Raso, the David Lindholms, yes, they were criminals,

         6      and you may want some corroboration in accepting their

         7      testimony.    But, again, I hope I've given you some framework to

         8      decide the legal issues in this case.

         9                  And next I want to get to the crimes, the actual

10:09   10      crimes that are charged.      So we actually put together a

        11      timeline, and I hope it's somewhat helpful as I go through each

        12      of the charges in the case.

        13                  (Pause.)

        14                  So I told you that Counts One and Two are the

        15      racketeering counts, and they contain 33 racketeering acts.

        16      The first 20 racketeering acts are the murders, and that's what

        17      I'm going to talk about first.

        18                  Racketeering Act Number One is a conspiracy to murder

        19      members of the Notarangeli gang.       And this is a series of

10:10   20      murders in 1973, March 8, March 18, March 23, April 3, April

        21      18, within a literally six-week period, one, two, three, four,

        22      five individuals are murdered.

        23                  Now, Racketeering Act Number One charges a conspiracy

        24      to murder members of this group, and what is the evidence

        25      regarding the murder of the Notarangeli gang members?
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         1                Well, you heard from John Martorano, you heard that he

         2      was asked to attend a meeting between himself, Gerry Angiulo,

         3      who was the leader of the Mafia in Boston at the time, and

         4      Howie Winter.    And Gerry Angiulo told Winter and Martorano that

         5      we've got a problem, this guy Al Notarangeli is running around,

         6      shaking down bookies, stepping on Gerry Angiulo's toes, and

         7      had, in fact, murdered one of Gerry Angiulo's bookmakers, a guy

         8      named Paulie Folino.     And Gerry Angiulo told Martorano and

         9      Winter, You know, this is going to become your problem, too,

10:12   10      can you help us out?

        11                So Martorano and Winter agreed.        They went back to

        12      their other associates in Winter Hill, Joe McDonald, James

        13      Bulger, Jimmy Sims -- remember that Stephen Flemmi in 1973,

        14      he's still up in Canada -- but Mr. Bulger, Mr. McDonald,

        15      Mr. Sims agreed that they were going to help out the Mafia here

        16      and take out this fellow Al Notarangeli.

        17                Now, there's another important witness who tells you

        18      about that, and that's that individual, Charles Raso.             Who was

        19      Charlie Raso?    Charlie Raso was Joe Notarangeli's bookmaking

10:12   20      partner, and Joe Notarangeli is Al Notarangeli's brother.             And

        21      Charlie Raso provides some very important insights into what

        22      happens during this period of time in 1973 and 1974.

        23                Clearly, based upon Mr. Bulger's subsequent

        24      participation in these murders, he agreed to go along with this

        25      plan to murder Al Notarangeli and other members of his gang.
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         1                Racketeering Act Number Two is the murder of Michael

         2      Milano, a tragic, tragic situation, because, as we all know,

         3      Michael Milano was murdered because he was mistaken for Al

         4      Notarangeli.

         5                You heard Charlie Raso tell you that Michael Milano

         6      was the manager of the bar Raso owned called Mother's in the

         7      North End.    And Michael Milano, he idolized Al Notarangeli, he

         8      dressed like him, he wore his hair like him, he even went out

         9      and bought the same kind of car as Al Notarangeli.

10:14   10                And what does John Martorano tell you?         John Martorano

        11      tells you that after that meeting with Gerry Angiulo, they're

        12      now out looking for Al Notarangeli.        He's got, I think he

        13      called them, his scouts out, people who are associated with him

        14      looking for this fellow, Al Notarangeli.         They're getting

        15      pictures and other information from the members of the Mafia,

        16      and one night, March 8, 1973, they get a call from this fellow,

        17      John Hurley, that he spotted Al Notarangeli at Mother's in the

        18      North End.    And John Martorano tells you that, you know, they

        19      got the troops together, they got the boiler.         John Martorano

10:14   20      is in the boiler, him and Howie Winter, Jimmy Sims driving,

        21      that Mr. Bulger is in the backup car, they've got other cars

        22      out and about watching Mother's; that at some point in time

        23      that Mercedes, Michael Milano's car, leaves Mother's, and the

        24      car in which John Martorano, Jimmy Sims, Howie Winter, and the

        25      backup car in which Mr. Bulger was in follow Milano's car to
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         1      Brighton.    And once they get to a point where they can pull up

         2      alongside Mr. Milano's car, Mr. Martorano tells you that they

         3      let loose with an automatic weapon fire, spraying bullets into

         4      the vehicle.

         5                  What does Mr. Bulger say?     Mr. Bulger said later, It

         6      was like a movie, the car exploded.

         7                  Well, you heard testimony from Diane Sussman about

         8      what it was like to be in that car.        You heard -- you heard

         9      what happened to her boyfriend, Louis Lapiana, he was a

10:16   10      paraplegic the rest of his life.       And of course, Michael Milano

        11      was killed that night.

        12                  These were innocent young people, but it tells you all

        13      you need to know about the evils of an organization like the

        14      Winter Hill Gang who kill people indiscriminately.          This is not

        15      some Robin Hood story about a man who keeps angel dust and

        16      heroin out of South Boston.      It demonstrates the cold, cavalier

        17      approach that men like James Bulger and John Martorano and

        18      Stephen Flemmi have towards their fellow man.

        19                  Racketeering Act Number Three occurs about ten days

10:17   20      later in the North End.      Charlie Raso, again, tells you that

        21      after the murder of Michael Milano, Al Notarangeli calls a

        22      meeting, and at that meeting are the members of this group,

        23      Frank Capizzi, Al Plummer, Hugh Shields.         Joe Notarangeli is

        24      there, Charlie Raso is there, Al Notarangeli is there.            They

        25      realize they have a problem.       Al Notarangeli wants to go down
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         1      the North End and try to make peace with Gerry Angiulo.

         2                 That night, again, John Martorano tells you that they

         3      got word that this group of men were spotted in the North End,

         4      and again, the same thing, they get the boiler, they get the

         5      backup cars, they rush down to the North End.         John Martorano

         6      is in the boiler again with Howie Winter and Jimmy Sims

         7      driving, James Bulger is in the backup car, and they find

         8      Mr. Plummer's car driving up Commercial Street.          They pull up

         9      alongside of it again and let loose with a blast of automatic

10:18   10      weapons fire.    Frank Capizzi told you what it was like to be in

        11      that car that night.     He told you it was like a firing squad.

        12                 But what else do we know about that?       We know that as

        13      Martorano, Sims, and Winter, their car pulled up alongside Al

        14      Plummer's car, another car was coming from the opposite

        15      direction, and they had to avoid that car and spun around and

        16      started firing out the back window of their own car, blew out

        17      the window, and many of the bullets went right towards

        18      Mr. Bulger's car.     Mr. Bulger was angry that night because they

        19      almost killed him, too.

10:19   20                 Racketeering Act Number Four, the murder of William

        21      O'Brien.   Remember that individual, Ralph DeMasi, who was in

        22      the car with William O'Brien at that time, and Mr. Martorano

        23      told you that they got word that this individual, DeMasi, was

        24      meeting with Tommy King.

        25                 Now, who's Tommy King?     Tommy King was one of those
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         1      South Boston guys who came over and joined Winter Hill after

         2      Mr. Bulger became part of the Winter Hill group.

         3                 So Tommy King tells them this guy, Ralph DeMasi, wants

         4      to buy some guns.     They assume that Ralph DeMasi is part of Al

         5      Notarangeli's gang.     Again, they head to the vicinity of

         6      Morrissey Boulevard in Dorchester to this Mary Lou's Bakery.

         7                 Mr. Bulger is driving this time.       Why is he driving?

         8      He's driving because this is his area, Dorchester, Southie; he

         9      knows the streets.

10:20   10                 John Martorano is in the car with Howie Winter.        And

        11      again, the same as with Al Plummer, the same as with Michael

        12      Milano, they pull up alongside Mr. O'Brien's car and blow it

        13      apart with automatic-weapons-fire.        Mr. DeMasi tells you he was

        14      shot many times.     He got out of the car and tried to chase the

        15      boiler that Martorano, Bulger, and Winter were in.

        16                 Racketeer Act Number Five is the murder of James

        17      O'Toole.   Now, James O'Toole, he's not part of this Notarangeli

        18      group.   Who is he?    He's a Charlestown gangster, you heard.      He

        19      was one of the survivors of this McLaughlin gang in Charlestown

10:21   20      that Somerville had beat during the gang wars.         You also

        21      learned that he was a man who had shot Stephen Flemmi's brother

        22      many times, and Stephen Flemmi's brother, James Flemmi, almost

        23      died as a result of that.      You also heard that James O'Toole

        24      was responsible for the murder of "Buddy" McLean, who was

        25      Howard Winter's predecessor, leader of this Somerville gang.
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         1      And you heard that this fellow, Jimmy O'Toole, was hanging out

         2      at a bar called Bulldogs, which was owned by Jimmy Connors in

         3      Dorchester, and that he was shooting his mouth off.          He was

         4      going to get revenge, he was going to take out Howie Winter.

         5      And what does Eddie Connors do?       Eddie Connors calls up Howie

         6      Winter and says, Jimmy O'Toole is down here and he's telling

         7      tales out of school, and Howie Winter tells Eddie Connors, The

         8      next time he's there, give us a call when he's leaving, we'll

         9      take care of business.      And sure enough, one day in December of

10:22   10      1973, that call comes from Eddie Connors.         And who's involved

        11      in this shooting?     James Bulger and Stephen Flemmi are the

        12      shooters -- oh, I'm sorry, that's not correct.         In this case

        13      John Martorano, James Bulger, Howard Winter are in the boiler.

        14      They got the call from Eddie Connors, and they found James

        15      O'Toole walking down the street near a mailbox.          This is a case

        16      where you may recall that Joe McDonald -- because Mr. O'Toole

        17      was hiding behind a mailbox, Joe McDonald actually got out of

        18      the car and shot Mr. O'Toole.

        19                In this case, Mr. Bulger -- again, this is

10:23   20      Dorchester -- he's the driver.       And I think we have the picture

        21      of the mailbox behind which Mr. O'Toole was hiding.

        22                What is the other evidence about this murder?           You

        23      also -- you not only know about it from John Martorano, you

        24      know about it from Kevin Weeks, because this is one of the

        25      murders that James Bulger later on talked to Kevin Weeks about.
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         1      And James Bulger told Kevin Weeks, because he thought it was

         2      humorous, that Joe McDonald actually jumped out of the car and

         3      ran behind a mailbox and shot Jimmy O'Toole.         And Mr. Bulger

         4      complained about that, because he actually had to stop the car,

         5      and he didn't have a weapon on him.        He said that was the last

         6      time he would ever go on a hit without being armed with a

         7      weapon.

         8                Finally, about a year later, we have the last murder

         9      that's connected to Al Notarangeli, and that's the murder of Al

10:24   10      Notarangeli himself.     February 21st of 1974.      You heard that Al

        11      Notarangeli, after the shooting on Commercial Street in the

        12      North End, he had disappeared.       Just like Frank Capizzi told

        13      you.   What did Frank Capizzi say?      He ran away.     He went to

        14      Arizona, he changed his name, he never came back.          Al

        15      Notarangeli took off as well.       About a year later, he does come

        16      back, and he contacts Mr. Winter through this individual, Sal

        17      Sperlinga.    And he wants to make peace with Gerry Angiulo.          He

        18      wants to patch things up.      And Winter agrees to set up a

        19      meeting with Mr. Angiulo, and you heard about that meeting at

10:25   20      the Pompeii Restaurant in the North End.         John Martorano,

        21      Howard Winter, Gerry Angiulo, and Al Notarangeli.

        22                At that meeting, Al Notarangeli apologizes to Gerry

        23      Angiulo for murdering Paulie Folino and agrees to pay Gerry

        24      Angiulo $50,000.     Well, you heard what happened next.          Gerry

        25      Angiulo, he took the money, but he still wanted Al Notarangeli
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         1      killed.    And the next time Al Notarangeli contacted Howard

         2      Winter, Howard Winter and John Martorano went to pick him up in

         3      Revere, followed by James Bulger in a backup car.          When Al

         4      Notarangeli got in that car, John Martorano shot him and killed

         5      him.

         6                 They took the car back to the Somerville garage.          They

         7      took the body of Al Notarangeli out of the boiler and put it in

         8      the trunk of another stolen car, and they took that stolen car,

         9      drove it to Charlestown, and left it.        Mr. Bulger assisted in

10:26   10      that activity.    Not only was he behind Martorano and Winter

        11      when they killed Al Notarangeli, he went back to the garage, he

        12      helped move the body into the trunk of the stolen car, and then

        13      he took the car in which Mr. Notarangeli was murdered and he

        14      took it and he burned it.

        15                 Racketeering Act Number Seven, the murder of James --

        16                 THE COURT:    Mr. Wyshak, would this be a good place to

        17      stop?

        18                 MR. WYSHAK:    Yes, your Honor, this is fine.

        19                 THE COURT:    Jurors, as I said, we'll take about ten

10:27   20      minutes.

        21                 THE CLERK:    All rise.

        22                 (Jury left the courtroom.)

        23                 THE COURT:    Okay.   We'll stand in recess for 10

        24      minutes.

        25                 (Recess taken.)
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         1                 (Resumed, 10:41 a.m.)

         2                 THE COURT:    The jury is lining up.     Quiet in the

         3      gallery as the jury enters.

         4                 (Jury enters the courtroom.)

         5                 THE COURT:    Mr. Wyshak.

         6                 MR. WYSHAK:    Thank you, your Honor.

         7                 THE COURT:    Excuse me, excuse me.     We need quiet in

         8      the gallery.    Mr. Wyshak.

         9                 MR. WYSHAK:    So when we broke, we were about to talk

10:42   10      about Racketeering Act No. 7, so 7 out of 33.         We've still got

        11      quite a few to go through, but we'll try to move through them

        12      quickly.

        13                 James Sousa, you may recall that Jimmy Sousa was an

        14      individual who was associated with Billy Barnoski and Tony

        15      Ciulla, who are two of the people on that organizational chart.

        16      They were associates of Winter Hill, and they got involved in

        17      some gold scam with a dentist, Joe McDonald, who was involved

        18      also.   They showed him a sample of what they told him was

        19      stolen gold, and they agreed to sell him a large amount of it.

10:43   20      He agreed to buy it, and they were going to rip him off.           What

        21      happened was, things went bad.       The dentist had a gun, and

        22      Sousa wound up getting arrested.

        23                 So Barnoski, Ciulla, Winter, McDonald, the whole gang

        24      were concerned that James Sousa wasn't going to stand up, that

        25      sooner or later he would give the rest of them up.          And this is
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         1      what these men do, ladies and gentlemen:         First and foremost,

         2      they protect themselves and they protect the organization.

         3      Anybody who's a threat to them they eliminate, and that's why

         4      they eliminated James Sousa here.       Barnoski brought Sousa to

         5      the Somerville garage.      They brought him into the office.           John

         6      Martorano walked in and shot him in the head.

         7                Stephen Flemmi was present when this happened.           Flemmi

         8      told you that he cleaned up, that they put the body in the

         9      trunk of a car, that Flemmi and Howard Winter drove that car

10:44   10      with Mr. Sousa's body in the trunk up to Boxford State Park.

        11      When they got there, Jimmy Sims and Joe McDonald were already

        12      there.   They had dug a hole.      Sims and McDonald took the body

        13      out of the car and buried it up at Boxford State Park.

        14                Barbara Sousa testified.      She told you -- and again

        15      there's a little piece of corroborative evidence, but what did

        16      she tell you?    She told you that the day, the last time she saw

        17      her husband alive, he told her that he was going to meet with

        18      Billy Barnoski.

        19                Now, this Racketeering Act No. 7 is sub-predicated,

10:45   20      and what does that mean?      It means it charges conspiracy to

        21      commit murder as well as the substantive murder count.            The

        22      Judge will explain this to you a little more during the charge,

        23      but what it means is, because Mr. Bulger is not actually

        24      physically present at the time of the Sousa murder, if you find

        25      that he was part of the conspiracy to murder Sousa, you can
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         1      convict him of the conspiracy.       As I've told you before, if you

         2      find that he was a member of the conspiracy and that the murder

         3      of James Sousa was reasonably foreseeable, you can convict him

         4      of the substantive charge of murder.        So there are two separate

         5      charges.   You can choose between either one of them in terms of

         6      what you believe Mr. Bulger's liability was on this murder.

         7                 Racketeering Act No. 8, this is the murder of Paul

         8      McGonagle.    And you may remember, Paul McGonagle was one of the

         9      bodies that was recovered or the body covered at Tenean Beach

10:46   10      in 2000.   Who was Paul McGonagle?      Paul McGonagle was a member

        11      of this Mullen's gang, the Mullen's gang that was trying to

        12      kill Mr. Bulger during the early '70s.        This is the gang that

        13      he incorporated some of the members into his group after Howie

        14      Winter settled this gang war in South Boston.         And if you look

        15      up here on the timeline, 1972 is when Bulger met with Winter

        16      and members of the Mullen's gang to resolve that war.

        17                 But Mr. Bulger is not the kind to forgive and forget.

        18      Mr. McGonagle, like Mr. King later, always remained on his

        19      radar screen.    He told you -- and Stephen Flemmi testified

10:47   20      about this -- Stephen Flemmi told you that Mr. Bulger

        21      approached him and told him he wanted to murder Paul McGonagle

        22      and asked Mr. Flemmi for help.       Mr. Flemmi agreed.     However,

        23      shortly thereafter, Bulger told him he did it himself, he took

        24      care of business himself.

        25                 What did Bulger tell Flemmi?      He told Flemmi that he
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         1      lured McGonagle into the car with some counterfeit bills, again

         2      another scam, and when Mr. McGonagle got in the car, Mr. Bulger

         3      shot him.

         4                  Now, this is the first case, because we have several

         5      more, where Mr. Bulger may as well have thrown his license into

         6      the hole when Mr. McGonagle's body was later recovered because

         7      this is not a body on the street where it's found by the police

         8      and people can say, well, you know, anybody could have killed

         9      him.     This is a body that's buried.     It's secret.    Nobody knows

10:48   10      about it.     Nobody knows where it is.     The man was murdered in

        11      1974.    It laid there for 26 years, and the only people who knew

        12      where it was was somebody who was involved in the murder of

        13      Paul McGonagle.    And how is that body recovered?        That body is

        14      recovered because Mr. Bulger told Kevin Weeks where that body

        15      was, and Kevin Weeks led investigators to that grave site in

        16      2000.

        17                  What else do you know about this?      Stephen Flemmi told

        18      you that they would often go to Tenean Beach to meet with John

        19      Connolly.     And what would Mr. Bulger say to him and to

10:49   20      Mr. Weeks every time they went by Tenean Beach?          "Drink up,

        21      Pauly.    Drink up, Pauly."    That's the level of humanity that

        22      the defendant in this case is operating at.         He's buried this

        23      individual near the waterline in Tenean Beach, and every time

        24      he goes by there, it's "Drink up, Pauly."         So, yes, Mr. Weeks

        25      led investigators to Mr. McGonagle's remains.
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         1                  What else does Mr. Bulger go and do in his twisted

         2      way?   He goes to young Paul McGonagle -- and you heard young

         3      Paul McGonagle testify at this trial -- and he tells young Paul

         4      McGonagle -- as Paul described it, Bulger pulled up in his blue

         5      Malibu with his aviator glasses on, got out and told young Paul

         6      McGonagle, "We got the guy who killed your father."          This is

         7      just the twisted mentality that we're dealing with in this

         8      case, but, again, that's another piece of independent evidence

         9      that links Mr. Bulger to this crime.        He's now going to a

10:50   10      family member -- and you'll see this is not the first time he

        11      does it -- and gives them a little zinger.

        12                  Now, you might say, well, Kevin Weeks knew where the

        13      body was, so maybe Kevin Weeks killed Paul McGonagle.             Well, in

        14      1974 when Paul McGonagle disappeared, Kevin Weeks was still in

        15      high school, ladies and gentlemen; and you heard he didn't even

        16      begin his association with Mr. Bulger until 1979 or 1980, at

        17      least five years after the murder of Mr. McGonagle.

        18                  And there's something else in evidence in this case

        19      that's very interesting, and that's a report written by Dennis

10:51   20      Condon, that FBI agent, the partner of Paul Rico in 1971, and

        21      that's the first entry on this timeline.         In March of 1971,

        22      Mr. Bulger meets with Mr. Condon, who's trying to develop

        23      Mr. Bulger as an informant even in 1971, and Mr. Bulger tells

        24      Dennis Condon how Paul McGonagle in South Boston is trying to

        25      kill him.    And that's Exhibit No. 359-A, No. 35600392.           So if
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         1      you're interested in looking at that document, that's where you

         2      can find it.    It's up on the screen.      I'm not going to read it

         3      to you because I don't have the time, but the information in

         4      that report provides the motive for Mr. Bulger later to kill

         5      Paul McGonagle.

         6                 The next racketeering act, No. 9, is the murder of

         7      Eddie Connors, Eddie Connors, the man who fingered James

         8      O'Toole.   And what happens in that case?        Eddie Connors was

         9      running this bar, The Bulldogs, and after the murder of

10:52   10      O'Toole, he's bragging about helping out Howie Winter, the

        11      Winter Hill Gang, and murdering O'Toole.         This is something

        12      that you just don't talk about.       You don't talk about

        13      implicating other people in murders, telling tales out of

        14      school, as I say, on the street.

        15                 Word got back to Winter that Eddie Connors was saying

        16      things he shouldn't be saying, and again they decide to murder

        17      Eddie Connors.    This is the man who's in the phone booth.

        18      Mr. Winter tells Connors he wants to talk to him.          He says,

        19      "Give me a phone number where I can reach you."          Connors gives

10:53   20      him the phone number.     It comes back to a phone booth near

        21      Morrissey Boulevard in Dorchester.        At the time that they were

        22      set up to make the phone call, John Martorano drives James

        23      Bulger and Stephen Flemmi to the vicinity of that telephone

        24      booth.   When they get there, John Martorano pulls around the

        25      corner, and Bulger and Flemmi jump out of the car.          And as they
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         1      approach the telephone booth, they see Mr. Connors in the booth

         2      and again let loose a barrage of automatic weapons fire,

         3      totally destroying the booth and murdering Eddie Connors, and

         4      the photograph is in evidence.

         5                This is the murder, we played a tape.         Mr. Bulger is

         6      sitting down at Plymouth in the house of corrections, and he's

         7      talking about this murder of Eddie Connors, and he's making the

         8      noise of a machine gun.      And that tape is in evidence,

         9      Exhibit 663, if you want to listen to it again.          Again, just

10:54   10      indiscriminate murder.

        11                Racketeering Act No. 10, Thomas King.         Who was Tommy

        12      King?   Another Mullen's gang member.       Tommy King was one of

        13      these individuals that Bulger brought with him into Winter

        14      Hill, but again he's taking care of business.         He's eliminating

        15      all these Mullen's gang members.       He told Winter and Martorano

        16      and Flemmi that King was insubordinate, he couldn't control

        17      him, that King was threatening to murder a Boston Police

        18      detective, and they had to take care of King.         So he convinces

        19      the group that King has to go, and then he makes up a ruse, a

10:55   20      scam to lure King to his death.

        21                What does he do?     He tells King that they're going to

        22      go on a hit and they're going to kill this guy Suitcase Fidler,

        23      and King has to be the shooter because Fidler knows the rest of

        24      them.   They meet at Carson Beach in a vehicle.        And prior to

        25      the meeting at Carson Beach, Mr. Flemmi told you that Bulger
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         1      had prepared the weapons for this murder, and one of the

         2      weapons had blanks in it.      The rest of the guns were loaded.

         3      At Carson Beach, Mr. King gets in a car with John Martorano.

         4      James Bulger is the driver.      Flemmi approaches the car and

         5      hands out the guns, passes the guns to Mr. Bulger who hands

         6      them out.    And as they drive away from that Carson Beach

         7      location, John Martorano shoots Thomas King in the back of the

         8      head.   Mr. Flemmi and Howie Winter are in the car behind him.

         9                  Now, what is the significance of some of this

10:56   10      testimony?    Again, Thomas King is one of the individuals whose

        11      body is recovered in 2000.      You may recall that John Martorano

        12      began to cooperate with the authorities in 1998 and was

        13      debriefed about this murder in 1998.        As a matter of fact, I

        14      think several witnesses have testified about that report.

        15      Mr. Martorano tells you where he shot Thomas King, a fact that

        16      only somebody obviously who was involved with the murder could

        17      know.   The forensics two years later when Mr. King's body is

        18      recovered exactly match what Mr. Martorano told you about where

        19      Mr. King was shot.     And if we can put up 535 and 537, Dr. Mires

10:57   20      showed you the reconstruction of Mr. King's skull with the

        21      bullet hole in the back of the skull.

        22                  What happened after the shooting?      Mr. Flemmi told you

        23      that they drove to the area in Neponset right on the bank of

        24      the river there and buried Mr. King.        And, again, Bulger, what

        25      does he tell Margaret King, the wife of Thomas King?          He tells
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         1      her this story about, well, he went up to Canada to rob banks,

         2      and he's not going to be around for a while.         Now, if he has

         3      nothing to do with this murder, why is he making up a story to

         4      tell Margaret King?

         5                He also made admissions to Kevin Weeks about his

         6      involvement in the murder of Thomas King, and you may recall

         7      that part of his plot on this day was not only to murder Thomas

         8      King but to murder Francis Leonard, another old Mullen's gang

         9      member.   And how was he going to do it?       He told Martorano, he

10:58   10      told Flemmi that they were going to bury King's body, they were

        11      going to go murder Leonard, and they were going to put Leonard

        12      in King's car.    King would never be found.       It would look like

        13      he murdered Leonard and King ran away.        And that was the plot,

        14      and that's exactly what happened.       That next day King's car was

        15      found with Francis "Buddy" Leonard's body in it, ladies and

        16      gentlemen.

        17                What other evidence do you have about this murder?

        18      Well, Kevin Weeks told you that he suspected that bodies were

        19      buried at that Neponset River site because Mr. Bulger had a

10:59   20      condominium right across the bay, and Mr. Weeks had caught

        21      Mr. Bulger staring at that location through binoculars on more

        22      than one occasion.     If we can put up that -- I can't mark on

        23      this screen here, but you can see that the Neponset River site

        24      where the bodies were buried is right under that bridge, and

        25      Mr. Bulger has one of these condos across the bay, and he's
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         1      looking over there with binoculars.        That gave Kevin Weeks a

         2      clue and led to the recovery of those bodies.

         3                But these two murders again demonstrate the arrogance

         4      and cunning of Mr. Bulger to murder one person, bury the body,

         5      murder a second, leave it in the car belonging to the missing

         6      person, and, again, telling the FBI.        Again, there are FBI

         7      reports in Mr. Bulger's file.       And, you know, these files here

         8      in front of you, these three files, these are Mr. Bulger's

         9      informant files, the FBI.      This is a man who wants you to think

11:01   10      he wasn't an informant.      Well, you know, just get a gander of

        11      all that paper.    These top two ones are Mr. Flemmi's files.

        12                Exhibit 359-B, No. 35600378, is a report in

        13      Mr. Bulger's file where he's telling John Connolly the same

        14      story about Thomas King who recently murdered Buddy Leonard,

        15      was told to stay out of town on a permanent basis.          Well,

        16      Mr. Bulger is telling John Connolly that because he knows

        17      Mr. King is never coming back to Boston because Mr. King is

        18      buried in a hole in the banks of the Neponset River.

        19                Racketeering Act No. 12 is the murder of Richard

11:01   20      Castucci, and who was Richard Castucci?        You heard Richard

        21      Castucci was a nightclub owner, a bookmaker.         He had some

        22      business relationship with John Martorano and Winter Hill's

        23      gambling business.     You also learned that he was an informant

        24      for the FBI, and Special Agent Tom Daly testified about

        25      Mr. Castucci's relationship with the FBI.         And you heard
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         1      testimony both from John Martorano and Stephen Flemmi and John

         2      Morris as well about Joe McDonald and Jimmy Sims being indicted

         3      in that case of the theft from the stamp dealer.          They got

         4      indicted, they ran away, they were fugitives, and John

         5      Martorano and Stephen Flemmi go to New York City and rent an

         6      apartment for them to hide out in.        They get it through this

         7      fellow Jack Mace, who Richie Castucci had connected with John

         8      Martorano so John Martorano could lay off business on some of

         9      these fixed horse races.

11:03   10                They rent the apartment, and shortly thereafter

        11      Mr. Connolly tells Mr. Bulger, James Bulger, that Castucci has

        12      given up the apartment in New York City.         What do they do?

        13      They tell Joe McDonald, "Get out of there, don't go back," and

        14      they decide to murder Richard Castucci.        The next time Castucci

        15      comes to the Somerville garage to collect money, what happens?

        16      John Martorano sends him up to an apartment up the street from

        17      the garage with James Bulger.       Bulger brings him into the

        18      apartment while Bulger waits for John Martorano to come in and

        19      shoot Mr. Castucci in the head.       Mr. Flemmi comes in shortly

11:04   20      thereafter.    He's not there already.      Him and Bulger clean up

        21      the mess, put Mr. Castucci in a sleeping bag, put him in the

        22      trunk of his car, and drive the car to Revere and leave the car

        23      in a parking lot in Revere.

        24                Now, again, an important piece of evidence in this

        25      case is the testimony of Tom Daly.        In 1998 when John Martorano
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         1      was initially debriefed and he tells Colonel Foley that the

         2      information we had was that Castucci was an FBI informant and

         3      he had given up the New York City apartment, John Martorano has

         4      no idea what's in the files of the FBI.        And, lo and behold,

         5      when those files were pulled, sure enough, Mr. Castucci is in

         6      fact an FBI informant.      Tom Daly tells you that, and the exact

         7      information that John Martorano had related to Thomas Foley is

         8      in Mr. Castucci's file.

         9                  Now, how does John Martorano know what informant

11:05   10      information is in that file?       Well, somebody in the FBI had to

        11      tell him, and that person was John Connolly, who told James

        12      Bulger, who told the rest of the Winter Hill crew.          And that

        13      again is a piece of independent evidence that gives a ring of

        14      truth to the testimony in this case, and those reports are in

        15      evidence, Exhibits 214 and 215 from Mr. Castucci's informant

        16      file where he's reporting about the New York City apartment.

        17                  The next murder, Racketeering Act No. 14, and, again,

        18      we've heard a lot about this, the murder of Debra Davis.          This

        19      again is a horrific murder.      Who is Debbie Davis?      You heard

11:06   20      she was Stephen Flemmi's girlfriend.        And what did Mr. Flemmi

        21      tell you?    He told you that Mr. Bulger is a very demanding

        22      individual, and Mr. Bulger wanted Mr. Flemmi present when

        23      Mr. Bulger met with John Connolly.        Why is that?    Well, you

        24      know, I think you've heard that the FBI's number one priority

        25      was taking down the Mafia, and Mr. Flemmi had information about
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         1      the Mafia.    This is why Mr. Bulger is the one who's recruiting

         2      Mr. Flemmi to become an FBI informant along with him, so that

         3      they can get information about the Mafia to John Connolly and

         4      make John Connolly the big man on campus, so to speak.

         5                But what happens is, Debbie Davis, Mr. Flemmi's

         6      live-in girlfriend at the time, doesn't like the fact that

         7      Mr. Flemmi keeps getting called away night after night to meet

         8      with Mr. Bulger, and finally Mr. Flemmi says, "Hey, look, you

         9      know, we've got a connection in the FBI.         It's John Connolly.

11:07   10      I have to go to these meetings.       I don't have a choice."     He

        11      told you that the minute he said that, he regretted telling

        12      Debbie Davis that.     And ultimately him doing that led to her

        13      death because what happened shortly after that is that

        14      Ms. Davis' brother is murdered in prison, and she's very upset

        15      about that.    She tells Mr. Flemmi, you know, "Ask John Connolly

        16      to find out who murdered my brother."        Obviously she must have

        17      told another one of her brothers about Mr. Flemmi and

        18      Mr. Bulger's relationship with John Connolly, that brother

        19      being Mickey Davis, because the word gets back to John Connolly

11:08   20      that the Davises know about his relationship with Mr. Bulger

        21      and Mr. Flemmi.    And John Connolly and James Bulger are very

        22      angry about that, and Mr. Bulger starts lobbying Mr. Flemmi

        23      that he's got to get rid of Debbie Davis, "We've got to kill

        24      Debbie Davis," and finally Mr. Flemmi relents.

        25                Now, Mr. Flemmi tells you that he brought Debbie Davis
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         1      to 832 East Third Street, if I can put that picture up, which,

         2      again, is his mother's house across the way from Mr. Bulger's

         3      brother's house.     The cabana is in the back where they stored

         4      the armory of weapons.      Mr. Flemmi brings Debbie Davis to that

         5      house while it's still under construction.         He's bought that

         6      house for his parents to move into at the time.          When they

         7      entered the house, Mr. Bulger is waiting inside.          He jumps out.

         8      He grabs her.    He strangles her.     They take her down to the

         9      basement.    Mr. Flemmi removes her clothes.       They wrap her up in

11:09   10      plastic and bring her, again, to Neponset and bury the body.

        11                  Now, this is the second body in Neponset.       You've

        12      heard that these two bodies, Thomas King and Debbie Davis, are

        13      60 feet apart from each other.       Again, this is an independent

        14      piece of forensic evidence that connects these two murders to

        15      the same individual.     It's no coincidence that there are two

        16      bodies, both of which can be connected to James Bulger, buried

        17      at the same location 60 feet apart.

        18                  What happens after they murder her?      Mr. Bulger goes

        19      down to the O Street Club.      As Jack Curran and Pat Nee come by,

11:10   20      they put her body in the trunk of Curran's car, and Curran

        21      drives her body to Neponset where Bulger and Flemmi dig the

        22      hole and bury poor Debbie Davis.

        23                  Now, again, this is where you need to focus.          You

        24      don't have to decide who strangled Debbie Davis.          That's been

        25      an issue that's been contended in this case.         What you need to
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         1      decide is whether Mr. Bulger has any criminal liability for

         2      this murder.    He doesn't have to have been the one who

         3      strangled her to be criminally liable.        If he aids and abets or

         4      is a co-conspirator in that murder, he's as criminally liable

         5      as if he's the one who put the hands around her neck and

         6      strangled the life out of her.

         7                  Now, what do you know about James Bulger?       You do know

         8      that he's the one who strangled Deborah Hussey to death, and

         9      you know that because it's not only Mr. Flemmi who's there, but

11:11   10      it's also Kevin Weeks.      So in determining who has the capacity

        11      to strangle a young woman like that, in deciding who is the

        12      perpetrator of the Davis murder, consider the evidence on

        13      Hussey.   Consider what Mr. Flemmi said:       He didn't have it in

        14      him.

        15                  Now, you know, you can reject that or accept that as

        16      you will, but the fact that Mr. Bulger, there are two eye

        17      witnesses who testify that he's the one who strangled Deborah

        18      Hussey is a piece of evidence you can use to decide whether or

        19      not he's the one who actually strangled Debra Davis.          But,

11:12   20      again, you do not have to reach that issue to determine

        21      criminal liability on the part of James Bulger for the murder

        22      of Debbie Davis.

        23                  The next four murders are what have been known as

        24      these Jai Alai murders, and I'm going to address these

        25      together.    We're now in 1981, and the first murder is Roger
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         1      Wheeler on May 27, 1981.      Who was Roger Wheeler?      Roger Wheeler

         2      was the owner of this business, World Jai Alai.          He's a

         3      millionaire oilman, and he inherited or he purchased this

         4      business from individuals who had previously employed John

         5      Callahan.

         6                  Now, who was John Callahan?     John Callahan was this

         7      Winter Hill, you know, wannabe kind of legitimate guy who liked

         8      to hang around with gangsters at night.        He was Jimmy

         9      Martorano's friend.     He became Howie Winter's friend.          He was

11:13   10      Mike Solimando's friend.      He was a fringe guy.     He was an

        11      accountant by day, a businessman by day, liked to hang around

        12      with the wiseguys at night.      It got him killed ultimately.

        13                  But John Callahan was at one time president of World

        14      Jai Alai before Roger Wheeler acquired it, and John Martorano

        15      told you that John Callahan had skimmed some money or taken

        16      some money that wasn't his out of World Jai Alai, and he was

        17      concerned that Roger Wheeler was going to find out about it.

        18      John Callahan wanted to buy World Jai Alai, and when John

        19      Callahan left World Jai Alai, he installed his partner, this

11:14   20      guy Dick Donovan, in World Jai Alai as president, and he was

        21      having Dick Donovan front for him on the purchase of World

        22      Jai Alai.

        23                  What else do we know about World Jai Alai?        This

        24      fellow Paul Rico, this fellow who was Stephen Flemmi's handler

        25      in the 1960s, this FBI agent was now director of security at
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         1      World Jai Alai.    John Callahan had brought him in.        No

         2      coincidence, ladies and gentlemen, that this Boston FBI agent

         3      who associated himself with Winter Hill winds up working for

         4      John Callahan down in Miami at World Jai Alai.

         5                 So Dick Donovan, you heard the testimony from Pam

         6      Wheeler who testified here that she worked with her father, and

         7      that Dick Donovan for about a year was trying to buy World

         8      Jai Alai, and Roger Wheeler continued to reject his proposals.

         9      She told you Dick Donovan never could come up with the money to

11:15   10      buy World Jai Alai.     We put a few of the documents in evidence

        11      that show some of those proposals, but if you recall, the last

        12      one, 239 -- if we can put that one up -- is ultimately the

        13      rejection by Roger Wheeler of Donovan's last proposal, and this

        14      happens one week before Roger Wheeler is murdered.

        15                 Now, what else is going on during this time period?

        16      John Martorano is a fugitive.       He's living down in Florida.

        17      Callahan is carrying him money back and forth.         Callahan is

        18      providing a condominium for John Martorano to live in.            He's

        19      let John Martorano, given him the use of his car.          Callahan is

11:16   20      tight with Martorano, and Callahan is telling Martorano about

        21      during this entire period, "I'm going to get World Jai Alai

        22      back.    We're going to buy it.     When we get it back, you know,

        23      you'll get a skim, $10,000 a month.        Winter Hill will be part

        24      of it.    You'll provide protection."

        25                 So John Martorano is on board.      He's talked to Bulger
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         1      and Flemmi about this.      They're on board with this idea of

         2      Callahan acquiring World Jai Alai.

         3                Well, when the deal falls apart in May of 1981,

         4      Callahan tells Martorano, "We need to kill Wheeler.          We'll buy

         5      it from his widow."     And you heard the testimony both from John

         6      Martorano and Stephen Flemmi.       Flemmi checked with Paul Rico.

         7      And there was some suggestion by the defense on cross-examination

         8      of John Martorano that it was really Flemmi trying to help Rico

         9      that motivated Flemmi and Bulger to participate in this murder.

11:17   10                Flemmi talked to Bulger.      Bulger agreed.     As a matter

        11      of fact, it's Bulger who got the weapons that were ultimately

        12      sent to Tulsa for John Martorano and Joe McDonald to use to

        13      murder Roger Wheeler.     What does Flemmi tell you?       Flemmi tells

        14      you that at that point in 1981, the weapons side was at Pat

        15      Nee's house, and Bulger told Nee to put a kit together.           This

        16      is how these men operate.      They actually have a little murder

        17      kit with burglar's tools and weapons and disguises, and you saw

        18      a lot of that in evidence.      Pat Nee put the kit together, gave

        19      it to Bulger.    Bulger gave it to Flemmi, and Flemmi put it on a

11:18   20      bus headed for Tulsa.

        21                What else do you know about this murder?         Martorano

        22      told you that Callahan had obtained from Rico the itinerary, so

        23      to speak, of Roger Wheeler; where he was going, where he

        24      worked, where he lived, what his license plate was, his

        25      physical description.     And he, John Martorano, and Joe
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         1      McDonald, who's also a fugitive at this time, not apprehended

         2      yet, are tracking Wheeler in Tulsa trying to figure out where

         3      and when is the best time to murder him.         And ultimately what

         4      happens?   One day they get information from Callahan that he's

         5      playing golf at the Southern Hills Country Club.          And what does

         6      Pam Wheeler tell you about that?       That her father routinely had

         7      a day every week, same day every week where he played golf at

         8      that country club.     And Martorano and McDonald go to the

         9      country club.    Sure enough, Wheeler's car is there, and they

11:19   10      lay in wait until Wheeler walks back to his car; and as Wheeler

        11      approaches his car and opens the door, John Martorano runs up

        12      to him and shoots him right between the eyes.

        13                 Now, what else happens?     John Martorano tells you his

        14      gun exploded.    It's a revolver.     The chamber fell out, bullets

        15      fell on the ground, again, an important detail that only

        16      somebody who's there would know.       And, again, what do the crime

        17      scene photographs show?      Right at the foot of the driver's side

        18      door are these bullets on the ground.

        19                 You also have important testimony about this from

11:20   20      Special Agent Jerry Montanari.       And what does he tell you?    He

        21      told you about what Brian Halloran was reporting to the FBI,

        22      and this evidence comes in for the truth.         And Brian Halloran

        23      reported to the FBI that after the murder of Roger Wheeler in

        24      Tulsa, that John Callahan had told him that Bulger, Flemmi, and

        25      Martorano were responsible for the murder.         So that's again an
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         1      independent piece of evidence.       It comes in through an FBI

         2      agent.    Those statements of Brian Halloran are admissible for

         3      the truth because Mr. Bulger kills Brian Halloran and prevents

         4      Brian Halloran from becoming a witness at this case or any

         5      other case that might have been brought against Mr. Bulger.

         6                  Again, this racketeering act is sub-predicated, again,

         7      because Mr. Bulger is not present in Tulsa when this occurs.

         8      There's a conspiracy charge as well as the murder charge, and

         9      either are available for you to decide.

11:21   10                  The next two murders connected to this Jai Alai

        11      situation are the murders of Brian Halloran and Michael

        12      Donahue.    These are Racketing Acts 15 and 16, and again they

        13      occur right down the street from here.        I've talked a little

        14      bit about this already, but you know that Brian Halloran,

        15      former Winter Hill Gang associate, close to Howie Winter, had

        16      been indicted for murder in the fall of 1981.         As a result of

        17      that indictment, he was looking to get himself out of a jam,

        18      and he went to the FBI, and he started reporting on Mr. Bulger

        19      and Mr. Flemmi, and one of the things he was reporting was

11:22   20      their involvement in the murder of this individual Roger

        21      Wheeler.    And this is January of 1982, right up here.

        22                  So Mr. Halloran goes to the FBI.      Mr. Morris finds

        23      out.     How does Mr. Morris find out?     Well, because Mr. Montanari

        24      and his partner, Mr. Brunnick, ask Mr. Morris for some help.

        25      Not only do they ask him for some help, but Mr. Morris is in
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         1      charge of this WITSEC program at the FBI and has to create some

         2      paperwork for Mr. Halloran, who they're trying to get into the

         3      Witness Protection Program.      So Morris told Connolly in or

         4      about March or April about Halloran, and Connolly went and told

         5      Mr. Bulger and Mr. Flemmi.      You have that not only from John

         6      Morris, you have that from Mr. Flemmi, and you also have that

         7      from John Martorano, that John Connolly leaked to them that

         8      Brian Halloran was cooperating with the FBI and implicating

         9      Mr. Bulger, John Martorano, Mr. Flemmi in the murder of Roger

11:23   10      Wheeler.

        11                 So what does Mr. Bulger do and Mr. Flemmi?        They start

        12      looking for Brian Halloran.      But they can't find him.         Why

        13      can't they find him?     Because he's in a safe house.       He's down

        14      on the Cape.    And they've got their people out looking.          Well,

        15      you know, as you heard from Jerry Montanari, Special

        16      Agent Montanari, the relationship between Halloran and the FBI

        17      started to cool, and Brian Halloran started to come back to

        18      Boston.    And on one of those trips on that fateful day, May 11,

        19      1982, Brian Halloran is at the Pier Restaurant.          And it's not

11:24   20      Anthony's Pier 4.     It's a restaurant that was across the street

        21      at the time but right down the street from here.          And he's

        22      spotted by this fellow John Hurley, the same guy back in 1973

        23      who misidentified Michael Milano for Al Notarangeli.          Hurley

        24      tells Bulger, "Brian Halloran is down at the Pier Restaurant."

        25      What does Bulger do?     He tries to find Flemmi.      He can't find
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         1      Flemmi.   He calls Weeks.     He says, "Meet me at the O Street

         2      Club."    Weeks goes to the O Street Club, and Bulger says, "Go

         3      sit in the parking lot at Anthony's Pier 4.         Halloran is in the

         4      Pier Restaurant, and let me know what's going on.          I'll meet

         5      you down there."

         6                 Bulger soon arrives, and Kevin Weeks tells you this

         7      whole story.    Bulger pulls up in the tow truck.        Well, what's

         8      the tow truck?     That's their souped-up hit car.       That's how

         9      depraved these individuals are that they build a car to use to

11:25   10      murder people.     He shows up in the hit car.      He's got a floppy

        11      wig on and a mustache, and there's a man in the backseat with a

        12      ski mask, and Bulger hands him a walkie-talkie and says, "Keep

        13      your eye on Halloran.     Let me know when he comes out."

        14                 And you heard this testimony about Weeks watching the

        15      Pier Restaurant, sitting in the parking lot at Anthony's Pier 4

        16      and telling Bulger "The balloon is rising" -- that's what they

        17      used to call Mr. Halloran -- and "The balloon is in the air."

        18      And the next thing he knows is that souped-up hit car pulls

        19      right up to this little blue Datsun in which Michael Donahue

11:25   20      and Brian Halloran are sitting, and Bulger and this individual

        21      in the back of the car starts unleashing automatic weapons

        22      fire.    Mr. Donahue is killed instantly.      Brian Halloran manages

        23      to get out of the car.      As he gets out of the car and starts

        24      walking towards Bulger, Bulger continues to shoot him until he

        25      falls on the ground.
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         1                 Now, later that evening, what happens?        Mr. Bulger

         2      meets up with Mr. Flemmi.      And these are like two kids talking

         3      about a baseball game.      Mr. Bulger reenacts the entire murder

         4      for Mr. Flemmi.    Mr. Flemmi wishes he was there, sorry he

         5      missed it.    Bulger tells him that Pat is the guy in the

         6      backseat, who Flemmi believes is Pat Nee.

         7                 What else does Mr. Flemmi tell you?       He tells you that

         8      Kevin Weeks went in the other room, that Kevin Weeks was

         9      shaken.    This is the first time Weeks is involved in a murder.

11:27   10      That gives you a little idea of what Kevin Weeks is about.            But

        11      Bulger continues to regale Flemmi about the murder of Halloran

        12      and Donahue.    And the next morning they meet at Carson Beach

        13      with Pat Nee, and what does Pat Nee say?         Sure enough, "My gun

        14      jammed."    So that man in the backseat with the ski mask I

        15      submit to you is Pat Nee.

        16                 Additional evidence that you have on this other than

        17      Kevin Weeks, Stephen Flemmi, John Martorano tells you about

        18      Bulger's admissions at the New York City meeting.          What does

        19      Barry Halloran, Brian Halloran's brother, tell you?          Former

11:28   20      state trooper, took the stand here and told you that he was

        21      aware his brother was cooperating with the FBI; and his brother

        22      had told him that Callahan and Bulger and Flemmi had tried to

        23      solicit him to get involved in the murder of Roger Wheeler, but

        24      he turned it down.     And why did he say?     He said he didn't want

        25      to wind up like Tommy King, the guy that they lured down to
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         1      Carson Beach because they told him they wanted him to be

         2      involved in the murder of this man Suitcase Fidler.          He thought

         3      that this was another scam to lure him to his death, and he

         4      didn't go for it, again, a tidbit of evidence but something

         5      that gives the ring of truth to all the other evidence in the

         6      case.   Of course, you have the testimony from John Morris about

         7      leaking the information to Connolly, and you have the testimony

         8      from Jerry Montanari about what Mr. Halloran was telling the

         9      FBI, and this is the motive for the murder.

11:29   10                  But you also have another piece of evidence in this

        11      case, and that's what Mike Solimando told you; that while

        12      Mr. Bulger was sticking a machine gun in his gut, Mr. Bulger

        13      laughed and told him, "You don't want to wind up like Brian

        14      Halloran.    I don't know if he died of electrocution from all

        15      the wires he was wearing or from lead poisoning."          Again, the

        16      twisted mind of the defendant.

        17                  The final victim as a result of this series of murders

        18      is John Callahan because after Brian Halloran and Michael

        19      Donahue were murdered, that did not end Jerry Montanari's

11:30   20      investigation of the Wheeler murder.        As a matter of fact, on

        21      May 27, you may recall there's a memorandum from that defense

        22      star witness, Bob Fitzpatrick, describing a meeting at which

        23      John Morris, John Connolly, Jerry Montanari, Leo Brunnick, and

        24      Mike Hanigan are at where Montanari and Brunnick specifically

        25      tell Connolly, "Your guys are suspects in this murder, and
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         1      we're going after them."      So John Connolly knows killing Brian

         2      Halloran is not the end of this investigation.

         3                 What else does John Connolly know?       Well, there are

         4      some important documents in evidence.        So these are two reports

         5      that are in evidence, Exhibits 316 and 315, and this first one,

         6      316, is a request from Oklahoma City to determine the

         7      whereabouts of John Callahan.       And John Connolly sees that

         8      report.   I think that unfortunately they put the exhibit

         9      sticker over the C-3, but you may recall this document has

11:32   10      right under where this exhibit sticker is a C-3 that was

        11      crossed out.    And what does that mean?      That means that that

        12      teletype -- John Morris told you that that teletype in early

        13      July went to C-3, John Connolly's squad.         This is three Weeks

        14      before John Callahan is murdered; and John Connolly, like every

        15      other agent in that squad, checks the teletypes.

        16                 Now, that teletype should have gone to C-2, which was

        17      the squad that Mr. Montanari worked on, and John Morris told

        18      you he later rerouted it to C-2, but that teletype goes to C-3

        19      first.    And what does John Connolly do?      Even though it's none

11:32   20      of his business, he goes out and interviews Bulger and Flemmi

        21      regarding the whereabouts of John Callahan.

        22                 Now, we know what's going on here.       He's in league

        23      with Bulger and Flemmi, and he goes and tells them that "Hey,

        24      the FBI is looking for John Callahan, and if they get to John

        25      Callahan before we do, we're all in trouble."         That comes
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         1      initially in a telephone call, Flemmi tells you.          What else

         2      does Connolly tell Bulger?      He says, "Get in touch with John

         3      Martorano.    John Martorano has to take care of John Callahan."

         4                  So what happens next?    Stephen Flemmi calls John

         5      Martorano and says, "We need to meet."        They meet in New York

         6      City at a Marriott Hotel at LaGuardia Airport, and at that

         7      meeting both Martorano and Flemmi told you that Bulger did most

         8      of the talking.    And what does he tell John Martorano?          He

         9      says, "Look, we killed Brian Halloran.        Brian Halloran was

11:34   10      giving you up on the Wheeler murder.        Now they're going after

        11      Callahan.    If they get to Callahan, he's going to give the

        12      whole thing up; we're all going to jail.         You have to kill

        13      Callahan.    You have to kill him in Florida.       There's too much

        14      heat up here in Boston."      That's what happened at that New York

        15      City meeting.

        16                  Now, John Martorano, he tells you he was reluctant.

        17      And of course he's reluctant.       John Callahan is the guy who's

        18      bringing him money.     John Callahan is the guy who's letting him

        19      live in his condo and loaning his car to him.         John Martorano

11:34   20      doesn't want to kill John Callahan, but Bulger puts it on him,

        21      "Is this guy going to stand up?"       And John Martorano has to

        22      admit he didn't know, and he agrees to kill John Callahan.

        23                  What other important piece of information comes out of

        24      this meeting?    They tell him, "Make it look like the Cubans did

        25      it in Miami.    Spread his personal belongings in the Cuban
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         1      area."

         2                 Now, on paper what it looks like is, John Connolly

         3      goes out and interviews Flemmi and Bulger regarding the

         4      whereabouts of Callahan, and I'll show you those documents.

         5      These two reports are in evidence, 282 and 317.          This first one

         6      on July 7, 1982, is from Bulger's file, BS1544.          The second

         7      one, the same day, July 7, 1982, BS955, is from Flemmi's file.

         8      And we know based upon the evidence that Bulger and Flemmi

         9      always met Connolly together.

11:36   10                 So what's going on here?     On that day, five days after

        11      the teletype from Oklahoma City asking where is John Callahan,

        12      Connolly is out talking to Bulger about John Callahan.            And I

        13      think John Morris said it was none of his business, and the

        14      last thing you want to talk to about the targets of a murder

        15      investigation is the whereabouts of a prime witness against

        16      them.    But putting that aside, you know what the relationship

        17      was anyways, that Connolly is scheming with Bulger and Flemmi

        18      to have Callahan murdered.

        19                 And what does Connolly put in his report?        On

11:36   20      July 7 -- this is three Weeks before Callahan is murdered --

        21      Connolly writes, "Callahan was close to a Cuban group who he

        22      was impressed with as being very bad.        Source added that lately

        23      Callahan's relationship with this group has cooled, and

        24      Callahan is supposed to be avoiding them."

        25                 Now, either John Connolly has a crystal ball, or he's
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         1      in league with Bulger and Flemmi to murder John Callahan.            How

         2      does he know three weeks before the fact that Callahan is going

         3      to be murdered in Florida and that Callahan's belongings are

         4      going to be found in the Cuban section?        You heard the

         5      testimony from Police Officer Perez who went to that used car

         6      lot in little Havana and found John Callahan's wallet.            So this

         7      piece of evidence is a smoking gun, ladies and gentlemen, a

         8      meeting between Bulger, Flemmi, and Connolly where it's clear

         9      they're discussing the demise of John Callahan.

11:38   10                And what else on that same day?        In the report

        11      attributed to Bulger that Connolly writes about Halloran,

        12      "Source pointed out that no one had any information that

        13      Halloran was cooperating with the FBI until it appeared in the

        14      paper after his death."      And what do we know about that?

        15      That's a bald-faced lie.      John Morris told you that John

        16      Connolly had specifically told him that Bulger and Flemmi knew

        17      Brian Halloran was cooperating with the FBI.         John Morris had

        18      told John Connolly that.      John Connolly had reported that back

        19      to him.   So here we are now a few weeks after the murder of

11:39   20      Brian Halloran, and Connolly is trying to put paper in to make

        21      it look like it wasn't a leak from the FBI.

        22                These documents tell the very nature of the

        23      relationship between these men, which is scheming and plotting

        24      to kill people and put the blame everywhere else other than at

        25      themselves.
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         1                 So what happens next?     After this interview on July 7,

         2      this teletype, Exhibit 315, goes out, and that teletype

         3      contained the very information that had been reported in

         4      Exhibit 317.    So it's clear that Connolly, he sees this one,

         5      knows the FBI is looking for Callahan, tells Bulger and Flemmi

         6      about it, covers his butt by creating these two reports, and

         7      then that information gets reported back to Oklahoma City; and

         8      three weeks later, ladies and gentlemen, John Callahan is dead.

         9                 John Martorano told you that the next time Callahan

11:40   10      came to Florida, he picked him up at the Fort Lauderdale

        11      Airport.   When John Callahan got in Martorano's van, Martorano

        12      shot him in the back of the head.       Joe McDonald was there in

        13      another car.    They brought the van to a storage center, and I

        14      think we put pictures in of that storage center where they

        15      switched Callahan's body from Martorano's van to the trunk of

        16      Callahan's car, and they brought Callahan's car to Miami

        17      International Airport and left it in the parking garage there,

        18      where it was ultimately recovered.

        19                 The final piece of this picture is Exhibit 318, ladies

11:41   20      and gentlemen, this memorandum written by John Connolly, if we

        21      can put that up.     Who's he writing it to?      He's writing this

        22      memorandum, and if you recall, this memorandum is an alibi, an

        23      alibi for James Bulger, not only for the Wheeler murder but for

        24      the Callahan murder, April 7, 1983.        Now, what is an FBI agent

        25      doing providing an alibi for the head of an organized crime
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         1      group regarding two murders?       Again, this document says it all

         2      about the nature of this relationship.

         3                  The next three murders I want to talk about are the

         4      murders at 799 East Third Street.       These are Racketeering

         5      Acts 18, 19, and 20.     799 East Third Street, it's a few blocks

         6      up from that 832 East Third Street location that you've heard a

         7      lot of evidence about.      It was a house occupied by Michael Nee,

         8      Pat Nee's brother, and ultimately used to murder Arthur

         9      Barrett, John McIntyre, and Deborah Hussey.

11:42   10                  Now, who was Arthur Barrett?     You heard testimony

        11      about Arthur Barrett's involvement in the Medford Depositors

        12      Trust bank burglary.     You heard that when Mr. Bulger and

        13      Mr. Flemmi found out about that, this was another score.          And

        14      this is what they do.     You know, they find a reason to extort

        15      somebody.    They make up something.      That's how they scored;

        16      that's how they earned money.       And Barrett was a prime target

        17      for extortion in 1981 or 1980 right after the Medford

        18      Depositors Trust bank burglary.       So they whistle him down to

        19      the Lancaster Street garage, and you heard the testimony that

11:43   20      he arrived there from Lieutenant Long, that he was picked up on

        21      surveillance and brought into the back room.

        22                  Now, what does Flemmi tell you about that?       Flemmi

        23      tells you that, yeah, they told him Howie Winter had a safe

        24      deposit box in that bank and they want their money back.          It's

        25      just a scam.    It's just another reason to separate somebody
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         1      from their money.

         2                What does Bucky Barrett say, Arthur Barrett?            He says,

         3      "I'm with Frank Salemme."      Well, who's Frank Salemme?         Frank

         4      Salemme is Stephen Flemmi's old partner from the '60s, who

         5      ultimately becomes the boss of the Mafia in New England.

         6                When Barrett tells them "I'm with Frank Salemme,"

         7      Bulger and Flemmi back off.      Flemmi tells you he got a call

         8      from Frank; you know, "Back off Bucky Barrett.         He's with me."

         9      And they do.    But like all these people, all these Mullen's

11:44   10      gang people, Mullen's gang members that Mr. Bulger never

        11      forgets, he's got a score to settle here, and sooner or later

        12      he settles that score with Arthur Barrett.         And how does he do

        13      it?   He has Jimmy Martorano tell Barrett that "We've got some

        14      stolen diamonds, and we need to fence them."         And he lures

        15      Barrett to 799 East Third Street, tempting him with this

        16      diamond heist.    Once Barrett arrives there, you heard the

        17      testimony from both Flemmi and Weeks that Bulger jumps out with

        18      a gun, holds Barrett at gunpoint.       Jimmy Martorano takes off,

        19      and they chain Barrett to a chair in the kitchen, and for hours

11:45   20      and hours they torment this man.       They ask him questions about

        21      his relationship with Joe Murray.       And when I asked Stephen

        22      Flemmi, "Well, why did you want to know about Joe Murray?"

        23                "We're always looking for the next score."

        24                And that's what it's about, where's the next score?

        25      That's why Mr. Bulger -- he was the king of intelligence -- he
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         1      wanted to know what everybody was doing in town so he could get

         2      his piece of the action.

         3                Well, they have Barrett call Joe Murray.         They have

         4      him call Michael Murray to try to get money.         That's

         5      unsuccessful.    Finally, they have Barrett call his wife, tell

         6      his wife, "Take the kids, get out of the house," and Barrett

         7      does that, and you heard Mrs. Barrett testify to you about that

         8      telephone call.

         9                Bulger and Flemmi go to Barrett's house after

11:46   10      Mrs. Barrett left, and they recover $60,000 hidden behind the

        11      washing machine.     Barrett also tells him about $10,000 he's got

        12      up at the Little Rascals bar with Jake Rooney.         He's partners

        13      in a bar, and Rooney has $10,000 that belongs to Barrett.

        14      Weeks and this fellow Barry Wong, who you heard testimony from,

        15      go to the bar and pick up the $10,000.

        16                While Bulger and Flemmi are at Barrett's house, Weeks

        17      and Nee are watching Barrett, who's still chained to the

        18      kitchen chair.     When they all get back, what happens?

        19      Mr. Bulger tells them Barrett is going to go downstairs to take

11:47   20      a nap; and as Barrett walks down the stairs, Bulger pulls out a

        21      gun, puts it to the back of Barrett's head and shoots him in

        22      the back of the head.

        23                Mr. Flemmi then takes the body, strips it, pulls out

        24      Barrett's teeth with a dental pliers that Mr. Bulger got from

        25      his girlfriend, Kathy Greig, who worked for a dentist, and they
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         1      bury Mr. Barrett in the dirt floor of the basement at 799 East

         2      Third Street.

         3                Now, again, Mr. Barrett's body is one that's

         4      recovered, Florian Hall in 2000, and this information that

         5      Mr. Weeks provided is consistent with the forensic evidence

         6      that Dr. Mires noticed when these bodies were recovered.          And

         7      if you look at the entry wound in Mr. Barrett's skull, I think

         8      she told you that the gunshot wound was from the left rear to

         9      the right front, and she showed you the damage along that

11:48   10      pathway, if I've got it right, left to right front.          But the

        11      bottom line is, the forensic evidence that wasn't available at

        12      the time Kevin Weeks provided this information is totally

        13      consistent with his description of the murder.

        14                Now, I'm going to talk a little bit about the fact

        15      that Mr. Barrett's body was found in the same grave as John

        16      McIntyre and Deborah Hussey, and, again, that's another piece

        17      of forensic evidence that tells you that the person who

        18      committed that murder is the same person who committed the

        19      murders of Deborah Hussey and John McIntyre, to be found in an

11:49   20      unmarked grave with two other bodies.        They're not there by

        21      coincidence.

        22                John McIntyre, who was he?       He was one of Joe Murray's

        23      employees.    He worked in Joe Murray's marijuana business.         He

        24      was on the Valhalla, that boat where they shipped a bunch of

        25      arms to Ireland.     And when they offloaded those arms to the
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         1      other boat, the Marita Ann, he got intercepted by the Irish

         2      Navy.   And when that boat returns in October of 1984, about a

         3      month later something else happens.        That something else is the

         4      interception of the Ramsland.       Remember that, this container

         5      ship that had 36 tons of marijuana in its hold?          This was a

         6      smuggle.    This was one of Joe Murray's smuggles.        And you

         7      remember, the way things worked in South Boston was, whatever

         8      Joe Murray did, Bulger and Flemmi got a piece of it; and you

         9      heard Kevin Weeks and Stephen Flemmi tell you that they stood

11:50   10      to make millions from that marijuana smuggle.

        11                  But that ship is intercepted by DEA, Customs, and the

        12      FBI, the Coast Guard.     And at that point after the Valhalla,

        13      after the Ramsland, Bulger thinks there's an informant, and he

        14      goes to Connolly:     "What's going on here?"      And Connolly

        15      reports back to him:     "One of the two men who got off the

        16      Valhalla is cooperating."      And Bulger finds out who came in on

        17      the Valhalla when it docked in South Boston.         Kevin Weeks told

        18      you Bob Anderson and John McIntyre, and Bulger focused on John

        19      McIntyre.    They lured him in with a ruse through Pat Nee to

11:51   20      invest in a drug smuggle.      They earned $20,000 off that ruse.

        21      You heard the testimony from Don DeFago, the Customs agent who

        22      was handling McIntyre, surveilled a meeting between Pat Nee and

        23      John McIntyre when McIntyre delivered the $20,000.

        24                  And then they invite McIntyre to a party, a

        25      celebration at 799 East Third Street, hardly a place to
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         1      celebrate anything.     And when McIntyre gets there, it's Arthur

         2      Barrett all over again:      held at gunpoint, chained to a kitchen

         3      chair, interrogated.     McIntyre gives it up that, yeah, he

         4      tipped off authorities to the Ramsland.        He gets taken down to

         5      the basement.

         6                And what does Mr. Bulger try to do to John McIntyre in

         7      the basement?    He tries to strangle him with a rope.

         8      Mr. Flemmi told you he was holding McIntyre's body while Bulger

         9      is trying to strangle McIntyre with a rope, but the rope was

11:52   10      too thick, and he couldn't do the job.        So what does Bulger say

        11      to McIntyre?    "Would you like one in the head?"        McIntyre says

        12      "Yes," and Bulger shoots him in the head.

        13                As McIntyre's body falls to the ground, Flemmi says,

        14      "He's still alive," and Bulger shoots him again.          And they do

        15      the same thing:    strip his body clean, pull out his teeth, bury

        16      him in the dirt in the basement.       And again the forensic

        17      evidence is consistent with the testimony in this case.

        18      Exhibits 432 and 442 show the bullet entry right at the base of

        19      the skull into Mr. McIntyre's head.        You also know that a

11:53   20      bullet fragment was recovered from inside the head.          That green

        21      there is the oxidation from the copper, which is part of the

        22      bullet, and you heard Dr. Mires testify about that.

        23                Deborah Hussey is the last person to be killed at this

        24      house of horror, 799 East Third Street, in January, 1985.               You

        25      know Deborah Hussey was Stephen Flemmi's stepdaughter.            You
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         1      know that they had a sexual relationship.         We've heard a lot

         2      about her trouble with drugs, with the police.         She started

         3      frequenting Triple O's using Flemmi and Bulger's name.            They

         4      decided to kill her.     It makes no sense to rehash what had

         5      happened with Deborah Hussey in the past, ladies and gentlemen.

         6      These two men decided to murder her.        And Flemmi brought her to

         7      799 East Third Street.      And you heard the testimony from Kevin

         8      Weeks and Stephen Flemmi that when Mr. Flemmi brought her in

         9      the door, again, Mr. Bulger jumps out, grabs her and strangles

11:55   10      her to death.

        11                  He's the actor.   He's the Type A personality in this

        12      group.    He's always the one there with the gun pulling the

        13      trigger.    But what does he do after that, the case in Barrett,

        14      the case in Davis, the case in McIntyre?         He goes and takes a

        15      nap.     And he did the same thing after he murdered Deborah

        16      Hussey:    He went and lied down, and he leaves the dirty work to

        17      Stephen Flemmi, Kevin Weeks, and Pat Nee, where again Flemmi

        18      strips the body, pulls out the teeth, and they bury her in the

        19      dirt at 799 East Third Street.

11:56   20                  Now, ultimately you heard that these bodies had to be

        21      moved.    And why did they have to be moved?       Because the house

        22      at 799 East Third Street was being sold.         So they dug up these

        23      bodies.    I'm not going to go through all the details of what

        24      happened that night, but Bulger, Flemmi, and Weeks moved those

        25      bodies to a pre-dug hole across the street from Florian Hall in
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         1      Dorchester.    And those three bodies being at that same location

         2      in that hole says it all.      Mr. Bulger may as well have dropped

         3      his license into that hole.      What is the connection between

         4      these three individuals being buried together?         They all are

         5      connected to this group of criminals.

         6                And that's the murders, ladies and gentlemen.           I know

         7      I'm running late, so I'm going to try to run through the rest

         8      of the charges in the indictment fairly quickly.

         9                Racketeering Act No. 21 is the rent conspiracy, and,

11:57   10      you know, I've talked about this a little bit.         If you wanted

        11      to be a criminal in Boston, you paid rent; you paid tribute to

        12      one of these two groups.      The ramifications of nonpayment was

        13      either you get out of the business or you get physically hurt.

        14      You've had a lot of testimony about that.

        15                The effect on interstate commerce, you'll see that

        16      this is called "extortion," and that means parting with your

        17      money out of fear essentially:       "Obtaining property from

        18      another with his consent induced by the wrongful use of actual

        19      or threatened force, violence, or fear."         So, you know, when

11:58   20      you pay somebody money because you feel that if you don't pay

        21      it you're going to get hurt, that's extortion.         And under the

        22      federal statute, there must be some impact on interstate

        23      commerce, and I suggest to you, just like I did on the RICO

        24      charges, that the effect on interstate commerce is the same

        25      here.   All these people, whether they're drug dealers, bookies,
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         1      loan sharks, they're all dealing in a business which uses the

         2      banking industry.     Source of supply for drug dealers is out of

         3      state.    Bookies get line information from out of state.          They

         4      have customers out of state.       The proceeds of this criminal

         5      activity is being sent to Florida, John Martorano's share.

         6                 Dickie O'Brien is one of the extortion victims.           He

         7      had to go to work for them.      Remember he testified in the early

         8      '70s he was told, "We're rounding up all the bookies.             You're

         9      going to work for us."      I'm not going to go into detail on

11:59   10      that, but he had a very interesting story to tell about a

        11      Mr. Labate, one of his agents who couldn't pay and was brought

        12      to a meeting with Mr. Bulger and Mr. Martorano.          And when

        13      Mr. Labate complained, what did James Bulger say to him?             He

        14      said, "We're not only in the gambling business.          We have

        15      another business."     Mr. Labate said, "What's that?" and

        16      Mr. Bulger said, "We kill assholes like you."         And Mr. Bulger,

        17      if you remember, thought that was very humorous.

        18                 Kevin Hayes, Racketeering Act 23, Count 4, this is a

        19      1994 extortion where Weeks learns that Hayes, an unconnected

12:00   20      bookmaker, is making book and he's not with anybody.          He tells

        21      Bulger.   Bulger says, "See what you can do."        And Weeks has

        22      this Charlestown gangster, Mick Murray, bring Hayes into South

        23      Boston where they do the usual:       put a gun in his face,

        24      threaten to kill him.     Ultimately Mr. Hayes pays a $20,000

        25      fine, and he has to pay $1,000 a month rent to continue
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         1      operating his bookmaking business, and pays rent through 1996

         2      until he told you he got out of the business.

         3                  Now, again, Mr. Bulger is not there at the extortion

         4      of Kevin Hayes.    Kevin Weeks told you Mr. Bulger shared in the

         5      proceeds.    But the question for you regarding Mr. Bulger's

         6      criminal liability is, as the leader of this organized crime

         7      group, is it reasonably foreseeable for him to think that Kevin

         8      Weeks is going to go out and charge a bookmaker rent who's not

         9      connected, who's making book out there, and he's not paying

12:01   10      tribute, he's not paying rent?       Of course.    That's the heart of

        11      this very business.     Everybody has to pay.      If you don't pay,

        12      you're out of business or you get hurt.        So I suggest to you,

        13      ladies and gentlemen, it is reasonably foreseeable.

        14                  There's another extortion conspiracy here, and that's

        15      the conspiracy, again, to extort legitimate people like Mike

        16      Solimando, Richard Buccheri, Stephen and Julie Rakes, Ray

        17      Slinger.    Mike Solimando is Racketeering Act No. 25.        Again, he

        18      was a fringe person associated with some of the members of

        19      Winter Hill, Jimmy Martorano, John Callahan, John Callahan's

12:02   20      friend.    This guy is a legitimate businessman.       He's in the

        21      real estate development business, and he had invested in a

        22      property at 126 High Street that John Callahan and him, and you

        23      may remember his brother-in-law, Gene Kelly, they were all

        24      partners in the renovation of this building.

        25                  The hypocrisy of this is, after Bulger and Flemmi and
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         1      Martorano orchestrate the death of John Callahan, now they're

         2      going to Mike Solimando to shake him down for money that

         3      they're claiming John Callahan owes them.         I mean, it almost

         4      sounds like what they did to Sandra Castucci and Peter Fiumara

         5      after they killed Richard Castucci.        It's the same dog-and-pony

         6      show.   So they make this up, totally fabricate this claim, and

         7      they go to this guy, Mike Solimando, who's trying to help out

         8      the widow of John Callahan resolve his estate, and say, "You

         9      owe us $400,000."

12:03   10                He's whistled down to Triple O's, Kevin O'Neil's bar,

        11      and brought upstairs, Flemmi, Weeks, and Bulger; and Bulger

        12      puts a gun in his face and tells him that "You have John

        13      Callahan's money.     That's our money.     You're going to pay."

        14      And Solimando protests, and the more he protests, the harder

        15      Bulger pushes that gun in his face.        And then what does he do?

        16      He takes a machine gun and sticks it in his belly and basically

        17      threatens to kill Solimando's family:        "We'll put a bunch of

        18      names in a hat and pull them out, see who goes next."             And, of

        19      course, Solimando ultimately agrees to pay.

12:03   20                And he told you he got $250,000 from Swiss bank

        21      accounts that John Callahan had, and he and his brother-in-law,

        22      Gene Kelly, came up with the rest of the money, and they made

        23      payments to George Kaufman until that debt was paid.          Why

        24      didn't he go to the authorities?       Because Bulger told him,

        25      "Don't you dare.     I'll know in minutes.     If you go to the FBI,
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         1      I'll know."

         2                 What else happens to Mike Solimando?       Well, there's a

         3      federal grand jury in Miami that's investigating the murder of

         4      John Callahan, that's investigating this whole Jai Alai

         5      situation.    Solimando gets subpoenaed to that federal grand

         6      jury.   And what does Bulger do?      He gets a photograph of Arthur

         7      Barrett, the man he knows is laying in a dirt hole at 799 East

         8      Third Street, and he has Jimmy Martorano give that photo to

         9      Mike Solimando and says, "Blame it on this guy.          Blame

12:05   10      everything on Barrett.      He won't be around to deny it."       Again,

        11      another piece of independent evidence linking Bulger/Flemmi to

        12      this murder.

        13                 Richard Buccheri, another legitimate businessman who

        14      happens to give a piece of advice to one of his neighbors who

        15      lives next door to Kevin Weeks because they're having some

        16      dispute about a fence and whether it's on Weeks's property or

        17      it's on the neighbor's property.       Again, Weeks tells Bulger

        18      about this, and Bulger's eyes light up; another opportunity for

        19      a score.   Any reason to stick a gun in somebody's face and rob

12:05   20      them of their money, that's a score to him.

        21                 So he has Flemmi bring Buccheri to the screen house at

        22      832 East Third Street, that house in the back where all the

        23      guns were hidden.     And what does he do to poor Mr. Buccheri?

        24      Sticks a gun in his mouth, tells him, "This is going to cost

        25      you $200,000.    Kevin Weeks is like a son to me.        Who are you to
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         1      get involved in this?     Either you're going to pay $200,000 or

         2      I'm going to kill you."      Well, of course, what does Mr. Buccheri

         3      do?   He immediately agrees to pay.       And that check, he writes

         4      out a $200,000 check to Stephen Flemmi, which Stephen Flemmi --

         5      you heard testimony from the people at that bank -- cashed,

         6      they gave him the cash.

         7                  After Mr. Bulger receives the money, what does Flemmi

         8      tell Buccheri?    "Jim Bulger said you're our friend now."        Well,

         9      it's the old saying, "With friends like that, you don't need

12:07   10      enemies."

        11                  Stephen and Julie Rakes who owned the liquor store,

        12      and I'm going to talk about the liquor store in a few minutes,

        13      so I'm going to save them for the discussion of the money

        14      laundering and the liquor store.       Ray Slinger, another real

        15      estate broker, has a dispute with Kevin O'Neil.          Kevin O'Neil

        16      tells Bulger about it.      Again, the lights go on; here's another

        17      opportunity to extort somebody.       Bulger has O'Neil bring him

        18      down to Triple O's.     The same thing; upstairs, Bulger, Weeks,

        19      and Flemmi.    Slinger made the mistake of bringing a gun.        So

12:07   20      they beat him up.     They fine him.    They tell him he has to pay

        21      $50,000.

        22                  You heard Kevin O'Neil.    Bulger sent him to pick up

        23      the money.    And when Kevin O'Neil complained, tells Bulger, "I

        24      could lose my license," because he's running a bar that's

        25      licensed there, what does Bulger say to him?         "You could lose
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         1      your life."

         2                Narcotics distribution conspiracy is Racketeering Act

         3      No. 29.   I'm not going to spend a lot of time on this.           You

         4      heard the testimony from a parade of individuals, from Kevin

         5      Weeks and Flemmi to Billy Shea, Joe Tower, Paul Moore, about

         6      the narcotics business that Mr. Bulger ran out of South Boston

         7      for the entire decade of the '80s.        If you wanted to sell

         8      cocaine, if you wanted to sell marijuana in South Boston, you

         9      had to be part of his organization.        You heard that they earned

12:08   10      about $10,000 a week from Mr. Bulger's share of this business.

        11      This business ended in the summer of 1991 when the DEA arrested

        12      51 individuals.    So you can see the size of this organization.

        13      It's bookmakers.     It's loan sharks.     It's all sorts of thugs

        14      and hoods and drug dealers.      Hundreds of people are under

        15      Mr. Bulger's control in this organization.

        16                Not only did he control drug distribution in South

        17      Boston, but they collected rents or shared in pieces of

        18      smuggles from people like Frank Lepere.        Frank Lepere was that

        19      large-scale marijuana importer who every time he brought a

12:09   20      smuggle in, Bulger and Flemmi got a piece of it.          I think even

        21      Mr. Carney said, at some point Mr. Bulger had paid John

        22      Connolly $50,000.     Well, you heard from Stephen Flemmi:        That

        23      was Lepere money that went to John Connolly.

        24                You also heard Fred Davis, that FBI agent who

        25      testified in the defense case, who saw John Connolly rifling
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         1      through an investigation involving Frank Lepere.          Well, why is

         2      John Connolly doing that?      Well, Lepere is part of Bulger's

         3      organization, and Connolly is trying to find out what's going

         4      on.

         5                David Lindholm, after Lindholm paid his fine, his

         6      $200,000 up front, he had to give a piece of every smuggle to

         7      Bulger and Flemmi.     So too with Joe Murray, Hobart Willis, that

         8      fellow in Dorchester, another drug dealer paying rent to them.

         9      So they are earning, as Mr. Carney told you, millions and

12:10   10      millions of dollars from this narcotic distribution conspiracy.

        11                So the next racketeering act is No. 30, Count 5.         It's

        12      money laundering.     What do you do when you have all this dirty

        13      money?   You launder some of it.      And what was one of the ways

        14      that they engaged in money laundering?        Was by buying this

        15      liquor store from Stephen and Julie Rakes.

        16                Before I get to that, I want to say a little bit about

        17      money laundering.     What is it?    It's conducting a financial

        18      transaction with the proceeds of certain criminal activity.

        19      The criminal activity that's the subject of the money

12:11   20      laundering in this case is illegal gambling, loan shark,

        21      narcotics distribution, extortion.        So if you earn money from

        22      those kind of crimes and then you try to use it to buy

        23      something, to invest, you're engaged in money laundering if you

        24      do it in a way that's designed to disguise it, that's designed

        25      to conceal the true source.
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         1                  And this conspiracy is a fairly simple one.           Bulger

         2      and Flemmi and Weeks have dirty money.        They use it to buy the

         3      liquor store, they use it to buy the real estate on which the

         4      liquor store is sitting, and then they use it to generate all

         5      sorts of clean money.     What's the clean money that they

         6      generate?    They generate salaries to themselves.        They generate

         7      rent payments to themselves.       They're issued 1099s and W-2s so

         8      they can show on their income taxes that they have a legitimate

         9      source of income.     They generate proceeds from the sale of the

12:12   10      real estate, and ultimately they generate mortgage payments to

        11      Mr. Bulger, and that's taking dirty money at the beginning and

        12      making it look clean at the end.

        13                  There's another theory that supports the money

        14      laundering charges.     Not only did they invest dirty money to

        15      purchase the property, but they also obtained it through

        16      extortion.    And you heard the testimony of Kevin Weeks that

        17      they made a deal to buy the liquor store from Rakes, Julie and

        18      Stephen Rakes.    But at the last minute Stephen Rakes got cold

        19      feet, right?    And that happens.     That's business.     People pull

12:13   20      out of deals.    Sometimes you can sue them.       You bring them to

        21      court if you get damages.      Well, Mr. Bulger doesn't take people

        22      to court.    So what happens?    The gun goes on the table, and

        23      Bulger tells him, "You're not backing out of this."          So that's

        24      a second theory that supports the money laundering charges in

        25      this case.
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         1                 Now, how do they engage in this money laundering?

         2      Bulger gets his front man, Kevin O'Neil, that fellow who owns

         3      Triple O's, he gets Kevin O'Neil first in to buy the business

         4      at the Liquor Mart.     So Weeks acquires it in '84, hides the

         5      fact that Bulger and Flemmi have an ownership interest, sells

         6      it two years later to Kevin O'Neil and his partner, Gordon

         7      McIntyre, for $300,000.      So now they've turned $100,000 of

         8      dirty money into $300,000 of what looks like clean money, and

         9      Bulger, Flemmi, and Weeks each get $100,000 out of that sale.

12:14   10                 Now, poor Kevin O'Neil, he thought he's buying the

        11      whole business.    What does he find out after the fact?          "Oh,

        12      no, the real estate, we still own the real estate.          You have to

        13      pay us rent now on the real estate."        So O'Neil, who after he

        14      buys the business has to keep Bulger, Flemmi, and Weeks on the

        15      payroll; and when he was asked that by Mr. Hafer, "Well, why

        16      did you do that?     I mean, why did you keep them on the payroll?

        17      They weren't doing any work," he says, "It wouldn't be a good

        18      idea not to do it."     I think he said, "It wouldn't be smart to

        19      refuse."   Those were his exact words.       And so that says it all,

12:15   20      ladies and gentlemen.

        21                 So they continued to be on the payroll even when

        22      O'Neil owns the business.      In I believe it's 1989, five years

        23      after they originally acquired the property, Kevin O'Neil now

        24      buys the real estate from Weeks.       And you may recall there's a

        25      transaction involving the real estate, that Mr. Bulger buys it
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         1      from Flemmi and Weeks for $40,000; in the same day he turns

         2      around and sells it to O'Neil and Gordon McIntyre for $400,000.

         3      So those are two real estate transactions involving the real

         4      estate that are money laundering transactions, and those are

         5      charged as 32-A and 31.

         6                Getting back to the sale of the real estate, now

         7      Mr. O'Neil pays $400,000 for the real estate.         And what does

         8      Mr. Bulger say?    He says, "I'll take back the mortgage."          So

         9      now Mr. Bulger has an income stream of over $4,000 a month for

12:17   10      mortgage payments for the real estate that the liquor store is

        11      sitting on.     So they have essentially converted this $100,000

        12      investment made in 1984 into payments for the business and a

        13      mortgage payment stream to Mr. Bulger, which, again, appears as

        14      though it's legitimate income, and those payments are made

        15      through 1997.    There are 67 of them, and they are Racketeering

        16      Acts 32-B through 32-PPP and Counts 6 through 26.          And I think

        17      this is an example of one of those mortgage payments.             There

        18      are 67 of them.    Every one of these checks is a financial

        19      transaction.    Every one of these checks goes through the

12:17   20      banking system and affects interstate commerce.          Every one of

        21      these checks is the proceeds of dirty money.

        22                There's another money laundering charge, and that

        23      relates to $10,000 that was given to John Martorano.          You heard

        24      that after 1995, Martorano was arrested.         In 1996 he runs out

        25      of money, and he needs money.       He asks Kevin Weeks to see if he
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         1   can get $10,000.    Kevin Weeks calls James Bulger.       Bulger says,

         2   "Okay, take the money out of the EX fund."        What was the EX

         3   fund?   You may remember both Weeks and Flemmi testified about

         4   this fund of money where every time they had a score, the EX

         5   fund got a piece.    And they used that money to bribe FBI

         6   agents, local law enforcement, state troopers.         They used that

         7   money to buy weapons.     They used that money for expenses.            So

         8   that's the money that comes out to buy the liquor store.

         9   That's where that money comes from, and that's the money that

12:19   10   was given to Martorano.

        11               Now, what happens to that $10,000?      It's delivered by

        12   Phil Costa, one of Mr. Flemmi's gofers who's on that original

        13   chart I showed you, to Loretta Lytle.       Who is Loretta Lytle?

        14   Loretta Lytle was Patty Lytle's mother.        Patty Lytle testified

        15   here about picking up that $10,000 from her mother in the

        16   summer of 1996.    And what does she use the money for?           She

        17   takes that money back to Florida and uses it to pay her

        18   expenses.    She buys goods and services in interstate commerce.

        19               The firearms counts, you saw a number of weapons that

12:19   20   were admitted into evidence, photographs.        You know that there

        21   was a hide at 832 East Third Street where ultimately all these

        22   weapons were maintained by the enterprise.        After Weeks

        23   cooperated, you heard Flemmi testify he asked his son to remove

        24   the weapons from the hide, Billy St. Croix.        Some of them were

        25   buried in Somerville, and you saw the pictures of those weapons
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         1   that were dug out of the ground in Somerville.         Some of them

         2   were taken to Florida by Billy St. Croix and ultimately given

         3   to Colonel Foley and the DEA when they were recovered.

         4               However, prior to that, you heard evidence, testimony

         5   that Mr. Bulger didn't like the fact that all the weapons were

         6   at that screen house behind Mrs. Flemmi's house.         He wanted his

         7   own personal stash.     So what does he do?     He gives Flemmi a

         8   list of what he wants, and Flemmi puts that package together

         9   and gives it to Kevin Weeks.      What does Weeks do?     Weeks tells

12:21   10   you that he brought that package of weapons to his parents'

        11   home in South Boston and kept those weapons for James Bulger.

        12   As a matter of fact, he testified Bulger came over, inspected

        13   them.   They cleaned all the guns, they packed them up, and they

        14   were maintained at Kevin Weeks's parents' house, until Bulger

        15   becomes a fugitive, until everybody is being indicted and

        16   arrested.    And what does Weeks do then?      He brings those guns

        17   to his friend Billy Haufler's house, and they put a safe and a

        18   chest under the stairs and board the stairs up; and the stairs

        19   stay that way boarded up, those items stay that way until they

12:21   20   are recovered by DEA and the State Police in 2000.

        21               And what are those weapons?    These are the weapons

        22   that are on the table here, ladies and gentlemen.         These guns,

        23   Mr. Bulger's stash is what is specifically charged in the

        24   indictment in all the firearms counts.        And you'll see that

        25   some of these weapons are machine guns.        There are six machine
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         1   guns, and these are the machine guns right here.         There are two

         2   with obliterated serial numbers.

         3               But what's important about this?     Mr. Flemmi was able

         4   to identify specifically some of these guns as weapons that he

         5   recognized as taking out of 832 East Third Street and

         6   delivering to Kevin Weeks for Mr. Bulger's stash.         And those

         7   weapons include weapons like this, the MAC-10 semi-automatic

         8   pistol.    There's an AR15, a carbine.     There's a grease gun.

         9   Mr. Flemmi specifically recognized, as well as Mr. Weeks, that

12:23   10   these were guns that were taken out of 832 East Third Street

        11   and provided to Mr. Bulger for his personal stash.

        12               Also you may recall there was a paratrooper's knife

        13   there that Flemmi specifically recalled because it was his

        14   knife, and Bulger asked for it, and he gave it to him.            What

        15   else was in that safe?     It's one of the knives.      I think it's

        16   this one right on the far left, which was one of Mr. Flemmi's

        17   favorite knives that Mr. Bulger wanted.        These are tools of the

        18   trade.    In this trade of extortion and murder, these are

        19   Mr. Bulger's tools.     Just like a carpenter has a hammer and

12:23   20   nails, Mr. Bulger has guns and knives.

        21               Now, there's something else in that safe, if you

        22   recall, the safe that was recovered under Mr. Haufler's stairs,

        23   and those were notes about an individual named George

        24   McLaughlin in Mr. Bulger's handwriting.        And again that says it

        25   all.     It's like he left his license in that safe.      And those
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         1   notes and handwriting have been identified by both Mr. Weeks

         2   and Mr. Flemmi.

         3             Now, the Judge is going to tell you that there are two

         4   kinds of possession, actual possession and constructive

         5   possession.   Mr. Bulger does not actually possess these guns.

         6   They're hidden in Mr. Haufler's basement.        But just like for

         7   those of you who drove your car here today and your car may be

         8   sitting three or four blocks away, it's still your car.           You

         9   constructively possess that car.       You own that car.     That car

12:24   10   is under your dominion and control.       That's another type of

        11   possession.   It's constructive possession, and that's the kind

        12   of possession that Mr. Bulger had regarding these weapons.

        13             The crimes relating to the possession of these weapons

        14   make it illegal to possess firearms in furtherance of violent

        15   crimes, and the violent crimes in this case are the RICO

        16   counts, Counts 1 and Counts 2, which incorporate crimes of

        17   violence, murder, and extortion.       So it's illegal if you are

        18   engaged in a crime of violence to possess a firearm such as the

        19   firearms that are on the table in front of you.

12:25   20        Furthermore, it's illegal to possess a machine gun in

        21   furtherance of crimes of violence, and there are six machine

        22   guns on this table here in front of you.        And there are

        23   numerous weapons in each count.       Possession of only one is all

        24   you need to convict of that count.

        25             It's furthermore illegal to possess unregistered
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         1   machine guns, and this is Count 42.       You heard testimony from

         2   the ATF agent that he checked the National Firearms

         3   Registration and Transfer Record, and there are no registration

         4   forms for these machine guns on file for either Bulger, Flemmi,

         5   or Weeks, and he provided certifications of that fact.            Those

         6   are in evidence, Exhibits 1040, 1041, and 1042.

         7             So this kind of a weapon, a German-made machine gun,

         8   is illegal to possess.     It's most often possessed by military

         9   or law enforcement.     You heard the ATF agent.      It's very

12:26   10   difficult for a private individual to register and own this

        11   type of a weapon.    And none of these machine guns were

        12   registered with the federal government.        Again, possession of

        13   any one is sufficient for conviction.       Count 45, transfer and

        14   possession of machine guns, again, it's illegal to possess

        15   those machine guns or to transfer them to a third party.

        16             Now, two of these weapons, this MAC-10 pistol and this

        17   German-made machine gun, have obliterated serial numbers.            And

        18   you heard testimony from the ballistician from the State

        19   Police.   Not only did he testify to all these weapons, and

12:27   20   they're operable, but those two have obliterated serial

        21   numbers, and it's illegal to own a weapon with an obliterated

        22   serial number.    The weapons have to have been in interstate

        23   commerce, and you can see on the MAC-10 the manufacturer's

        24   information.   This is made in Atlanta, Georgia.        The German

        25   machine gun is obviously made in Germany.        So both of these
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         1   guns entered Massachusetts through interstate commerce.

         2             I'm almost finished.     I'm sorry I've taken so long.

         3             The last thing I want to talk to you about is

         4   consciousness of guilt.     The defendant ran away.      The Judge

         5   will tell you that you can use evidence of flight in

         6   determining whether or not the reason he ran away is because he

         7   knew he was guilty of the crimes charged in this indictment.

         8   But this is more than just a man who ran away.         If you take a

         9   look at the cash on this table, this is a man who lived in an

12:28   10   apartment with holes cut in the wall, holes cut in the wall

        11   that held $822,000 of cash, holes cut in the wall that held

        12   more than 30 weapons, most of which contained bullets, most of

        13   which were loaded.    This is a man who had identifications for

        14   half a dozen different people.      Clearly, this is a man who was

        15   hiding.   This is a man who knew he was under indictment.         This

        16   is a man who had a guilty conscience, and he hid in Santa

        17   Monica until he was arrested in 2011.

        18             Finally, ladies and gentlemen, the evidence in this

        19   case is overwhelming.     The government has proven beyond a

12:29   20   reasonable doubt that the defendant was one of the leaders of

        21   the most ruthless criminal organizations ever in Boston.          It

        22   wreaked havoc on this city for decades.        The defendant is

        23   personally responsible for much of the criminal activity

        24   committed by this group, including murder, extortion, money

        25   laundering, firearms offenses, and drug trafficking.          In his
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         1   capacity as the leader, he is legally responsible for it all.

         2   He's either a principal aider and abetter or a co-conspirator.

         3             I submit to you that after you've reviewed all the

         4   evidence in this case and deliberated, there's only one verdict

         5   that you can truly return, and that is a verdict of guilty on

         6   each and every count of the indictment.

         7             Thank you.

         8             THE COURT:    Jurors, as I said, we're going to take our

         9   lunch break now.    I believe lunch is upstairs for you.          We're

12:30   10   going to take about 50 minutes.       Okay, thank you.

        11             THE CLERK:    All rise.

        12             (Jury excused.)

        13             THE COURT:    Can I see counsel at sidebar.

        14   SIDEBAR CONFERENCE:

        15             THE COURT:    Counsel, I think it makes sense to start

        16   promptly at 1:20.    I'm just looking at the time.       Mr. Wyshak,

        17   you went a little long.     Are you still looking for rebuttal

        18   time?

        19             MR. WYSHAK:    Yes.

12:36   20             MR. CARNEY:    I didn't hear, your Honor.

        21             THE COURT:    I said, are you still looking for rebuttal

        22   time?

        23             MR. CARNEY:    I'd like to be heard on that.

        24             THE COURT:    Okay, how much time?

        25             MR. WYSHAK:    Well, I wouldn't ask for any more than I
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         1   originally asked for, which was half an hour, but I'll take

         2   what I can get.

         3              THE COURT:    Okay.

         4              MR. WYSHAK:    I mean, I apologize, your Honor, but

         5   there is so much in this case, and almost each racketeering act

         6   is a separate crime unto itself.       I did my best to streamline

         7   it, but I had worried that I didn't have enough time from my

         8   original estimate.      But if I could get at least 15 to 20

         9   minutes on rebuttal, I can live with that.

12:36   10              THE COURT:    Mr. Carney, did you want to be heard?

        11              MR. CARNEY:    Yes, your Honor.

        12              THE COURT:    Okay, I'll hear you.

        13              MR. CARNEY:    I think the Court should deny the

        14   request.   You set rules that we were obligated to follow.

        15   Mr. Wyshak has now gone over three hours and 15 minutes that he

        16   asked for.   This works a very specific prejudice to Mr. Brennan

        17   and me because we took the time your Honor allotted seriously,

        18   and we are not going to go over our allotted amount of time

        19   because it's going to fit in the time you told us we had.          It's

12:36   20   unfair to let the prosecutor use the entire amount of time in

        21   his initial closing argument because we at this point can't

        22   fill the extra time.     So it's no remedy for you to say, okay,

        23   we can go over the amount of time as much as he did.          You set

        24   the rules.   The rules are supposed to be followed.         You were

        25   the most generous judge in 35 years that I have ever appeared
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         1   before in terms of giving the amount of time, but the defense

         2   took you seriously when you said the amount of time, and we are

         3   going to be within it.     We will be prejudiced by giving the

         4   prosecutor substantially more than that, and that's why I

         5   submit he has forfeited his opportunity for rebuttal, and you

         6   should deny the request.     It's just as tough a case for us as

         7   it is for him.

         8               MR. KELLY:   There are 32 counts in this indictment.

         9   There are 33 racketeering acts.       It's the government's burden

12:36   10   of proof.    Mr. Wyshak moved very quickly through 20 murders,

        11   eight extortions, multiple weapons counts, and has barely even

        12   been able to address the law.      So they're not going to go over

        13   three hours on their closing.      We are simply asking for what is

        14   allowed in the rules, rebuttal time.       He's not asking for a

        15   full half hour.    He can do it in 20 minutes.       The Court should

        16   allow it.    The Court has broad discretion in allowing the

        17   questioning, the format.     And if the defense wants to talk

        18   about rules, maybe we should bring up the rules that have been

        19   repeatedly violated by the defense with respect to the press,

12:36   20   with respect to these exhibits that they put --

        21               THE COURT:   Okay, Mr. Kelly, Mr. Kelly, I get the

        22   point.   Counsel, I understand the points on both sides.          I

        23   think there is a lot of ground to cover.        I'm going to give you

        24   15 minutes rebuttal.

        25               I understand your position, Mr. Carney.      If you want
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         1   to have the extra 15 minutes, I'll give you that on top of what

         2   I've otherwise given you.      Your objection is preserved for the

         3   record.    I do think it's within my discretion.       I do think

         4   there is a lot of ground to cover.       I think Mr. Wyshak

         5   expressed concern about fitting into the amount of time that I

         6   initially said, and that's my ruling.       Thank you.    And again,

         7   Counsel, I want to start promptly at 1:20.        Okay, thank you.

         8              (End of sidebar conference.)

         9              (Noon Recess, 12:36 p.m..)

01:23   10              (Jury entered the courtroom.)

        11              THE COURT:   Jurors, we'll now have the defense

        12   closing.    Mr. Brennan will begin.

        13              MR. BRENNAN:   About an hour ago, Mr. Wyshak was

        14   telling you about the fact that some of the most dangerous

        15   murderers in the history of Boston were walking the streets.

        16   John Martorano admitted to killing at least 20 people, shooting

        17   most of them in the back of the head.       Kevin Weeks, Pat Nee,

        18   James Martorano.    He talked about how vicious and violent they

        19   were on the streets of Boston.      And you have to sit there and

01:24   20   ask yourself:    Why are they still walking the streets?          If

        21   they're so vicious and violent and our government knows about

        22   it, why are they out there right now?

        23              When you go home and decide to go shopping and go to

        24   Stop & Shop and get something to eat, you have to worry about

        25   turning around and having these men in the aisle next to you.
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         1   When you go to the schools where your children or grandchildren

         2   may be, you have to wonder if they're in the school yard with

         3   their grandchildren.      Why is it that the federal government,

         4   knowing how violent and brutal these men are, why is it they're

         5   still out there today?

         6             You heard the government give you their version of

         7   what happened, and what they told you is that John Martorano

         8   shot Mr. Milano, with Howie Winter.        They both shot him and

         9   killed him.     Howie Winter and John Martorano shot and killed

01:25   10   Mr. Plummer.    They shot and killed Mr. O'Toole.       They shot and

        11   killed so many of these men, Howie Winter and John Martorano,

        12   and John Martorano they send back on the street?         What about

        13   Howie Winter?    Was there ever a grand jury?      Was there ever an

        14   indictment?     Why?

        15             And you talk and you hear about this violence and the

        16   carnage in their wake, and we look to our federal government to

        17   protect us as citizens.       What have they done?    Have they taken

        18   these men off the streets?       And you've got to ask yourself:

        19   What's going on?       Why didn't they?   Is this something we just

01:26   20   don't know as citizens?       Is there something we're not entitled

        21   to know about?     Because when you hear this as a citizen, is

        22   there something in your stomach that just resonates, saying

        23   There's got to be more, there's got to be more to the story.

        24   There's victim after victim and family after family that have

        25   dealt with death and pain and suffering at these men's hands.
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         1   Why didn't our government do anything about it?

         2             You know, the prosecution stands before you and they

         3   almost brag that they took down this organized crime

         4   organization.    They fought so hard and they ripped it down by

         5   its structure.     Then why did they let almost everybody go?

         6             When you think about justice, ladies and gentlemen,

         7   there has to be some fundamental fairness.        Justice means

         8   fairness for everybody, and justice means that if somebody is

         9   accountable, if somebody is responsible, they need to be held

01:27   10   responsible for what they did.      There has to be an accounting.

        11   At the end of the day, there has to be an accounting that

        12   everybody who was responsible is held responsible for what they

        13   did.   It doesn't matter if they're part of a gang, it doesn't

        14   matter if they're independent, it doesn't matter if they're

        15   part of the government.     If there's an accounting, justice, the

        16   truth, the truth applies equally for everybody.

        17             Did you get the truth in this case?        Did you hear

        18   justice in this case?     Is there fairness in this case?

        19             To understand what the government's motives are, we

01:28   20   have to go back.    We have to go back to the 1960s.        So what I'm

        21   going to do is I'm going to take us back to the 1960s, and I'm

        22   going to talk to you about two things:        I want to talk to you

        23   about back in the 1960s about our federal government's war

        24   against the Mafia, the national priority, because you have to

        25   understand a little bit about that to understand why we're here
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         1   today; and after we talk a little bit about the history, we're

         2   going to talk about today, what the government has done to

         3   cover up their liability and their responsibility for what they

         4   have done.    And after I get a chance to talk to you about those

         5   two things, my co-counsel, Jay Carney, is going to talk to you

         6   about the credibility of the witnesses, the unconscionable

         7   deal-making that the federal government has made with these

         8   people, and different parts of the crimes that are charged

         9   against Mr. Bulger.

01:29   10               So let's go back to the 1960s.     In the 1960s, you

        11   heard through the evidence, that our government wanted to wage

        12   war on the Mafia.    It was the national priority.       In fact, it

        13   was an obsession.    It's all our government cared about in law

        14   enforcement, get the Mafia at all costs.        And you know what

        15   happens when you do something at all costs?        People start to

        16   think the ends justify the means.

        17               Remember I asked John Morris, Do the ends justify the

        18   means?   And remember what he told me?       Not always.    Not always.

        19               Never, never do the end justify the means when we're

01:29   20   talking about law enforcement.      Never.    But that's not the way

        21   they think.    It's not the way they thought.      It's not how they

        22   operated.

        23               See, in the 1960s, everybody wanted to be a piece of

        24   the national priority.     The crown jewel, they called it.

        25   That's how important it was, it was a crown jewel to them, an
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         1   object.    They didn't think about the suffering and the carnage.

         2   They were gangsters killing gangsters, they wanted their crown

         3   jewel.    And as this led through the '60s and the '70s, what did

         4   they do?    They engaged in partnerships with known criminals.

         5   They engaged in partnerships with organized crime figures,

         6   murderers.    They did it intentionally.      They did it knowingly.

         7   They engaged in relationships so they could achieve their

         8   objective at whatever cost it took.       That's what our government

         9   did.

01:30   10               Stephen Flemmi is just one, but it's a shining

        11   example.    Look at Stephen Flemmi's relationship with the

        12   federal government in the 1960s.       Informant, Top Echelon

        13   Informant, Special Agent Rico, Special Agent Condon, look what

        14   they did.    He was at war with other criminals.       He was at war

        15   with other gangsters, and when he needed help, all he needed to

        16   do was draw on his friends, the federal government.          Special

        17   Agent Condon, Special Agent Rico, they'd tell him where

        18   "Punchy" McLaughlin was.     "Wimpy" Bennett.     You want to murder

        19   him, I'll give you the bus stop he's going to be at.          They're

01:31   20   in a partnership with him.      And when they needed his help, they

        21   needed some information, they needed a gun, they needed their

        22   car fixed, they'd call on their friend.        This is the type of

        23   relationships that they had, that they accepted, but none of us

        24   knew that.    None of you knew that.     But that's what they did.

        25               And then Stephen Flemmi blows up a lawyer.       Blows off
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         1   his leg, kills his boss "Wimpy" Bennett.        He's charged with

         2   murder, he's charged with attempted murder of a lawyer.           If

         3   they put him in jail and they prosecute him, guess what

         4   happens?   The next 20 years, those people don't die.

         5              The government has the power to protect you and me and

         6   us and them.   They didn't put him in jail.       They didn't

         7   prosecute him, they sent him away.       They sent him to Canada to

         8   hide.   And on the way to Canada, he stopped in California,

         9   stopped in Nevada, killed his colleague Poulos, for which there

01:32   10   was a warrant that he never answered to, and he sat up in

        11   Canada for years.    Did anybody go and get him?       Did anybody

        12   care?

        13              They waited, and then he gets a call from Special

        14   Agent Rico, Come home.     Did he want to come home?      He didn't

        15   even want to come home, he said.       He felt like it was a threat.

        16   And why did he have to come home in 1974?        Because the DOJ,

        17   Department of Justice, was at war, just like Flemmi was in a

        18   war, and they were in a war with the Mafia and they needed one

        19   of their soldiers.    So they call him up, they tell him to come

01:33   20   home.   They paved the way.     The indictments go away, there's no

        21   charges in Nevada, Special Agent Condon gets rid of the

        22   warrant.   How simple.

        23              And as this continues, then we have a transition.           As

        24   agents get older and Mr. Rico and Mr. Condon start to move on,

        25   who comes in to take their place?       Special Agent Connolly,
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         1   Special Agent Morris.     They hand off the baton, and it's

         2   business as usual.    It's not a rogue agent, it's systemic.

         3   It's what they do.

         4             And Stephen Flemmi starts to work with Special Agent

         5   Connolly, and the same routine continues.

         6             When we near the late 1970s, we know the temperament

         7   of the Department of Justice.      We know the Strike Force, headed

         8   by Jeremiah O'Sullivan, wants the national attention.             They

         9   want everybody to look at Boston and say, This is the

01:34   10   prototype.   These guys are the best at what they do.         They want

        11   the accolades, they want the glory, and they're willing to make

        12   deals.   They're willing to protect criminals, murderers,

        13   because of pride, because when law enforcement puts pride in

        14   the equation and self-importance in the equation, something

        15   about it gets distorted, something gets perverted, and

        16   something gets corrupt.

        17             And in the late 1970s, this wasn't about the

        18   community, it was about their quest to get the Mafia.             They

        19   were going to bug Prince Street.       They were going to be the

01:34   20   first in the nation to put a bug in the headquarters of a Mafia

        21   headquarters.    They were going to be the first in the nation to

        22   tape a swearing-in ceremony.      How self-important.     How proud

        23   were these people.

        24             And so what do they do?      When there's indictments,

        25   potentially, against James Bulger and Stephen Flemmi, do they
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         1   charge them?    No.   Jeremiah O'Sullivan tells them, Cut them

         2   loose.

         3             When they put a bug in 1980 into the Lancaster Street,

         4   the State Police who had worked so hard to get information on

         5   criminals, Jeremiah O'Sullivan, who funds that bug, what

         6   happens when it gets compromised?       Do they do an investigation?

         7   Do they care?    Or did they protect their assets?

         8             You'll notice a pattern, a routine.        It is so common

         9   and so consistent, it compels you, it compels you to the

01:35   10   conclusion that this is the way they operated.

        11             Any time there was a danger to Mr. Flemmi, he was

        12   protected.   Any time there was a danger or an investigation, it

        13   was squashed.    And that Strike Force, Jeremiah O'Sullivan, how

        14   many times did he do a grand jury investigation into a

        15   compromised investigation?      A bug gets compromised.      Wouldn't

        16   you want to know why it got compromised?        Wouldn't you want to

        17   have an investigation, grand jury, call witnesses, get to the

        18   bottom of it?    But it never happened.     It never happens.     It

        19   continues, and as it continues, people get hurt, people get

01:36   20   shot, people get killed, families suffer, and it goes on and on

        21   and on.

        22             Now, Special Agent Rico and Special Agent Flemmi

        23   (sic.), they didn't invent the Top Echelon Informant Program,

        24   they didn't invent working with somebody like Stephen Flemmi.

        25   This comes from Hoover, this comes from Washington, this is
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         1   part of their heritage that they cannot escape.         It is part of

         2   their responsibility, and it is part of their moral obligation

         3   to recognize what happened then so we can explain what is

         4   happening now.

         5               So this prosecutor's office has spent two months in

         6   front of you trying to convince you that everything that

         7   happened is the result of John Connolly, a rogue agent.            That

         8   it was a rogue agent, one guy, one organized crime figure, and

         9   everything is because of them, ignoring everything we just

01:37   10   spoke about.    Is it a rogue agent, one person, or is it

        11   responsibility, is it that part of the ledger where the federal

        12   government has to line up and recognize their responsibility?

        13               You know, it could be me just sitting up here being a

        14   conspiracist theorist saying, the federal government.             But

        15   let's look at the second witness they called in this case,

        16   retired Colonel Foley.     Do you remember him?      It was a long

        17   time ago.    What did he say?    Did he say it was a rogue agent?

        18   Did he say it was John Connolly?       Did he ascribe to what this

        19   prosecution has been trying to sell you for two months, or did

01:38   20   he recognize maybe it was a little more than a rogue agent,

        21   maybe the federal government has some responsibility.

        22               (Pause.)

        23               Remember, I asked Trooper Foley, I asked him at the

        24   beginning of this case about his investigations.         Did he say

        25   John Connolly and a rogue agent?       He said, "The fed's stymied
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         1   our investigation of 'Whitey,' got us investigated on bogus

         2   claims, tried to push me off the case, got me banished to a

         3   distant barracks, phonied up charges against other members of

         4   the State Police, lied to reporters, misled Congress, drew in

         5   the President of the United States to save themselves, nearly

         6   got me and my investigators killed."

         7              Does that sound like a rogue agent?       Does that sound

         8   like one person and a criminal taking over the streets of

         9   Boston, or was this the Department of Justice pursuing their

01:39   10   agenda at all costs?     The ends justify the means.

        11              It wasn't just the FBI.     Think about the Strike Force,

        12   the prosecutorial branch that works directly for the Department

        13   of Justice, headed by Jeremiah O'Sullivan.        Lets him go in the

        14   race fix case, the bug at Lancaster goes down, and during that

        15   time, it's 1981, 1982, that is when Prince Street is being

        16   bugged.    James Bulger wasn't even part of the affidavit for the

        17   Prince Street wiretap.     John Morris, if you remember, put him

        18   in because he wanted to get credit for John Connolly.             There

        19   was no information he gave.      There was no information he could

01:40   20   provide.    He didn't even know the Italians.      He wasn't part of

        21   their network.    He's placed in the affidavit.       Why?   To help

        22   out other people in the federal government get their credit,

        23   but that affidavit is vitally important to the Department of

        24   Justice, it is the link to their crown jewel.         And when people

        25   would go talk to Mr. Fitzpatrick, was he attending to the
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         1   citizens' needs?    When Mr. Fitzpatrick went in and spoke to

         2   Mr. O'Sullivan, he left angry.      Okay.   The government's

         3   criticized Mr. Fitzpatrick.      How about Mr. Davis?     He went in

         4   many, many, many times to speak to Jeremiah O'Sullivan.           He

         5   left angry.    Is that a coincidence, or is there something at

         6   that top level where they don't want to hear about leaks, they

         7   don't want to hear about dissension, they want their

         8   affidavits, they want their prosecutions.        What's the priority?

         9              This continues on throughout the 1980s.       One example

01:41   10   that just rings with poignancy and sadness is that of

        11   Mr. Donahue and Mr. Halloran.      Federal agents knew that

        12   Mr. Halloran was in danger.      They knew.    They went to

        13   Mr. Fitzpatrick, who went to Jeremiah O'Sullivan, but they did

        14   nothing to protect him; whether he was a criminal, he was

        15   alleged to be a murderer, he was a citizen.        What did they do

        16   to protect him?    He went to the U.S. Attorney's Office, he went

        17   to William Weld.    They shunned him, and two days later,

        18   Mr. Halloran and Mr. Donahue were dead.

        19              At that point does the Strike Force, does the federal

01:42   20   government stop and say, Let's investigate, we have this

        21   information from Mr. Halloran, whether it's true or not, let's

        22   look into it, let's do a grand jury investigation, let's call

        23   witnesses.    Did they do that?

        24              John Morris gets information that they need to look

        25   into it.   He gives it to John Connolly to look into.
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         1   Washington comes in every year to do a review of what's going

         2   on in Boston.    Did you ever hear that there was one comment

         3   from Washington that something was awry, that there was an

         4   intervention needed?     Did you hear one comment from Washington

         5   that there was a responsibility?       Oh, and Mr. Fitzpatrick

         6   called Washington, what did they tell him?        Shut up.    And what

         7   happens?    Remember Mr. Cronin?    It's a very strict structure,

         8   you don't circumvent it.     What happens when you circumvent it?

         9   They'll crush you.    You saw what they did to Mr. Fitzpatrick.

01:43   10   Twenty-two years, he leaves three years before his pension.

        11   They bully him, they berate him, they crush him.         That's what

        12   happens if you're not with them, you're either with them or

        13   you're against them.

        14               And so fast-forward to 1995.     Stephen Flemmi, John

        15   Martorano, and a number of other people are indicted.             It's

        16   another RICO indictment.     It's criminal cases against these

        17   people, but then Stephen Flemmi does something.         He breaks that

        18   secret trust he had with the federal government, he exposes

        19   them.   He says, I had immunity.      And of course the federal

01:43   20   government doesn't want to hear that.       You couldn't have

        21   immunity.    There was no authority for immunity.       But you know

        22   what, he certainly was protected for all those years.             Never

        23   charged with a crime, never charged with a misdemeanor, except

        24   for the indictment that they send him up to Canada to wait out?

        25   Sounds like he had immunity to me.       Sounds like he had
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         1   protection.

         2               And so when he says that, there is a rush by the

         3   Department of Justice to silence Stephen Flemmi.         And what do

         4   they do?    They start to worry, they start to get concerned, and

         5   they line up their soldiers.      And here's John Morris, he's a

         6   great soldier, isn't he?     He's never going to say one word

         7   about his federal government.      He's on their side, give him

         8   immunity.    John Connolly, what does he do?      He makes the

         9   mistake, he points at the federal government and says, You

01:44   10   knew, you knew what was going on.       Now, that doesn't absolve

        11   John Connolly of what he did, it doesn't make him any less

        12   criminal for the money he took and the information he passed

        13   on, but he's not with them, he's going to get crushed, and

        14   that's what they do.

        15               And it doesn't always have to be in writing.          You saw

        16   through witness after witness in this case, if you're on their

        17   side, it's a wink, it's a nod, and they're on the same team.

        18   And if you're not on that team, watch out.

        19               So at that point, the federal government, after

01:45   20   recognizing the fact that this doesn't just stop and end with

        21   John Connolly, do they line up and apologize to the victims'

        22   families and say, you know, We're sorry, this is what we did,

        23   we had this unholy alliance with known criminals, there should

        24   be compensation?    We can recognize what we did wrong and maybe

        25   fix it?    Maybe some people who were involved who work for the
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         1   federal government should be charged as well.         Maybe a couple

         2   of pensions should be tossed out the window.         Maybe there

         3   should be a ledger where everybody accountable is held

         4   accountable.   Do they do that, or do they circle the wagons,

         5   line up their troops, and point their radar at John Connolly?

         6   What an easy scapegoat, because he's dirty.        How hard is it to

         7   go after John Connolly?

         8              And so the federal government creates this impression

         9   to you of a rogue agent that we know is not true.         They create

01:46   10   this impression that they don't have these relationships with

        11   known criminals that we know is untrue.        And they also create

        12   this idea about James Bulger being an informant.         And most

        13   people are thinking, What does that have to do with this case?

        14   Nothing.   And although Mr. Wyshak will say continually, It has

        15   nothing to do with this case, he certainly spent a lot of time

        16   on it, even in his closing, over and over and over again.           Was

        17   it to try to embarrass James Bulger or was it something else?

        18   Was it the need to impress the public that he was an informant,

        19   even though the files don't show he was an informant, even

01:47   20   though we know John Connolly was stealing information, even

        21   though we saw information was taken from other sources and put

        22   in a file marked for him, why is it so important?         Why?

        23   Because if James Bulger was simply paying John Connolly and

        24   James Bulger was paying Gianturco and Newton and Morris and

        25   everybody else in the FBI and this was simply an organized
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         1   crime figure paying off law enforcement and everybody knew it

         2   outside federal government, the State Police knew it, the local

         3   police knew it, you know it now, if he's not an informant,

         4   think about the liability.

         5             You got Washington coming down looking at these files

         6   every year, saying, Oh, that's great, James Bulger, check, let

         7   him do what he wants.     You have prosecutors signing off on

         8   affidavits.    Think about the liability.      Think about the

         9   corporate responsibility.      It's much easier to just say he's an

01:48   10   informant.    It defies the information that they have, but it's

        11   so important to them.     If it wasn't so important, they wouldn't

        12   spend days trying to convince you, they wouldn't have spent

        13   time arguing how important it was, but it is, because it

        14   protects them.

        15             When you look at that file and read it, there's no

        16   information that led to convictions.       There's no information

        17   that led to taking down the Mafia.       That's why we have all

        18   these gymnastics when we ask different witnesses -- I asked

        19   John Morris, Did you ever meet him and he gave you information?

01:48   20   I only met him socially.     Purely social.     Why would he say

        21   that?   And then he comes in here, and I ask him about his prior

        22   testimony, Was it purely social?       He never gave you

        23   information?   And he reads his transcript and says, That's what

        24   I thought back at that time, when his memory was better.           But

        25   when Mr. Wyshak asks him a question, it was, Oh, he gave me
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         1   information, substantive information.       And then I ask him,

         2   Well, where is it in his file?      And they pull out five pieces

         3   of paper, and he says, That must have been phone calls.            Not

         4   one of them says "phone call" on it, not one.         So why is it now

         5   he's getting pone calls, because he can't account for his

         6   earlier statements in front of Judge Wolf in 1998?          Did he

         7   perjure himself back then, or did he perjure himself now?            At

         8   the end of the day, you know whatever it is, you're not getting

         9   the truth.

01:49   10             So what they have left is they have Stephen Flemmi to

        11   come in and say, Of course, of course he was.         Well, how

        12   convenient for Mr. Flemmi to say that now.        How easy for him.

        13   How important.    Don't you think he's willing to say whatever

        14   Mr. Wyshak wants him to say?      He spent decades being a rat.           I

        15   know he doesn't like that word, "quid pro quo" is the word we

        16   are supposed to use with him, but he was a rat, he was an

        17   informant.

        18             And his closest friends, Winter, Martorano, Salemme,

        19   none of them knew, but, obviously, James Bulger knew.             Think

01:50   20   about these grand statements:      Every time I met with them,

        21   James Bulger was with me.      That's rhetoric.    Think about that

        22   file.   Think about why it's so important and why, if it's not

        23   an issue, they keep bringing it up.       Because they know, and you

        24   know.

        25             So they come to this trial, and although it's not an
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         1   important issue, it's the most important issue to them.           So

         2   what do they do?    Do they bring in the FBI?      Do they bring in

         3   the people who worked in that office who could tell you what

         4   they saw?    Do they bring in people that could tell you what

         5   actually happened, or are they afraid to call FBI agents to the

         6   stand unless they have immunity?

         7               So what do they do?    James Marra, back row, comes

         8   strutting in from the IG's office.       Never worked in the FBI,

         9   doesn't know how the files were, wasn't there in the '70s and

01:51   10   '80s, but he's going to tell you how it really went down.              He's

        11   going to be your guide, Mr. Marra.

        12               Now, you probably realize me and Mr. Marra were not

        13   going to get off to a good start when I simply asked him, Who

        14   do you work for?    Who's giving you direction?       Do you remember

        15   those questions?    What law enforcement official cannot tell the

        16   citizens who they work for?       Who can't tell you who was giving

        17   them direction?    It's not a trick question.      Who's your boss?

        18   Some guy in Washington.     We danced around for days, me and

        19   Mr. Marra.    Why couldn't he tell you who he worked for, why he

01:51   20   was here, or was he here just to play a puppet for the

        21   government?    They read, remember, page after page, Mr. Bulger

        22   said, Mr. Bulger said, Mr. Bulger said.        He didn't hear

        23   Mr. Bulger say anything, but he was a good reader, wasn't he?

        24   He played that part well for Mr. Wyshak.        Mr. Bulger said.

        25   Mr. Bulger didn't say.     Never said.    So why do they have
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         1   someone high ranking from the IG's office here in the case to

         2   tell you something that they know nothing about?

         3              I asked him, Have you ever prosecuted somebody who was

         4   a federal agent who no longer is a federal agent?         Well, it's

         5   all a matter of time and -- we danced around.

         6              How many people did you do before Mr. Connolly?        Um,

         7   none.   How many after Mr. Connolly?      Mmm, none.    So that would

         8   be one, Mr. Connolly.     You see how badly he wanted

         9   Mr. Connolly?    Why not just answer the question?       What is there

01:52   10   to hide?   Why is the secret still a secret?       It's 2013.

        11              So when I spoke to Mr. Marra, he kept on repeating his

        12   thorough review.    Why didn't they bring Mr. Cronin in here for

        13   you?    Why didn't they bring in Mr. Crawford?       Why didn't they

        14   bring in Desi, who had the safe?       Remember, they mocked me for

        15   making up the safe.     Mr. Brennan is making that up.       Do you

        16   remember that part?     Well, we found out what was inside that

        17   safe, didn't we?    That Mr. Bulger should be a target, destroy

        18   it before we all get fired.      Is that what you expect in a

        19   presentation from your government?       Is that the honesty as a

01:53   20   citizen that you deserve, that they deserve?         We could have

        21   saved three days if they didn't call James Marra.         His most

        22   important role was putting his arm around John Morris and

        23   walking him out of the courtroom at the end of the day and

        24   making sure he got a ride the next day.        He's here every day.

        25   What's he doing?    He's watching.     Every day he's watching from
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         1   the IG's office.

         2              When you think about the government's evidence in this

         3   case, you need to be certain that you got objective evidence.

         4   Whether it helps or hurts the government's case, the obligation

         5   is that it needs to be objective, honest.        Do you feel like you

         6   got honest evidence in this case?       I stood up there for days

         7   and hours asking question after question, and I don't think

         8   most of them were trick questions.       I was trying to ask simple

         9   questions, and I couldn't get an answer.        Witness after

01:54   10   witness.   It was a game.

        11              Remember I brought out that John Morris put the bomb

        12   under Mr. Miani's car, and your mouth opened up.         You couldn't

        13   believe that a federal agent would put a bomb under a citizen's

        14   car and not tell him that it was a fake bomb.

        15              Remember John Martorano, and he started telling us

        16   that Judas was telling him to kill people, and how you shook

        17   your head?   It was like it was yesterday.       And then Stephen

        18   Flemmi, trying to say it was consent, and I could hear the

        19   gasps.

01:55   20              Shouldn't the person the federal government, who is

        21   proposing these witnesses, if they think that something is

        22   askew, something is wrong, to stop that witness?         Isn't it

        23   their job if somebody lies under oath to charge them with

        24   perjury or not use that evidence unless it helps them?            What is

        25   the obligation of your federal government when they see this
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         1   type of evidence and they put it before you and let it happen

         2   witness after witness?

         3               We spent days and hours playing this game.       Why?

         4   They're federal agents, they're former federal agents, they got

         5   deals, they're bought and paid for.       How hard is it to say,

         6   Just answer the question?       But they didn't.

         7               And one of the most ironic things is in their

         8   presentation to you, they employed John Morris to come before

         9   you as his final assignment, John Morris, the same John Morris

01:56   10   who drank so much he had the nickname "Vino" in the underworld,

        11   and funny enough, he now works at a wine factory.         The same

        12   John Morris who lied his way through his job, his career, his

        13   personal life.    He lied to his bosses, he lied to his

        14   colleagues, he lied to his wife, he lied to citizens.             He's a

        15   habitual liar, and the government presents him as a guide for

        16   you to follow.    John Morris.

        17               They know you know what John Morris is.      He's a

        18   criminal.    And he gets up on the stand and they try to dress

        19   him down and make him look softer and meek.

01:57   20               What does he say?    He was compromised.    Like he was

        21   Secret Squirrel, I was compromised.       He was corrupt.     He wasn't

        22   compromised, he was corrupt.       He was as or more corrupt than

        23   John Connolly.    He was with the whole lot of them.        But he's

        24   with them, so he gets immunity.       And you know what, he gets a

        25   pension that we're paying for because he's with them.             He was a
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         1   soldier for the FBI.     Make no mistake about it, he was a

         2   soldier.

         3               Miani, Barrett, Halloran, Donahue.      He knew what

         4   Halloran was saying.     He didn't need a second opinion from John

         5   Connolly.    He sent the word.     He signed the death warrant when

         6   he sent that word, and he knew it.       That's why he didn't put it

         7   in writing.    That's why he denies it later, that's why he tried

         8   to changed it, and he knew what he was doing.         And any

         9   reasonable person who looks at it would know what he did, but

01:58   10   he gets his pension and he gets immunity because he's with

        11   them.

        12               Talk about partners.    Every time they want to blame

        13   something on James Bulger to clean the slate, whether there's

        14   evidence or not, any time they want to blame something on him,

        15   there's a problem with the evidence, well, he's Stephen

        16   Flemmi's partner.

        17               Well, John Morris was John Connolly's partner.         So by

        18   that rationale, why is he getting immunity?        Why is he getting

        19   a pension?    Why is he walking in through the front door and

01:58   20   being walked out by Mr. Marra through the same front door when

        21   he's done?    Did you get honesty?     Did you get integrity?      Did

        22   you get the truth?

        23               When you heard the witnesses -- and Attorney Carney is

        24   going to speak about the witnesses in detail -- but let me just

        25   point out a couple of things that stood out to me.
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         1              You had Stephen Flemmi tell you the small details

         2   don't matter.    The small details do matter.      Anybody can make

         3   up a story and say somebody did something or it's somebody's

         4   fault or somebody did some type of act.        It is the small

         5   details that are hard to remember when you're lying.          The small

         6   details will tell us if somebody was there or if they saw it or

         7   if it's true, because when you're making up a lie and you get

         8   questioned on it over and over again, you can't remember lies,

         9   but the truth always stays the same, because there's only one

01:59   10   truth.    You remember it.   To get up to say to you, Well, the

        11   big things I remember, the important things, yeah, James

        12   Bulger's guilty, that's all true, but the little details don't

        13   matter.   You went to the Red Sox game -- Dustin Pedroia wasn't

        14   telling anybody to lie.      Think about it, the details do matter.

        15   That's how we judge when someone is lying.        That's why when we

        16   question, we ask about those little details.

        17              Mr. Flemmi, was it hands or was it a rope?        That's

        18   something you would remember.      Did you bring her there or did

        19   you meet her there?     Was she alive upstairs or was she alive

02:00   20   downstairs?     Details.   They tell you something about somebody's

        21   truthfulness, you either remember it because you were there, or

        22   you made it up.

        23              And that's not just details regarding Stephen Flemmi.

        24   How about John Martorano?      Remember he killed Mr. Smith and

        25   that little girl and that boy, 17 years old, Dickson and
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         1   Barrett.    Oh, he admitted it, that's enough.       It's not enough.

         2   Pride, ego, reputation, trying to impress you.         He shot them in

         3   the head.    They didn't have hoods on.     He didn't want to leave

         4   witnesses.    He didn't care if there was a woman, he didn't care

         5   if there was a kid.     But they put him up on the stand like he's

         6   some goodfella who's reformed himself now that he's back on the

         7   street with their ticket.      He lied to you.

         8               When you think about this case and the evidence in

         9   this case, there is this pounding resonance that doesn't stop,

02:01   10   and that is, the accountability of the federal government.

        11   There is that ledger there that is not going to go away, no

        12   matter what they say.     There's that pounding, that resonating

        13   truth about what their role is and their responsibility is.

        14   Were they afraid of bad public relations?        Were they afraid

        15   about policing themselves, charging themselves with crimes?

        16   What were they so afraid of?      Is that what led to these absurd

        17   deals with these people that we talked about who are now

        18   walking our streets?     Were they so desperate?

        19               They certainly didn't like John Martorano, they didn't

02:02   20   like Kevin Weeks.    Did they give them deals because they liked

        21   those people or did they give them deals to protect something

        22   more important to them, themselves?       They never sat down with

        23   these families and these victims and said, We did something

        24   wrong, we're going to stand up.       We point fingers at everybody

        25   else, we talk about accountability, now it's our turn.            What
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         1   did they do?    They sent a team of lawyers down from the Torts

         2   Branch of the Department of Justice so Mr. Fitzpatrick is

         3   sitting there being sued and Mr. Ring and Mr. Connolly, the

         4   United States government was being sued as well.         Why?      Did

         5   they look at those families out there and say, You deserve

         6   something for what we did to you, for what we took from you,

         7   you deserve something, or did they fight and did they employ

         8   their soldiers and their troops and their John Martoranos and

         9   their Stephen Flemmis, bought and paid for?        What did they do?

02:03   10             Is that okay with you as a citizen, is that something

        11   you accept, or do you have something in your stomach that says

        12   it's not right, something more should have been done.             At what

        13   point as citizens do we say, You know what, there has to be

        14   accountability.

        15             We talk about our government, and our responsibility

        16   and our government, and we think about our government as this

        17   institution.    We think about it as this power, this faceless

        18   organization.    Our government is not them, our government is

        19   us.   Those families, the Donahues, Davises, the Barretts,

02:04   20   that's our government.     Each and every one of you, you're our

        21   government.     It's not their government, it's our government.

        22   They're just the custodians of our power.        That's it.       No more.

        23   And look how they've abused our power, as custodians.             Have

        24   they honored our government?

        25             There comes a time, and it's rare, but there comes a
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         1   time when we can look at our government and we can make a

         2   difference.   Each and every one of you is our government.         It's

         3   like every day we have David versus Goliath.         The government

         4   does something we don't like, they're not accountable, we have

         5   to push through the next day.      Well, you know what, each and

         6   every one of you is Goliath because you're our government and

         7   you have a voice.

         8             When you look at this case and the way the government

         9   presented it, you can let them know, This isn't your

02:05   10   government, this is my government, this is our government and

        11   there's going to be accountability, but there has to be

        12   accountability for each and every person, and this government

        13   is equally accountable.     You tell them that.

        14             THE COURT:    Mr. Carney.

        15             MR. CARNEY:    Was your Honor going to take a break at

        16   this point?

        17             THE COURT:    Counsel, does it make sense to do it in a

        18   little time, or would you prefer it now, counsel?

        19             MR. CARNEY:    I think a break would be appropriate.

02:05   20             THE COURT:    Okay.   We'll take our 10 minutes now,

        21   jurors.

        22             (Recess taken.)

        23             (Jury entered the courtroom.)

        24             THE COURT:    Mr. Carney.

        25             MR. CARNEY:    Good afternoon.
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         1               THE JURY:   Good afternoon.

         2               MR. CARNEY:   I'd first like to thank you for the

         3   sacrifices that each of you have made individually to serve on

         4   this jury.    You've given up time from work, from family, from

         5   pastimes.    It's interfered with your individual lives in ways

         6   that we can only speculate about.       But James Bulger and I and

         7   Hank Brennan and everyone sincerely appreciates all the time

         8   and sacrifice you've made.

         9               Your job is not going to be easy, but I will do my

02:17   10   best to try to maybe make some suggestions that you might find

        11   helpful in your deliberations.

        12               I'm usually nervous doing any closing argument, but I

        13   have to be honest, today I'm particularly nervous, not because

        14   it's a big case or a lot of people are watching, but for the

        15   first time in my 35 years as a lawyer, my mother is in court

        16   watching me, and I'm going to try to not make that affect me

        17   too much.

        18               I also want to thank you, though, for the oath you

        19   took.   Remember at the beginning of the trial when you were

02:18   20   selected, all of you stood and you were asked to take an oath.

        21   You raised your hand and said you would take this oath.           And

        22   that's another reason why we are so grateful to you for, is

        23   serving as jurors, because you took an oath, and we believe

        24   that you will honor that oath by everything you do.          You took

        25   an oath that meant you would listen to the testimony, you would
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         1   judge the credibility of witnesses, and at the end, you would

         2   have the strength and integrity, each and every one of you, all

         3   12 who ultimately sit on this deliberation, you took that oath

         4   that you would have the strength and the courage that when the

         5   government does not prove a charge beyond a reasonable doubt,

         6   you will return a verdict saying so, by saying the government

         7   has not proven it to my satisfaction or our satisfaction beyond

         8   a reasonable doubt.     And that oath you take is so, so critical

         9   when you're in your deliberations, because that oath you took

02:20   10   can give you the strength and power to make a decision that is

        11   your decision, not the public's decision, not the media's

        12   decision, not either party's decision, your decision, your

        13   personal decision based on the evidence.

        14             Now, the prosecutor, Mr. Wyshak, talked about the fact

        15   that there are three witnesses to the murders:         Martorano,

        16   Weeks, Flemmi.    And clearly, those are the three most important

        17   witnesses in this case on those charges.        They were described

        18   as despicable, evil, terrifying, and that you probably won't

        19   like them because those are their character traits, and I think

02:21   20   that's correct.

        21             It was also said that you probably won't like the

        22   deals that the government gave so that two of these three who

        23   the government says should be serving life sentences, they

        24   walked in the front door of this courthouse rather than being

        25   locked up where they should be.       And he was right when he said
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         1   you probably won't like that.      But then the prosecutor went to

         2   describing the crimes that occurred, and the overwhelming bulk

         3   of his closing argument was just going through crime after

         4   crime after crime after crime and saying what these witnesses

         5   said with an assumption that they're telling the truth, and

         6   just going through the crimes, just because they said something

         7   in court, it must be truthful.

         8               Well, that skips what I submit to you is the critical

         9   issue in this case, whether you can believe Martorano, Weeks,

02:22   10   and Flemmi beyond a reasonable doubt.       Because if you cannot

        11   say in your deliberations that I personally can believe

        12   Martorano beyond a reasonable doubt, and I personally can

        13   believe Weeks beyond a reasonable doubt, and I personally can

        14   believe Flemmi beyond a reasonable doubt, then the government

        15   cannot prove its case about the alleged murders because it

        16   cannot make its case without you believing those witnesses.

        17               Now, how do we judge a person's credibility?          How do

        18   we determine if someone is telling the truth?         Well, I'm going

        19   to suggest to you that there are five things we assess when

02:23   20   we're trying to determine if someone is being truthful with us.

        21   And this is something we do every single day when we interact

        22   with people, we make an assessment about whether the person is

        23   truthful.

        24               Now, you can certainly come up with additional things

        25   that guide you.    I don't have any monopoly on wisdom, but these
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         1   are five things that I suggest that you consider when you're

         2   determining if someone is worthy of your trust, if you can say,

         3   I trust this person, I believe this person.

         4             Number one, what is the individual's moral character

         5   and values?    That's pretty important.     Is it a person that has

         6   high standards for telling the truth, for how he conducts his

         7   life, for how he interacts with people, with what he has done

         8   in his life, how does that reflect on a person's moral

         9   character and values?     Call me old-fashioned, but that means

02:24   10   something.

        11             Secondly, what inducement has been given to the person

        12   to say something?    For example, what motivates someone to say

        13   something?    Because a person has a particular reason for saying

        14   something, I'm going to take that into account when I'm trying

        15   to assess the person's credibility.

        16             Number three, is there independent corroboration about

        17   what the person says?     And I don't mean corroboration from

        18   someone else who has a deal, someone else who is able to

        19   corroborate the testimony, someone else who is in a similar

02:25   20   situation, but I'm talking about truly independent

        21   corroboration.

        22             Number four, is the person being given a benefit that

        23   is so great that it would lead this person to lie?

        24             And number four (sic.), after you assess all of these

        25   factors, can you say, I can trust that this person is telling
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         1   me the truth?

         2             Now, I mention that we do this every day.         Some of the

         3   examples are as simple as watching TV.        Maybe there's an

         4   advertisement on TV, maybe there's someone who for one season

         5   played a minor role on a TV show, the Brady Bunch, and you're

         6   watching TV and the person gets on and says, Hi, I'm so and so,

         7   I'm here to tell you about this drink, boy, it will change your

         8   life, it's fabulous, I feel stronger, peppier, and I hope you

         9   buy the drink, your life will be better for it.         And you're

02:26   10   watching the ad, what are you thinking?        Okay, I don't know

        11   this guy's character or moral values, maybe I liked him on the

        12   Brady Bunch, do I really know his background, what he's done?

        13   Does he have any motive or inducement to do this?         Yeah, he's

        14   probably getting paid.     Is there anything to corroborate what

        15   he's saying?    No.   Is getting paid the money probably enough

        16   for him to lie on TV and say, I really love this stuff, it's

        17   delicious, and then when a camera goes off (motioning spitting)

        18   at the end do you say, Well, I can certainly trust this guy

        19   that this product is good?

02:27   20             You go to an appliance store and are looking at a TV

        21   and you've got a salesperson trying to help you.         You try to

        22   size the person up I think using these criteria.         For example,

        23   you might just ask the person, Hey, do you work here full time?

        24   Only in the summer, I'm a college student.        That gives a plus.

        25   Are you working on commission, whichever TV we get, if we get a
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         1   more expensive TV, do you get a commission on it?         Nope, I'm

         2   just straight pay.    You said this TV is very good, do you have

         3   anything that backs that up?      Yes, I actually have a Consumer

         4   Reports magazine that I show people, this is highest rated TV

         5   in the Consumer Reports magazine.       So you don't get anything

         6   but your basic pay?     No, ma'am.    Would you have more trust with

         7   that person because you've evaluated him with these factors?

         8             Even with more important decisions that we make in our

         9   life.   For example, trying to determine if one should have

02:28   10   elective surgery, or a decision regarding your child, about

        11   whether to do something and you want to be much more certain

        12   and you're talking to someone who's trying to advise you,

        13   whether it's a doctor or a schoolteacher or a guidance

        14   counselor, you make the same assessment in whether you can

        15   trust what they tell you.

        16             Well, none of these decisions I've just mentioned, not

        17   a single one is anywhere near as important as the decision you

        18   are asked to do in a federal criminal trial, because in these

        19   other decisions you can be reasonably certain or fairly

02:29   20   confident.   But as her Honor, Judge Casper, will instruct you,

        21   the government's burden of proof is not to prove a possibility

        22   that Martorano, Weeks, Flemmi and their evidence is true, or

        23   even a probability, or even a high probability that it could be

        24   true, the burden of proof for the government is proof beyond a

        25   reasonable doubt.    So that if at the end of the day you say, I
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         1   have a reasonable doubt about whether he's telling me the

         2   truth, then the government has not met its burden if that

         3   witness is essential to a finding of guilt to a charge.

         4   There's no standard in the law that's higher than proof beyond

         5   a reasonable doubt.

         6             Let's talk a little bit about the government's

         7   interaction with these witnesses, Martorano, Weeks, and Flemmi.

         8             I guess I'm going to pull the curtain back and, you

         9   know, Toto has just dragged the curtain, and I'm going to

02:30   10   reveal what goes on behind the scenes.

        11             What is really going on here?       And you probably don't

        12   hear lawyers talking this bluntly, but this, I submit to you,

        13   is what goes on:     The government is buying the testimony of

        14   these witnesses.     Sounds pretty awful to put it that way,

        15   doesn't it?     The government is buying their testimony.         The

        16   witnesses are selling their testimony to the government.           The

        17   currency that's used here:      How much freedom is the person

        18   going to get?    The currency is the power of the government to

        19   keep someone locked up in a cell surrounded by four concrete

02:31   20   walls, topped by barbed wire, and that's where the person

        21   lives, in a prison.     And what the government can pay an

        22   individual is the individual's freedom.        That's what they buy

        23   the testimony with.     They buy it, and the witnesses sell it.

        24             Now, some sales have a basic price, have a set price.

        25   For example, calling a witness to the stand, having him or her
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         1   raise a hand and swear to tell the truth, and that oath is

         2   enough.   You know, a subpoena is the price to pay.         We give you

         3   a subpoena, you have come up here and tell the truth, and we

         4   did have some witnesses who did that, certainly.

         5             There's a higher price that can be paid, which is an

         6   offer of immunity.     You can say to a witness, You come in and I

         7   give you immunity from prosecution.       Immunity from prosecution.

         8   That's a higher price to pay.

         9             MR. WYSHAK:    I object to that, that's an incorrect

02:33   10   statement of the law, your Honor.

        11             THE COURT:    Overruled.

        12             MR. CARNEY:    Unbelievable.    Even getting speaking

        13   objections during my closing argument.

        14             Yes, a higher price is to offer a witness immunity.

        15   And what is Judge Casper going to tell you about immunity?

        16   She's told us about what she's going to instruct.

        17             (Pause.)

        18             THE COURT:    Counsel, if you could just flip it so I

        19   could see it briefly --

02:34   20             MR. CARNEY:    Actually, I can put it on the screen.

        21             THE COURT:    I see it now.

        22             MR. CARNEY:    It's not just me saying things about how

        23   you've got to evaluate what a person is getting for his

        24   testimony.   Judge Casper will caution as to certain witnesses.

        25             "You have heard from a number of witnesses who have
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         1   provided evidence under an agreement with the government,

         2   participated in the crime charged against the defendant or

         3   testified under a grant of immunity.       Some people in this

         4   position are entirely truthful when testifying.         In evaluating

         5   the credibility of these witnesses' testimony, you should

         6   consider the same factors that you should for any other

         7   witness, but you should also consider the testimony of these

         8   individuals with particular caution.       They may have had reason

         9   to make up stories or exaggerate what others did because they

02:35   10   wanted to help themselves.      You must determine whether the

        11   testimony of any such witness has been affected by any interest

        12   in the outcome of the case or any benefits the witness has

        13   received from the government as a result of a plea agreement or

        14   immunity agreement."

        15             That's just like in real life.       Sometimes what you

        16   want, what you are buying, costs quite a bit more than a normal

        17   price, because custom-made items, things that are tailor-made

        18   to precision of what the prosecutor is looking for the witness

        19   to say, that costs more.     How much more?     Well, how bad does

02:36   20   the buyer want it?

        21             You've all probably had the experience of buying

        22   something where people say, Oh, you're paying too much.           But if

        23   it's worth it to us to pay a particular price, we pay it.

        24             Well, how bad does the government want to buy the

        25   testimony of Martorano, Weeks, and Flemmi?        How bad do they
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         1   want to do it?    How much are they willing to pay?       You know,

         2   they're paying on your behalf.      They're operating on behalf of

         3   the federal government and saying, Okay, we're going to pay

         4   this much.   And when you tailor what you're buying to the

         5   custom needs of the prosecutors, you end up having to pay more.

         6   But one thing that's very important, I submit to you, what

         7   you're not paying for is truth.       It's not a situation where,

         8   Hmm, if I pay the witness X, and instead of the witness getting

         9   life in prison, he'll do a sentence of 30 years, he might

02:37   10   testify but he won't be truthful, but if I make it a sentence

        11   of 20 years, now he's going to be truthful.        That's not how it

        12   works.   You're not paying for truth.      You're supposed to take

        13   that witness stand and raise your hand and take an oath that

        14   you'll tell the truth.     That's what's supposed to cause a

        15   witness to tell the truth.      Not getting paid more and more and

        16   more.

        17             So what are you paying for?      Content, what the witness

        18   is going to be willing to say.      And the higher price you pay

        19   that witness, I submit to you, the more the witness is going to

02:38   20   give you the testimony that you are looking for.

        21             Ladies and gentlemen, the price that you pay for

        22   testimony gives you no assurance that it's the truth.             The only

        23   thing that a high price proves is a prosecutor is guaranteed

        24   that he will get what he wants and needs.

        25             Let's talk about John Martorano, and I'm going to do
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         1   it in the manner of those five things that I talked about

         2   earlier.    I'm going to do the same with Weeks, I'm going to do

         3   the same with Flemmi.     These are just suggestions.       The power

         4   of 12 people to assess the credibility of the witness is so far

         5   greater than any individual person, and certainly any

         6   individual lawyer or anyone.      So what I'm suggesting is these

         7   are things that can help you, perhaps, determine whether you

         8   can believe Martorano.

         9              What kind of moral character and values does he bring

02:39   10   to the table?    Well, let's consider what his job was.

        11   Professional killer.     Probably don't see that too often on a

        12   resumé, but that's what John Martorano did.        He was a

        13   professional killer.     He would kill people for his own benefit,

        14   he'd kill people because someone asked him to kill them.          He

        15   would kill people he knew.      He will kill strangers.      He'll kill

        16   people who insulted him, who did nothing to him, people that

        17   were completely innocent.      Even friends, even close friends,

        18   he'll kill them if it suits his purpose.        Lying to people is

        19   part of his job as a professional killer.

02:40   20              He'll say to someone, Hey, come down, I need to talk

        21   to you.    When he gets you outside, bang, you're dead.

        22              Let's put this gang war behind us, let's just be

        23   friends.    Yeah, come on down, boom, you're dead.

        24              Even John Callahan, probably his closest friend over

        25   the period of years that he was in Florida, John Callahan let
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         1   him use his apartment, use his car, gave him money, brought him

         2   money, was supportive, a drinking buddy, all of this, a friend.

         3   John Martorano is such a good liar that even John Callahan

         4   didn't know that when John Martorano was picking him up at the

         5   airport and acting so friendly and Great to see you, wonderful

         6   to see you, hey, everything going great, all right, have a seat

         7   in the van, gets in behind, bang.       He's dead.

         8              John Martorano could only be such a good professional

         9   killer if he was such a good liar.       Does a person with all this

02:41   10   training give you pause?     Can you trust him to tell you the

        11   truth?

        12              And how about some of the reasons that were brought

        13   out from Mr. Martorano about his character, about his values?

        14   I put family and friends first.       Sounds great.    What does that

        15   mean?    Oh, for a family member that might be in trouble with

        16   someone, I'll kill the guy, or if a friend asked me to kill

        17   someone, sure, I'll kill him.      Hey, family and friends, they

        18   come first.     You know, what kind of bizarro world does this

        19   person live in?

02:42   20              The priests and nuns taught me this.       Ah, come on,

        21   you're looking at a guy who went to parochial school, that was

        22   not on the agenda.

        23              And how does he justify it in his mind.       Every victim

        24   was a Judas.    Every person he killed was a traitor and deserved

        25   to be killed.    And how about how he characterizes himself?         I'm
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         1   a vigilante.    Last I looked, the dictionary said a vigilante is

         2   a person who takes the law into his own hands to do the right

         3   thing.

         4              I think you go a little earlier in the dictionary than

         5   "vigilante," I think you stop at "psychopath" if you want to

         6   know who John Martorano is.

         7              And then statements he made on the stand, Oh, I don't

         8   like killing.    I felt terrible after that killing.        I wanted to

         9   shoot myself.    Oh, I felt very, very bad after that killing.

02:43   10   Yeah, he's got a lot of remorse.

        11              How do you think the families of his victims feel when

        12   they walk by a bookstore and they see a book with a picture of

        13   the person who killed their loved one and he's on that cover of

        14   the book called "Hitman"?      How would a person react who went by

        15   there?   Or does that just show one more reason why John

        16   Martorano has no idea what moral character or values, what they

        17   really are?

        18              Look at what the stakes were for him.       He admitted to

        19   20 murders.     People he killed.   Remember what he said?

02:44   20   Wheeler.   I went up to Wheeler in the car in Oklahoma and I

        21   shot him between the eyes.      Callahan.   I sat behind him in the

        22   van and I shot him in the back of the head.        I had a beef with

        23   a guy, so I was meeting him, I got in the back of his car, he's

        24   there, a woman is there, and a teenager is there.         So Martorano

        25   kills all three.
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         1               He knows he's facing the likely death penalty in

         2   Oklahoma.    He knows he's facing the likely death penalty in

         3   Florida.    If he is convicted of a single first-degree murder in

         4   Massachusetts, he will face life imprisonment without parole.

         5   And so he appears to try to save himself.        And when you look at

         6   corroboration and you look and see if he's telling the truth

         7   about things and look for corroboration beyond the people that

         8   he's got to deal with, beyond the people that he was in jail

         9   with that he talked to every day, beyond the agents who would

02:45   10   share statements of other witnesses with him, beyond the hours

        11   upon hours of preparation by the prosecutors to make sure he's

        12   got his testimony straight, we're talking about corroboration

        13   by an independent source.

        14               The experts who were called at this trial are

        15   certainly good at what they do, and they can tell you about

        16   dental records, they can tell you about forensic anthropology,

        17   they can tell you about pathology, they can tell you who the

        18   person was and how the person likely died, but they can't tell

        19   you anything about who did it.

02:46   20               Martorano says, Oh, James Bulger was very supportive

        21   of killing Wheeler.     Well, one problem with that is when Kevin

        22   Weeks took the stand, he said, Bulger told me he didn't want

        23   anything to do with Wheeler, nothing.       It's Wheeler being

        24   killed by Rico, Flemmi, Callahan, and the triggerman,

        25   Martorano.    And that makes sense.     James Bulger oversaw the
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         1   criminal activities in South Boston, not in eastern

         2   Massachusetts, not in the entire City of Boston, not in

         3   Dorchester or Charlestown or Brighton or the South End, one

         4   neighborhood in Boston.     And he made millions of dollars doing

         5   it.   There, I've said it again.      He didn't need to go beyond

         6   South Boston.    It would be insanity for him to just decamp to

         7   Miami and try to take over World Jai Alai.

         8             James Bulger rose to the top of his profession because

         9   he was careful, he minimized risks, and he stayed in an area

02:47   10   and with people that he knew in South Boston.         And that's why

        11   when Weeks said Bulger wanted nothing to do with Wheeler or

        12   World Jai Alai, you can believe him.

        13             Now, Martorano attended the hearings in this

        14   courthouse before Judge Wolf and also -- rather, in another

        15   courthouse nearby.    And he saw how the case was going after he

        16   was arrested with Flemmi, Salemme, DeLuca, and Jimmy Martorano.

        17   And he knew he had to put into play the plan that he had seen

        18   his friend Joseph Barboza do.

        19             Barboza had taught Martorano that if you get jammed

02:48   20   up, like with a murder, you can give the government testimony

        21   about someone they want even more, in that case it was the LCN,

        22   the Mafia.   And so Barboza told the FBI in a murder committed

        23   by Jimmy Martorano's -- Jimmy Martorano, John Martorano's

        24   brother, that it in fact was committed by four other people,

        25   all of whom happened to be associated with the Mafia.             And the
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         1   prosecutors were pleased to take this information.          And they

         2   based the prosecution on Joseph Barboza.        And he convinced a

         3   jury that these three completely innocent men -- they might not

         4   have been the most wonderful people in the world, but they were

         5   innocent of the murder committed by Jimmy Martorano -- and

         6   convinced them, convinced the jury by that testimony that they

         7   were guilty.   Two of them, as you heard, were sentenced to

         8   death before the death penalty was reversed in Massachusetts,

         9   and two of them were sentenced to life and they did over 30

02:49   10   years in prison.    But what was most significant to Martorano is

        11   the FBI didn't care, even though they knew he had been lying.

        12   They didn't care.    Because what they got in a conviction made

        13   it worthwhile.     And even years later, when Martorano was in

        14   further trouble, they protected him.       And Martorano knew that

        15   this would be the game plan that he would follow.

        16             John Martorano never met John Connolly, but he was

        17   willing to say James Bulger told him about John Connolly.

        18             John Martorano never spoke once, he said, to James

        19   Bulger about Wheeler, but he was willing to say, Flemmi told me

02:50   20   that James Bulger was on board.       And basically what Martorano

        21   did is add Bulger to every crime.       It's almost like a spice or

        22   a salt.   I'll just add Bulger to this.       I'll say Bulger told

        23   me, Bulger was there, Bulger did this, it was Bulger's idea.

        24   And that's all he has to say.      That's all he has to say.

        25             Was the price the government paid him for his
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         1   testimony a high price?     Was it an inducement, enough of an

         2   inducement to convince John Martorano to testify in exactly the

         3   manner that the prosecutors wanted him to testify?          Look at the

         4   price they paid.    He admitted to 20 murders; he was out of

         5   prison in 12 years.     He wasn't in a regular federal

         6   penitentiary, he was in a special facility that Stephen Flemmi

         7   told you is a lot better than a regular federal penitentiary.

         8   He got to keep money that he would then be able to use to pay

         9   his debts.   And how about this:      The prosecutors were willing

02:52   10   to pay such a high price that Martorano could dictate to them,

        11   I'm not going to testify against Howie Winter, I'm not going to

        12   testify against Patrick Nee, I'm not going to testify against

        13   my brother, Jimmy.    Unbelievable.

        14             He's in prison.    They fill his canteen account with

        15   money so he can buy toothpaste and snacks, which are essential

        16   if you're in a facility.

        17             When he gets out, did they give him a handshake and a

        18   bus ticket into the middle of town?       No, they give him 20

        19   grand.

02:52   20             They have the power to condition his deal that he will

        21   not make money being a criminal.       They can do that.     They can

        22   say, You cannot make money on your crimes.        But did they do it

        23   in this case?    Martorano got paid for the book that Howie Carr

        24   wrote.   He got paid $250,000 for the movie rights to his story.

        25   The government could have prevented that, but they were so
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         1   willing to meet John Martorano's price in order to get his

         2   testimony that they gave all this away.        Wasn't just offering

         3   John Martorano life in prison enough as opposed to his facing

         4   the death penalty?

         5               John Martorano was on the stand and asked by

         6   Mr. Wyshak:    What motivated you to become a witness for the

         7   prosecutors?    And do you remember what he said?       When I learned

         8   that Jim Bulger was an informant, it broke my heart.          I think

         9   if you did a CAT scan, you'd have trouble finding a heart in

02:54   10   this guy.    But when he said that to you, do you think he was

        11   lying?   Do you think that he decided to become a government

        12   witness because he knew the price would be high enough that he

        13   could get out, or was it really because he had a broken heart?

        14   He's willing to say that to you from the stand and tell you

        15   that was the truth.

        16               The government makes a lot out of the fact that, oh,

        17   he was only facing four to six years.       He did the right thing

        18   by coming forward and confessing to these murders that were

        19   unsolved.    Let's look at that for a moment.

02:54   20               Martorano realized Flemmi was at the end of the line,

        21   that the only thing left for Flemmi to do was to come in and

        22   cooperate.    And the person that he would most be able to

        23   cooperate against was Martorano, and Martorano knew if Flemmi

        24   gets in the door before me, I'm going to be the guy doing life

        25   in prison.    I've got to get into the door before Flemmi, and he
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         1   did, because he knew what price the government would pay him.

         2              So any suggestion, I submit to you, that somehow John

         3   Martorano was heroic in coming forward, you might want to

         4   question whether that's the truth or whether that's just an

         5   excuse, trying to justify the amount of the price.

         6              And even when he gets this, he lies about what he's

         7   done.   Remember Mr. Brennan questioning him about things, about

         8   the guy in the alley who came at him with a knife.          Oh, I took

         9   the knife away from him, stabbed him once and then put him in

02:56   10   the car and was going to take him to the hospital.          That's how

        11   the testimony would have been left before you if Mr. Brennan

        12   hadn't done his homework and looked into that crime and found

        13   out that there was a witness who saw Martorano bringing him

        14   into the car.    And Martorano admitted, The guy was mouthing off

        15   to me in the backseat, so I took my knife and stabbed him

        16   repeatedly and I drove him to an alley in the South End and

        17   dumped him in the alley.     Even when Martorano has this

        18   incredible price he's been paid, he still can't be truthful to

        19   you.    I'm not a doctor, but some people call that a

02:56   20   pathological liar.    You lie when you don't even have to lie,

        21   but you do lie because it's in your DNA.

        22              Look at what the jury instruction will be that the

        23   Court will give you on a cooperating witness and getting

        24   substantial assistance.

        25              (Pause.)
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         1               Martorano has pleaded guilty, so can you use that as

         2   evidence, that if he pleads guilty, Jim Bulger must be guilty.

         3               Well, this is what her Honor is going to tell you:

         4   "You also have heard from witnesses who have pled guilty to

         5   charges arising out of the same facts and charges as this case.

         6   You are instructed that you are to draw no conclusions or any

         7   inferences of any kind about the guilt of the defendant on

         8   trial from the fact that a prosecution witness pled guilty to

         9   similar charges.    Each individual's decision to plead guilty is

02:58   10   a personal decision about his or her own guilt.         You may

        11   consider a witness' guilty plea in assessing his or her own

        12   credibility, but it may not be used by you in any way as

        13   evidence against the defendant, Mr. Bulger, on trial here."

        14               And what about this substantial assistance you've

        15   heard so much about?     I'm sorry if this is a spoiler alert that

        16   I'm showing you what her Honor is going to say, but she's told

        17   us in writing what she's going to say, so I'm pretty confident

        18   in predicting she is going to say this.

        19               You heard the witnesses bob and weave and dodge about

02:58   20   substantial assistance and all of that, well, this is what the

        21   truth is.

        22               "During the course of this trial, you have heard

        23   reference to 'substantial assistance' motions in regard to the

        24   reduction of the criminal sentence of certain witnesses who

        25   enter into cooperation agreements with the government.            In
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         1   considering the testimony of such witnesses with particular

         2   caution, as I have just instructed you, you may consider

         3   whether a witness hoping to have his/her sentence reduced may

         4   have a motive to make up stories or exaggerate what others did

         5   because he/she wanted to help himself/herself.

         6             "If at the time of the sentencing, the government

         7   concludes that a person has provided substantial assistance to

         8   the government in its investigation and prosecution of one or

         9   more individuals, the government may file a substantial

03:00   10   assistance motion with the Court to recommend a sentence for

        11   that person.   Although the sentence ultimately imposed is

        12   determined by the court based upon numerous factors, including

        13   but not limited to the value of the person's assistance to the

        14   government, the determination of whether a defendant has

        15   provided substantial assistance, and the filing of any such

        16   motion, is determined by the government."

        17             And what did one of the witnesses, I believe it was

        18   Stephen Flemmi, candidly tell you?       The government, in terms of

        19   who makes that decision, is Fred Wyshak.        If he decides a

03:00   20   person has provided substantial assistance, a motion gets

        21   filed.   If he decides you haven't provided substantial

        22   assistance, or the assistance has not been substantial enough,

        23   you don't get it.    You don't get the motion.

        24             So don't be fooled who holds the key to the jail cell

        25   for these witnesses.     The government is the only party that can
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         1   do this.

         2              I can't say to someone, If you testify on behalf of my

         3   client, I'll see to it you get out of jail.        I can't say to

         4   someone, Hey, if you agree to testify on behalf of my client,

         5   I'll give you $20,000 in cash.      Hey, if you agree to testify

         6   against my client, I'll give you back your house that's going

         7   to be forfeited.    I can't do that.     Only the prosecution can do

         8   that.

         9              And so with all of these factors in mind, his moral

03:02   10   character, his values, the jam he was in, the price the

        11   government was willing to pay if he told them what the

        12   government wanted to hear, I'd ask you to just consider those

        13   factors regarding in your heart, in your conscience, you can

        14   say, I can trust John Martorano, that he's telling me the

        15   truth.

        16              Let's go to Kevin Weeks.

        17              Excuse me, I hate to take a drink in front of all of

        18   you, but --

        19              Kevin Weeks.   Any question in your mind he is still a

03:03   20   thug?    Throughout his life he's beaten up people, threatened

        21   people.    I mean, the most chilling might have been Kevin Hayes.

        22   Remember when he had Kevin Hayes brought to the basement of the

        23   house and he's got a tarp on the ground.        What's the tarp on

        24   the ground for?    That's so that it doesn't get very bloody when

        25   I kill you.    Everything he said to Kevin Hayes.       And he's got
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         1   his sidekick over in the corner, I think it was Patrick

         2   Linskey, saying, Don't bother with Hayes, just kill him, just

         3   give him one in the head.      Ready was Kevin Weeks to take a gun,

         4   a rifle, assassinate a reporter.       Heck, first time ever in my

         5   career that a witness has said to me, Why don't you come

         6   outside and I'll show you what I'll do to you.         Yipes.     The

         7   only thing I could think to ask him is, I guess you were

         8   reformed by prison?     Yes, I was.    Holy mackerel.    I mean, they

         9   don't pay enough at court-appointed rates to be threatened by

03:04   10   the witness to be taken outside.       Let's just say that a few of

        11   the marshals were outside when I came out that day.

        12             But what else do you know about Kevin Weeks?            Most of

        13   all, what he actually brags about is what a great liar he is.

        14   Now, think about that for a moment.       The government puts a guy

        15   on the witness stand and goes through the dog and pony, you see

        16   how they do it, here's your agreement, what's the agreement

        17   require you to do?    Tell the truth.     What happens if you don't

        18   tell the truth?    The agreement is void and I go to prison for

        19   the rest of my life.     So are you telling the truth?       Yes, I am.

03:05   20   Witness after witness after witness, the dog and pony, we call

        21   it.   But then when you poke Weeks a little bit and say, you

        22   know, about his lying, what does he admit?        Look, when I catch

        23   him in a lie, I've lied all my life.       I'm a criminal.

        24             May I kiss you, Mr. Weeks, for your candor?           It didn't

        25   happen, but I did ask him, Well, Mr. Weeks, why do you lie when
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         1   you lie?    And his answer:    If I get a benefit for it, I'll tell

         2   a lie.   Well, who would you lie to?      Everyone.    Lie to my

         3   parents, lie to my wife, lie to my girlfriends.         We don't have

         4   to revisit that, given the number of women in the jury, and men

         5   for that matter.

         6               Have you ever lied to government agents when they were

         7   debriefing you?    No, I haven't.     Then I bring up the fact that,

         8   regarding the Rakes extortion, I ask him:        Did you show a gun

         9   to Rakes?    Did you use coercion to get the store?       No, I

03:06   10   didn't, he tells them.      Then there's a break in the action, and

        11   when the show resumes, Weeks has said, Yeah, okay, I did lie to

        12   the agents.    So I said to him, You just lied from the witness

        13   stand to the jurors when I asked you if you've ever lied,

        14   they've now seen how you lie.      I mean -- remember the

        15   testimony?

        16               "So you lied.

        17               "I lied.    I told them, you know, we didn't extort him.

        18               "You told the investigators a lie because you didn't

        19   like 'Stippo' Rakes.

03:07   20               "Correct.

        21               "So when you told me a moment ago that you never lied

        22   to the investigators, that was a lie?

        23               "I've been lying my whole life.     I'm a criminal."

        24               And the government wants you to trust him that he is

        25   telling you the truth?      Does he have the moral character and
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         1   values?

         2               Now, one thing he did know, he knew where the bodies

         3   were buried.    Does that corroborate who actually killed these

         4   people?

         5               Look at the cast of characters he described in each

         6   incident.    Barrett.    Weeks was with Flemmi and Patrick Nee at

         7   Patrick Nee's brother's house.       Jimmy Martorano came by with

         8   "Bucky" Barrett.    Why wasn't Jimmy Martorano called as a

         9   witness here by the government?       Why didn't they give him a

03:08   10   deal, like they gave everybody else?       Why wasn't Patrick Nee

        11   ever called at this trial by the government?         Why wasn't he

        12   offered a deal?

        13               Weeks and a guy named Barry Wong went to pick up the

        14   money at the bar.       Weeks did things on his own, as he showed

        15   with the Kevin Hayes' extortion.       But to this, Weeks added a

        16   little Bulger.

        17               McIntyre.    Pat Nee received $20,000 the day before,

        18   and then Pat Nee brought John McIntyre to his brother's house.

        19   Weeks threw McIntyre to the floor.       Flemmi and Weeks buried the

03:09   20   body.   Isn't it interesting how many times you hear Patrick Nee

        21   or Patrick Nee's brother's house mentioned.        And what does it

        22   take?   Just add a little Bulger to the mix.

        23               Donahue, Halloran.    Remember the FBI witness that I

        24   called.   The FBI witness had got a tip, got information,

        25   brought it to the attention of his fellow FBI agents that
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         1   Stephen Flemmi was going to kill Brian Halloran.         Not Stephen

         2   Flemmi and Jim Bulger or "Whitey" Bulger, Stephen Flemmi was

         3   going to kill Halloran.     Stephen Flemmi was going to kill

         4   Halloran because Halloran was a snitch.        Weeks says, Well,

         5   Flemmi might have been involved, maybe Nee was involved.           The

         6   crime could have been completely committed by Patrick Nee,

         7   Stephen Flemmi, and Kevin Weeks.       And you could add in a little

         8   Bulger.

         9             And finally, Hussey, Deborah Hussey.        I'll talk about

03:10   10   her in more detail, but I submit that the evidence shows that

        11   only Stephen Flemmi had a motive to kill Deborah Hussey and the

        12   means to kill Deborah Hussey.      Weeks testified in part that

        13   Flemmi brought her downstairs into the basement and took a rope

        14   with a stick in it and twisted it around her neck, and that's

        15   what killed her.    And he helped to bury her.

        16             Now, Kevin Weeks watched what was happening with John

        17   Martorano and Stephen Flemmi.      Two months before Weeks was

        18   arrested, he saw that Martorano reached a plea agreement.           When

        19   Weeks came into court, he asked for bail.        He had no prior

03:11   20   record, he wasn't charged with a murder; he was denied bail.

        21   He went through two lawyers before he settled on a third, and

        22   he immediately made a deal.      I know he doesn't like the

        23   nickname, but the nickname "Two Weeks" is his nickname for a

        24   reason because that's how quickly he made a deal.

        25             How bad did the prosecutors want the testimony of
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         1   Kevin Nee (sic.)?    How much were they willing to pay so he

         2   could add what he could add?      Was it just, You won't get life

         3   in prison, would that be enough?       Would it be, Well, you'll get

         4   20 years in prison for the five murders you were involved in,

         5   would that be enough?

         6             The government wanted it so badly and Weeks knew the

         7   government wanted it so badly that they offered him five years

         8   of actual time.    The sentence was six years, but with good

         9   time, he does a little more than five.        And that works out by

03:12   10   my math to one year a murder.      That's how bad the government

        11   wanted to get his testimony, and he knew it.         And once he

        12   agreed to give them what they wanted, what they were looking to

        13   buy, then he got his deal.

        14             Weeks told you that the last time he saw James Bulger,

        15   James Bulger told him, Kevin, if you're ever caught, just blame

        16   it all on me.    That gave Kevin Weeks permission to add Bulger

        17   to everything, because Kevin Nee -- I mean Kevin Weeks wanted

        18   James Bulger never to be caught.       And so he could include him

        19   in everything.

03:13   20             Can you trust Kevin Weeks?      Let me ask you something,

        21   let's say you're driving in the city and it's late at night and

        22   you've been given directions and the person says, Okay, you're

        23   going to come to a fork in the road, if you go one way, it goes

        24   right to the highway, you can go home.        If you go the other

        25   way, it's a real sketchy neighborhood, you could get robbed.
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         1   So you don't want to go that way.       Well, you forget which way

         2   to go at the fork, so you get to the fork, and who's there,

         3   Kevin Weeks.   You learn he has an incentive to tell you to go

         4   left, and he tells you, Well, yeah, I have a big incentive to

         5   tell you to go left, but I'm telling you the truth.          Ask

         6   yourselves, would you trust Kevin Nee -- I mean Kevin Weeks

         7   under that circumstance?     If he told you to go left, would you

         8   go left?

         9              The answer to that question will say a lot about

03:14   10   whether you feel you can trust Kevin Weeks is telling you the

        11   truth.

        12              And finally, we have Stephen Flemmi.

        13              Oh, may I ask your Honor what my time is?        If you are

        14   keeping track of it.

        15              THE COURT:    I am keeping track.

        16              Counsel, you still have sufficient time left, I

        17   believe it's been now -- I think you have 90 minutes, counsel.

        18              MR. CARNEY:    Oh, God.   Excuse me.

        19              THE COURT:    That doesn't mean he has to use it,

03:15   20   jurors.

        21              MR. CARNEY:    I certainly won't.

        22              Stephen Flemmi.    Do I really need to say much about

        23   this man's moral character and values?        I mean, you saw him,

        24   you heard him.    He's been killing people since the '60s.

        25   Martorano is one of his closest friends.        One that maybe cuts a
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         1   little close to home, he helped put a bomb under a car trying

         2   to kill a lawyer because the lawyer was representing a witness,

         3   and only failed because the lawyer had the door open when he

         4   started the car and all it did was blow his leg off.

         5             Stephen Flemmi always blames others.        I mean, was it

         6   funny, the more -- Oh, I only committed that murder because

         7   so-and-so insisted that I commit the murder.         Okay, what about

         8   this murder?   He asked me to do it and he was really polite and

         9   sincere, so I did the murder.      What about this crime?         Wasn't

03:16   10   my fault, no -- yeah, sure, I killed a guy, but, you know, when

        11   someone insists and says please, says the right things, okay, I

        12   kill them.   All right.

        13             Did you find at all that Stephen Flemmi seemed to be

        14   following a script written for him by someone?         Where before

        15   Mr. Wyshak could even complete the question, Mr. Flemmi was

        16   coming out with the answer.      What was the weather that day?         It

        17   was raining, and Jim Bulger is my partner.        All right.

        18             What kind of car were you driving?        Oh, I was driving

        19   a Ford Fairlane, and Jim Bulger was my partner.

03:17   20             Was he with you?     No, no, I'm just mentioning Jim

        21   Bulger was my partner.

        22             And what about this particular act, this crime when

        23   you get together with someone and you were there alone?            Well,

        24   I was there alone, yes, but Jim Bulger was my partner.

        25             It almost got humorous how enthusiastic he was.            All I
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         1   can say is Mr. Wyshak paid a big price, but he got his money's

         2   worth in terms of how many times --

         3             MR. WYSHAK:    Your Honor, I object to this constant

         4   impugning of the prosecution.      It's totally unprofessional.

         5             THE COURT:    Overruled, overruled.

         6             MR. CARNEY:    And what were the stakes for Flemmi?

         7   They were enormous.     The death penalty in two states, life

         8   imprisonment in Massachusetts.

         9             Martorano already had his deal, Weeks has his deal,

03:18   10   Flemmi is the last one to the party.       So, like Weeks, he

        11   understands what the prosecutor wants, and so he puts Bulger in

        12   everything that he does.

        13             I'm going to ask you to just take a look at two crimes

        14   in particular, rather than going through another 15 minutes

        15   about Stephen Flemmi.

        16             The first is Deborah Hussey, his stepdaughter.          He

        17   denied having her on his lap and reading her a book.          What the

        18   heck is wrong with that?     He's admitted it under oath before.

        19   But now he doesn't want to say he did that?

03:19   20             He grudgingly agrees that this little girl would call

        21   him "daddy" when she was a young child.        He says, Oh, she just

        22   abused drugs, she was a drug addict, I tried to get her help.

        23   Do you think he helped her when she was a teenager where, as

        24   her stepfather, he had sex with her?       Do you think that might

        25   be related to why Deborah Hussey spiraled down, became a drug
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         1   addict, became an alcohol abuser, became a prostitute, hung

         2   around the combat zone?     Do you think that Stevie Flemmi had an

         3   impact on this young woman's self-esteem?

         4              What does he say?    Oh, well, when I got back from the

         5   lam, she was a teenager and she was different.         Well, no

         6   kidding.   Little girls grow up to be teenagers.        To Flemmi that

         7   became a green light.     What does he say?     Oh, she consented.

         8   Yeah, she consented.     Do you think that was an appropriate

         9   consent?   I mean, I can't even talk about it.

03:20   10              He said she embarrassed his brother, Michael Flemmi,

        11   who was a cop, because she was being arrested in the combat

        12   zone and she was bringing tricks to the house and that was

        13   upsetting.

        14              And yet, Stevie Flemmi still tries to tell you he's a

        15   caring parent.    He treated her like she was an unwanted puppy,

        16   the way some people -- and I don't know how they can do this --

        17   get in a car, drive to western Massachusetts, go off on some

        18   rural road, put the puppy down because they don't want to have

        19   to pay to feed the puppy, and then they drive home, and all of

03:21   20   a sudden, like five weeks later, somehow the puppy is back at

        21   the back door, and the tail is wagging like this.         And even

        22   though you tried to get rid of the puppy, that puppy doesn't

        23   realize it, that puppy knows only one home, and he's so happy

        24   to see you, you go, Oh, goddammit.

        25              You wouldn't do that to a puppy, but he did it to his
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         1   daughter, his stepdaughter.

         2             He tries to say, But I was just a loving parent, I

         3   tried to help her.    Can you trust Stephen Flemmi, that he's

         4   telling the truth?

         5             When he said from that witness stand, I tried to help

         6   her, he said that under oath to you, and you have the right to

         7   believe that that statement was as truthful as anything else he

         8   said or as untruthful as anything else he said.

         9             Remember the testimony of -- that was read of Marion

03:22   10   Hussey about her daughter.

        11             This is how you know whether Stevie Flemmi is being

        12   truthful when he testifies in front of you, when he lies in

        13   front of you.

        14             Marion Hussey:    "And then I guess it got more serious,

        15   she got" -- I'm sorry.

        16             "Q.   And then I guess it got more serious, she got

        17   more into drugs.    Well, that's what Steve used to tell me.

        18   When he came home that's when the problems were really -- you

        19   know, that she was coming home wiped out or he would take her

03:23   20   and put her some place, you know, to live, or she'd move in

        21   with different people, you know, friends of hers, and you know,

        22   from time to time he used to come in -- always everything

        23   derogatory about her.     Used to turn the kids off, Billy and

        24   more so my oldest boy.

        25             "What would he say?
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         1             "You know, she's no good, she's a slut, she's a whore,

         2   she's a prostitute, she's out there doing drugs.

         3             "Was that accurate?     Was she?

         4             "No.    I don't know, to be honest with you.       I know to

         5   some extent it was, I mean, this is before I knew of anything

         6   that was going on."

         7             Do you think she meant before she knew or found out

         8   what was going on by the stepfather, Stevie Flemmi, on her

         9   daughter that might have been related to why her daughter was

03:24   10   having these problems?

        11             And then when Marion Hussey was at trial in the

        12   federal court and she testified:

        13             "Q.    Was there a time when you kicked Stephen Flemmi

        14   out of the house?

        15             "Yes.

        16             "All right.    When was that?

        17             "It was in '82.

        18             "Okay.

        19             "October of '82.

03:24   20             "All right.    And tell us what happened.

        21             "I had been working.     I was working at a bank.       I had

        22   come home from work, and I don't know if he was there at the

        23   house when I came in or he came in after me, but I think he was

        24   there, because he was arguing with me about Debbie.          She was

        25   upstairs and -- which was her bedroom at one time.
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         1             "Okay.   What was he arguing with you about Debbie?

         2             "She was all drugged up or drunk or whatever, I don't

         3   know which."

         4             Do you think that's how she might have self-medicated

         5   herself when her stepfather was going to be coming home?          Do

         6   you think this was how she was able to do what he made her do?

         7             "And we were arguing about it, you know, I was nervous

         8   with her being there with the other kids.

         9             "And why was that?

03:25   10             "Well, I didn't want them to see her the way she was.

        11   My grandson was probably living with me, he was only a baby.           I

        12   mean, there were times when she came in that she was, you know,

        13   all drugged up.    I put her out of the house, told her to leave.

        14             "Okay.   And why when she was drugged up did you tell

        15   her to leave the house?

        16             "She wasn't living with me at that time, she was back

        17   and forth, she was in California.

        18             "When did Debbie last live with you full time?

        19             "Probably the late '70's.

03:26   20             "Okay.   Going back to what happened in October of

        21   1982, what happened after you were arguing with Stephen Flemmi

        22   about Debbie being drugged up?

        23             "I went upstairs, and she was in the bed.         She had

        24   clothes on or her pajamas on or whatever, and he was, like,

        25   slapping her around.     And I don't know, I don't know exactly
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         1   how it would come out.     I said to him, "We've got to get her

         2   out of here,' he was -- I don't know what he said to her, and I

         3   don't know exactly what I said to him, and that's when she said

         4   to" -- I think that's "me" -- "something about" -- please read

         5   it, because I'm not going to say it.

         6             "I've been doing, she said, for years.        I just

         7   couldn't believe what I heard.

         8             "How did you react to that statement?

         9             "I was floored.    I just went weak.      I left the room.

03:27   10             "What happened next, Mrs. Hussey?

        11             "I went downstairs and he got her ready, he got her

        12   dressed or whatever.     I went downstairs to my room, my bedroom

        13   was downstairs and all the kids' bedrooms were upstairs.           And

        14   he went out the door with her, the back door.         And she said to

        15   me, 'Ma, she says, I'm not lying.'       And I said, 'Debbie, I

        16   believe you.'    And she went out the door.      I hadn't seen her

        17   after that.     I was just floored.    He took her somewhere.      I

        18   don't know where he took her.      And he came back later that

        19   night.

03:28   20             "What happened when he returned that night?

        21             "Went downstairs.     I had a big house in Milton.          We

        22   went downstairs so the other kids wouldn't hear us down in the

        23   library downstairs.     We were talking about -- I told him -- I

        24   said, 'When I come home from work tomorrow, I want everything

        25   you want, everything you own I want out of this house.'           I
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         1   said, 'Because whatever you leave, I'm throwing out.'

         2               "And did he leave the next day?

         3               "When I came home from work, the majority of the stuff

         4   was gone.    When he left, what he left I threw out."

         5               Does that tell you whether or not Deborah Hussey was

         6   being truthful?

         7               I submit that this was the last straw for Stephen

         8   Flemmi.   She's now revealing what he has been doing to her for

         9   years, and what's to prevent her from telling someone else?

03:29   10   And I submit he could not let her tell this to anyone else.                So

        11   where did he take her?     He took her to the house and he killed

        12   her.   He killed his stepdaughter so she wouldn't say what he

        13   had been doing to her.     And of course before you he says, Well,

        14   I'm not the one who killed her, Bulger killed her.

        15               But then recall what Mr. Brennan did.      He went over

        16   Flemmi's prior testimony under oath at past hearings.             He was

        17   asked, How did Bulger kill her?       He put his hands around her

        18   throat and strangled her.

        19               The next time at the next hearing or trial, he's

03:30   20   asked, How did Bulger kill her?

        21               He took a rope and put it around her neck and

        22   strangled her with a rope.

        23               And then the next time he testified, he was asked, How

        24   did Bulger kill her?

        25               He got her in a headlock and killed her that way.          Her
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         1   head's here and he's squeezing it tight.        That's a headlock.

         2             There's something I think Mark Twain once said.         He

         3   said, It's so much easier to just tell the truth, because that

         4   way you don't have to remember your lies.        Stephen Flemmi

         5   couldn't remember his lies, and that's why he told it different

         6   each time.

         7             Stephen Flemmi was the one with the motive, the

         8   ability, and the disgusting propensity, as he did here, after

         9   he killed someone, remove the teeth and strip the person naked.

03:31   10   And that way his stepdaughter wouldn't be able to be

        11   identified.

        12             Did he tell you the truth when he said he cared for

        13   his stepdaughter and only tried to help her?

        14             When he lied to you from that witness stand, looking

        15   eye to eye to you and after swearing to tell the truth and

        16   promising to tell the truth and then he lies to you, can you

        17   trust Stephen Flemmi to tell you the truth?

        18             The second murder is, of course, Debbie Davis.          He

        19   dated her for ten years, from when she was a teenager and he

03:32   20   was more than 20 years older than she was.        I'm not going to go

        21   into the testimony in detail, because I'm sure you recall it.

        22             She went to Mexico on vacation and met somebody and

        23   liked the guy and decided she wanted to start dating him.          I

        24   think his name was Gustav.      Stephen Flemmi tapped the telephone

        25   so he could listen to telephone calls that made it clear, I
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         1   submit, that she had a great deal of interest, affection,

         2   romance, as people sometimes do, and she was going to leave

         3   Flemmi.

         4             Remember what her brother, Stephen, said was the way

         5   Flemmi viewed Debbie.     She was his prized trophy.      Stephen said

         6   Flemmi got jealous if she ever spoke to another man, and now

         7   Debbie was going to end the relationship against his wishes,

         8   and then she disappeared.

         9             You probably were wondering why on earth I called John

03:33   10   Martorano as a defense witness, because I knew from what he had

        11   said before that he would relate a conversation he had had with

        12   Stephen Flemmi.    When Martorano asked his friend, Stephen

        13   Flemmi, Where's Debbie?     What happened to her?      And Flemmi said

        14   to him, I strangled her, it was an accident.         And John

        15   Martorano, who admitted that he had socialized with them, who

        16   liked Debbie, who had known her since show was young, he said,

        17   What?   How do you accidentally strangle somebody to death?         And

        18   Flemmi had no answer.

        19             I was a prosecutor once, and that would be the

03:34   20   centerpiece of a prosecution for first-degree murder of Stephen

        21   Flemmi for the murder of Debbie Davis, that he admitted to his

        22   friend, I strangled her, that's why she's not around, she's

        23   dead.   Did you notice that I had to call John Martorano to

        24   elicit that?

        25             When Debbie's mother went to the FBI and tried to get
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         1   some help and said, Can you help me, please, find my daughter?

         2   What was Stevie Flemmi doing at this time?        He was still coming

         3   around the house.    He was saying he was looking for Debbie.        He

         4   had hired a private eye to try to find her.        He was doing

         5   everything he could to find her.       But just one thing, Olga,

         6   don't call the Boston Police, and don't call the FBI.

         7             Is Stevie Flemmi a truthful person?        He blames

         8   everybody else for everything that he did.        He lies to your

         9   face when it suits him.

03:36   10             Can you trust Stevie Flemmi will tell you the truth?

        11   Reminds me of being in a restaurant.       I heard Mr. Wyshak get up

        12   and say, Well, even if Mr. Flemmi -- even if Bulger was not the

        13   one who killed her, Flemmi (sic.) should still be held

        14   responsible.   Really, in the face of this evidence that Stevie

        15   Flemmi himself killed Debbie Davis, what is this, something

        16   that you just take out of the soup?

        17             If you were at a restaurant and ordered a bowl of

        18   chowder and you noticed there was a cockroach swimming in it

        19   and you called the waiter over, There's a cockroach in my

03:37   20   chowder, and if the waiter reached over and plucked it out of

        21   the chowder and then turned to you and said, Okay, you can

        22   finish it now, it's good, would you finish that chowder or

        23   would you leave that restaurant as quickly as you can?

        24             Well, when the prosecutor wants to, in effect, pluck

        25   that cockroach out of the chowder that is Stephen Flemmi and
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         1   then tell you, Okay, you can have the rest, I suggest you

         2   should act the same way you would act if you were in that

         3   restaurant when you're trying to determine if you're going to

         4   believe Stephen Flemmi.

         5              May we stretch for a minute?

         6              THE COURT:    We may.

         7              MR. CARNEY:   Just to stand up.

         8              THE COURT:    Jurors, you can get up and stretch in your

         9   place for a moment, if you'd like.

03:38   10              (Pause.)

        11              MR. CARNEY:    Thank you very much.

        12              THE COURT:    Mr. Carney.

        13              MR. CARNEY:    I just want to comment briefly on a

        14   couple of other people who appeared before you as witnesses,

        15   just to illustrate certain points that Mr. Brennan made and

        16   that I'm making.

        17              It's a long time ago, or at least it seems like a long

        18   time ago, "Sniff," "Sniffer," "Sniffy" Katz, the bookmaker, the

        19   guy who sold football cards in Brookline, the person you'd go

03:39   20   up to in your neighborhood bar if you wanted to put a wager on

        21   the Patriots, or maybe on a basketball team during March

        22   Madness.   Remember what happened to Katz.       He pleaded guilty,

        23   the government recommended a sentence, and the sentence of four

        24   years was imposed on James Katz.       And when Katz declined to be

        25   a government witness, a year and a half was added to that
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         1   sentence, so that James Katz was doing five-and-a-half years in

         2   prison because he would not submit to the will of the

         3   prosecutor.   He got five-and-a-half years and Kevin Weeks did

         4   less than that for five murders.       Why do I mention this?

         5   Because this is an example of the power of the federal

         6   prosecutor to crush somebody, like Katz was crushed.

         7             Kevin O'Neil.    Remember Mr. O'Neil, who was the owner

         8   of Triple O's and was involved tangentially with Bulger on

         9   business-related things.     And remember the story he told.       He

03:40   10   was arrested, brought into court.       He thought he'd be a pretty

        11   good candidate for bail.     He had lived in the area for his

        12   whole life.   He was married to the same woman for 30 years.

        13   They lived in the same house for 25 years.        They had two

        14   teenage daughters.    He had a number of businesses going in

        15   South Boston, and he really didn't travel much.         This is a guy,

        16   I submit to you, who gets released on bail.        But what did the

        17   prosecutors say at the bail hearing?       There were no conditions

        18   of release that could assure the safety of the community

        19   because this man is so dangerous.

03:41   20             They said they had a named informant who had told them

        21   that O'Neil had confessed to killing someone, to committing

        22   murder.   And they also said O'Neil was involved in beating up

        23   Raymond Slinger, using a firearm, and violently extorting

        24   Raymond Slinger.    And the judge heard this from the

        25   prosecutors, including one who is sitting at the table to my
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         1   left, and he held Mr. O'Neil without bail.

         2              Eleven months later, Mr. O'Neil, seeing his family

         3   suffering, his businesses failing, his health in decline,

         4   agreed to become a government witness.        Two days later he's in

         5   court, and this man, who was so dangerous he could not be

         6   released on any set of conditions, now is released.          Why?

         7   Because the prosecutor said, It's okay, he's going to be a

         8   government witness, so we can let him out.

         9              And then four years later, when he was -- after he had

03:43   10   pleaded guilty and was sentenced and the judge heard some

        11   details, remember that murder that the named informant said

        12   Mr. O'Neil had confessed to, oh, the D.A. had withdrawn the

        13   charge because there was no basis.        Oh, and what about Ray

        14   Slinger?   Had he beaten up Ray Slinger?       Had he used a firearm?

        15   Had he violently extorted him?      No.    On one occasion he had

        16   gone to Mr. Slinger's office, picked up an envelope, and

        17   brought it back to Triple O's to give to Jim Bulger.

        18              Do you think that the judge might have felt that he

        19   had been duped at the bail hearing, that he had accepted the

03:43   20   government's representations and it turned out they weren't

        21   true?   And when it came time to impose a sentence, he rejected

        22   the government's recommendation and imposed a sentence that was

        23   basically credit for time served, and O'Neil never went back to

        24   prison.

        25              Why do I point out the O'Neil case?       Because it
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         1   illustrates the power of the prosecution to take away someone's

         2   freedom, his liberty, based on allegations made by an informant

         3   who's providing information to the government.

         4               I know that I was made fun of about Lindholm, but let

         5   me just talk about Kevin Hayes for a moment.         What does Kevin

         6   Hayes show you?    This is the person who was picked up by Mick

         7   Murray and taken to the basement and there was Kevin Weeks

         8   waiting for him.    I've talked a little bit about it.        Well,

         9   after Hayes was extorted, he went to the FBI and asked for a

03:45   10   meeting with the FBI, and you heard that they assigned two

        11   special agents to speak to Kevin Hayes.        We heard one of them,

        12   Todd Richards, very professional, very competent, very

        13   truthful.    He said the two agents spent an hour with Kevin

        14   Hayes.   One of the agents asked questions, the other took down

        15   everything that was being said.       They put together a report

        16   afterwards and they both look at it and made sure it was

        17   accurate and it was complete in all relevant details.             And what

        18   had Kevin Hayes told them?      Mick Murray called me and said

        19   Kevin Weeks wanted to see me right away.        Murray picked me up,

03:46   20   he drove me to a house, I went into the basement, and there was

        21   Kevin Weeks and two other people.       And then Kevin Weeks

        22   proceeded to extort him, and Hayes gave money for months that

        23   was intended for Kevin Weeks.      And absolutely nowhere in that

        24   accurate and complete account of the interview with Kevin Hayes

        25   was the name James Bulger even mentioned.        Indeed, when I
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         1   questioned Mr. Hayes, he say he has not only not ever spoken to

         2   James Bulger, he has never seen James Bulger.         But what

         3   happened before the prosecutor presented Kevin Hayes to the

         4   grand jury?     Now Kevin Hayes was saying that what he was told

         5   originally was "Whitey" Bulger and Kevin Weeks wanted to see

         6   him.

         7              What do you think happened between the time that Kevin

         8   Hayes was interviewed by these two witnesses and the time that

         9   a prosecutor put him in front of the grand jury?

03:47   10              I just use this as an example to show how James

        11   Bulger's name can be added to the mix.

        12              When do you think Kevin Hayes was telling the truth?

        13   When he spoke to the FBI agents or when the prosecutors got

        14   ahold of him?

        15              Now, I was ridiculed earlier today because I had

        16   mentioned David Lindholm and went into a long discussion with

        17   him about Federal Rule 35.      You probably know more now, you

        18   jurors, about Federal Rule of Criminal Procedure 35 than most

        19   lawyers do, certainly lawyers that don't practice criminal law.

03:48   20              But I wasn't just trying to conduct a law school class

        21   here.   I wanted to use Lindholm as a very important example for

        22   you.    He was brought to western Massachusetts to meet with some

        23   federal prosecutor about an investigation, and then, by

        24   coincidence, Lindholm was placed in a facility in Plymouth in a

        25   unit with somebody who's awaiting trial on a very high-profile
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         1   case, the killing of a police officer, a case that people

         2   characterized as weak.     And it just so happens that Lindholm

         3   befriends this guy and they talk, and the guy says, I had

         4   nothing to do with it, nothing at all.        But then when Lindholm

         5   is transferred elsewhere, now he says, The guy actually

         6   confessed to me that he had done the crime.

         7              So now Lindholm becomes the lead witness in the trial

         8   against this individual.     And remember what Lindholm said at

         9   the trial when he was called as a witness, United States v.

03:50   10   Alfred Trenkler.    David Lindholm testimony.

        11              Question by the prosecutor -- I don't know, maybe

        12   that's even by the defense counsel.       It doesn't matter.

        13              "You don't want any benefit for testimony you're

        14   giving here today; that fair to say?

        15              "I'll go on the record to say that I'm not going to

        16   ask for any benefit, rewards, inducements any time in the

        17   future."

        18              Under oath at that trial.     And of course the

        19   prosecutor would have represented to the jury that he had made

03:51   20   no deal with David Lindholm for his testimony.         But you know

        21   that after the trial, a couple of months later, Lindholm did

        22   ask for a benefit for his testimony.       And instead of the

        23   prosecutor saying, No, look, we had no benefit, you testified,

        24   there was no benefit, I'm not going to give you a benefit,

        25   instead of doing that, they gave him a benefit.         They filed a
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         1   motion under Rule 35, and after the motion was heard, Lindholm

         2   was out by the end of the month.

         3              Why is this important?     Do you think that the jurors

         4   who sat on the Trenkler case talked about the fact that they

         5   could believe the witness because not only was he not getting a

         6   benefit, but he had gone on record to say he's not going to ask

         7   for any benefit?    How do you think those jurors would feel if

         8   they knew that after the trial Lindholm did ask for a benefit?

         9   What if they had known during the trial, what if they had a

03:52   10   crystal ball and they said, Wait a minute, Lindholm is going to

        11   come in here and ask for a benefit in four months?          Oh, my God,

        12   and the prosecutor is going to give it to him and he's going to

        13   get out.   Would that have been a consideration about how they

        14   viewed the credibility of that witness?        Do you think they'd

        15   feel that had they known that this was going to happen they

        16   would not have given that witness credibility because they

        17   would have known he was lying and that the prosecutor was, in

        18   fact, ultimately going to give him a benefit?

        19              Now, this did not happen in some backwater county, you

03:53   20   know, with some local D.A. somewhere far away from here.          No,

        21   this happened in Boston in the federal courthouse with the

        22   prosecutors from this U.S. Attorney's Office.

        23              I ask you candidly, can you trust how this is

        24   happening?   Can you trust that you will be treated honestly,

        25   truthfully, and in a trustworthy fashion regarding the
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         1   witnesses who are presented to you?

         2             Now, when it came up during the testimony about Rule

         3   35, it wasn't the first time that Rule 35 had been alluded to.

         4   Remember, Ralph DeMasi, the guy, kind of a little, very thin

         5   man, old man, he's what we call a guy who does life

         6   imprisonment on the installment plan.       Into prison, out of

         7   prison, into prison, out of prison.       What did he say at the

         8   beginning of the trial, before we even realized the

         9   significance of it?

03:54   10             First I guess we look at Rule 35, because the

        11   prosecutor has represented that Rule 35 can't even be applied

        12   in this case.

        13             "Under Rule 35 of the federal criminal rules" -- and

        14   this is an instruction that her Honor is going to give you --

        15   "the general rule is that a substantial assistance motion is

        16   made within one year of a person's sentence.         The government

        17   may file a substantial assistance motion more than one year

        18   after a person is sentenced if that individual's substantial

        19   assistance involved information not known to the person until

03:55   20   one year or more after the sentencing" -- now comes the

        21   important one -- "information provided by the person to the

        22   government within one year of sentencing but which did not

        23   become useful to the government until more than one year after

        24   sentencing."

        25             And then a third way that doesn't apply.
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         1              I know you're not lawyers, but I know you can read

         2   English, and that provision is one where you can just say it

         3   means what it says.

         4              And now we go to Mr. DeMasi.

         5              No, I don't think we have Mr. DeMasi.

         6              So let me remind you, and it's your memory that

         7   controls, but remember what Mr. DeMasi said.         Let's see if I

         8   have something here.     I'm afraid I don't.

         9              THE COURT:    Counsel, I believe it's on the screen.

03:56   10              MR. CARNEY:    Oh, it is.

        11              Ralph DeMasi.    Caught me off guard.

        12              He's asked this question -- he's offered as a victim

        13   in this case.    He's called by the prosecution, he's their

        14   witness.

        15              I ask him:    "Were the benefits of cooperating

        16   generally well-known among the inmates?

        17              "Yeah, guys are walking the street after they killed

        18   20 people if they cooperated, and then you got other -- one

        19   person who kills somebody and they put him in the electric

03:57   20   chair.   That's the way the government works.        You kill 20

        21   people, go testify against somebody, you can walk.

        22              "And that's how it works?

        23              "There are people out there now that are serial

        24   murderers.

        25              "And is that how the system works?
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         1              "That's how the system works."

         2              Now, why really was Lindholm's testimony and the

         3   discussion of Rule 35 so important?       Stephen Flemmi.     The

         4   government says no promises to Flemmi, Flemmi has got nothing

         5   to look forward to, he's going to do life in prison, plus 30

         6   years.    And yet, let's look at what happened in Stevie Flemmi's

         7   case.

         8              For example, Stevie Flemmi was sentenced in Florida.

         9   He pleaded guilty to first-degree murder.        The sentence that

03:58   10   was imposed would run concurrent with his federal sentence, and

        11   that's all she wrote, right?

        12              Well, remember what was stated at the Flemmi

        13   sentencing hearing.

        14              Florida v. Flemmi, I read this to you during the

        15   trial.

        16              Mr. Van Zamft -- he and Fred Wyshak were the

        17   prosecutors.

        18              So the prosecutor from Florida, the co-prosecutor

        19   said:    "In the event the United States government grants Rule

03:59   20   35 to Mr. Flemmi and he receives the reduction in his sentence,

        21   and Mr. McDonald" -- who was Flemmi's lawyer -- "and I have

        22   agreed Mr. Flemmi can withdraw his plea to the charges that he

        23   is agreeing on the record to do" -- maybe it makes sense if

        24   you're in Florida -- "if that occurs, he will be pleading to

        25   second-degree murder.     That waives the statute of limitations
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         1   today and if that statute Rule 35 occurs and he does withdraw

         2   the plea, then he will plead to second and the sentence is

         3   concurrent with whatever he receives pursuant to Rule 35."

         4             If there is no possibility of Rule 35 ever occurring

         5   for Stevie Flemmi, why did the prosecutors specifically mention

         6   it at Flemmi's sentencing hearing?

         7             And then look at Flemmi's testimony at this trial.

         8             "Mr. Flemmi, have you heard a rule called -- of the

         9   rule called a Rule 35?

04:01   10             "I think everybody in the federal system probably

        11   heard about that rule.

        12             "And what you know about Rule 35 is that if you

        13   provide substantial assistance to the government, then they can

        14   file a motion on your behalf to reduce your sentence; isn't

        15   that fair to say?

        16             "I've never asked the government for that.

        17             "You don't know what your future holds because you're

        18   hoping for that opportunity to present itself, Mr. Flemmi.

        19             "Everybody hopes at some point in the future something

04:01   20   beneficial would happen.

        21             "I'm not talking about anybody, I'm talking about you.

        22   Do you hope, Mr. Flemmi?

        23             "I'm still alive, there's always a hope, you never

        24   know."

        25             The jurors in Lindholm trusted that the witness was
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         1   not going to get a benefit and trusted in Lindholm that the

         2   prosecutor was not going to extend a benefit after the trial.

         3   Fool jurors once, shame on the prosecutor.        Fool jurors twice,

         4   shame on the jurors.     And I say that with respect.

         5             Please let me close.

         6             The federal government is the most powerful force on

         7   earth in terms of a government, especially when the power of

         8   the federal government is focused on an individual or a small

         9   group, whether it's by the IRS or regulatory agency or the

04:03   10   federal prosecutors, but there is one instance where a small

        11   group of people can stand up to the federal government and

        12   successfully take on the federal government.         You are those

        13   folks.

        14             When the government brings a criminal charge, our

        15   founding fathers, and as I like to say, supported by the

        16   founding mothers, knew that government can abuse its power, and

        17   so they wanted to build in a protection.        And so when someone

        18   is charged with a criminal offense, they put in our

        19   Constitution that the prosecutor has to prove beyond a

04:04   20   reasonable doubt every single charge, count, predicate act,

        21   whatever is before the jury, beyond a reasonable doubt.           It's

        22   the standard in our Constitution, and it's one of the things

        23   that makes our Constitution such an incredibly great document,

        24   and why, we, the United States, are the envy of the rest of the

        25   world, for our constitution.
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         1              Members of the jury, I ask you to find strength in the

         2   oath that you took.      When you took that oath, you became our

         3   country.   You have the power to stand up to governmental abuse,

         4   to return a verdict based on the strength of your oath, that

         5   when the government brings a case against somebody and relies

         6   primarily on the testimony of three people, the likes of which

         7   are Martorano, Weeks, and Flemmi, and paid them for their

         8   testimony a price that is obscene, you can have the strength

         9   and power and come back and say, No, we don't find that

04:05   10   evidence to be proof beyond a reasonable doubt.         You can say it

        11   with courage that the prosecutors have not met their burden of

        12   proof, and then you will embody our constitutional protections.

        13              Thank you very much for your attention.

        14              THE COURT:    Jurors, we're going to take ten minutes

        15   before we have brief rebuttal by the government.         Ten minutes.

        16              THE CLERK:    All rise.

        17              (Jury left the courtroom.)

        18              THE COURT:    Ten minutes, counsel.

        19              MR. CARNEY:    Thank you, your Honor.

04:06   20              (Recess taken.)

        21              (Resumed, 4:16 p.m.)

        22              THE CLERK:    The jury is lining up.

        23              (Jury enters the courtroom.)

        24              THE COURT:    Mr. Wyshak.

        25              MR. WYSHAK:    Thank you, your Honor.
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         1             THE COURT:    Fifteen minutes, Counsel.

         2   REBUTTAL ARGUMENT BY MR. WYSHAK:

         3             MR. WYSHAK:    Okay.   All right, so let's get back to

         4   reality here.    As I suggested during my initial summation, the

         5   defense in this case wants you to take your eye off the ball.

         6   Although Mr. Carney can't bring himself at the end of his

         7   summation to say "Find my client not guilty," he suggests that

         8   you should essentially violate your oath as jurors here and

         9   issue some referendum on government misconduct.         But that's not

04:18   10   why you're here.    You've raised your right hand and you've

        11   sworn to apply the facts to the law as the Judge gives it to

        12   you, and that's exactly what Mr. Brennan and Mr. Carney are

        13   asking you not to do.     They're asking you to render some

        14   verdict that doesn't comply with the evidence but sends some

        15   message about how the big, bad government needs to learn a

        16   lesson from this case.     Well, I suggest to you that that will

        17   be a violation of your oath, and that's exactly what those two

        18   speeches that we just heard are all about.

        19             Now, I can't stand up here -- I only have 15 minutes

04:18   20   to talk to you about the defense summation.        I can't rebut

        21   everything they said, but I suggest to you that the comments

        22   made by Mr. Brennan and Mr. Carney in very many instances are

        23   misrepresenting to you what the evidence is in this case.

        24             For example, let me give you a prime example of that.

        25   Mr. Carney stands up here and he wants to read to you the
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         1   testimony of Marion Hussey given at a deposition and a trial

         2   about her daughter, Deborah Hussey.       And what does Marion

         3   Hussey say about when the incident occurred when she found out

         4   that Stephen Flemmi had been abusing her daughter and she threw

         5   him out of the house?     She said that that incident occurred in

         6   1982.    It's right there on the chart.     It's in evidence.     You

         7   can look at it yourself.     And Mr. Carney, after reading that,

         8   wants to stand up and tell you that that is the precipitating

         9   factor; that Stephen Flemmi, as a result of that incident in

04:19   10   1982, led Deborah Hussey to her death.        And that is just

        11   dishonest, ladies and gentlemen, because the evidence in this

        12   case is that Deborah Hussey was not brought to 799 East Third

        13   Street until sometime in January, 1985, three years later,

        14   okay?    So it's not as though this incident occurs, Mr. Flemmi

        15   gets thrown out of the house, and the next thing he's doing is

        16   murdering Deborah Hussey.      There were three years in between

        17   there.    So, again, you need to focus on the evidence and not

        18   just accept what either of the lawyers in this case say.

        19              Clearly, clearly there's no dispute, this was a

04:20   20   horrific crime, and Mr. Flemmi's relationship with his

        21   stepdaughter was equally horrific.       And, as I said to you

        22   before, the question is not whether or not Stephen Flemmi, who

        23   has pled guilty and been convicted of the murder of Deborah

        24   Hussey, was involved in the murder.       The question that you have

        25   before you is whether or not Mr. Bulger played a role in that
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         1   murder.

         2             And I suggest to you that the evidence shows that as

         3   early as 1974, when Mr. Flemmi returned from Canada and joined

         4   up with the Winter Hill Gang, he and Mr. Bulger together are

         5   involved to some degree in every murder that this criminal

         6   organization committed.     There is not one murder where

         7   Mr. Flemmi has gone off on a detour and a frolic and killed

         8   somebody that wasn't part of the activity of this RICO

         9   organization.    Once these men became partners, they did

04:22   10   everything together.     Mr. Flemmi needed Mr. Bulger there;

        11   Mr. Bulger was there.     Whether he aided and abetted, whether he

        12   conspired with Flemmi, it doesn't matter.        He's still guilty.

        13             Now, the defense wants you to reject the testimony of

        14   Mr. Martorano, Mr. Flemmi, and Mr. Weeks; and one of the

        15   exercises I went through when I went through the evidence on

        16   this case was to point out all the corroborative evidence, and

        17   I told you, don't rely upon the testimony alone of any one of

        18   these three individuals.     But, again, Mr. Carney wants to

        19   suggest to you that somehow these witnesses got together and

04:22   20   coordinated their testimony.      I suggest to you there is no

        21   evidence in the record that supports that at all.         And one

        22   thing you do know is that Mr. Weeks did not know John Martorano

        23   at all.   He never met John Martorano until after John Martorano

        24   was incarcerated in the Plymouth House of Correction and saw

        25   him on one occasion when Martorano asked him for that $10,000.
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         1   So the concept that Mr. Weeks and Mr. Martorano somehow got

         2   together and coordinated their testimony is preposterous.

         3   There's no evidence to believe that.

         4             And Mr. Weeks tells you about numerous murders that

         5   Mr. Bulger was involved in with Mr. Martorano.         Martorano

         6   testified about what occurred, and then Mr. Weeks tells you

         7   that years later he has conversations with Mr. Bulger about

         8   those very murders; the murder of Jimmy O'Toole, the murder of

         9   Eddie Connors in the phone booth.       So, again, the testimony

04:24   10   from Weeks and Martorano harmonize.       These two men did not get

        11   together and plan their testimony.

        12             The concept that the government buys testimony, well,

        13   that's just a slanderous and lowlife remark from Mr. Carney.

        14   It's not how the system works.

        15             Mr. Carney wants to call Mr. Martorano a psychopath, a

        16   pathological liar.    Well, again, this is the defendant's

        17   criminal associate for 25 years.       This is a man who Mr. Bulger

        18   murdered people with.     This is a man with whom he associated;

        19   so too with Mr. Flemmi, so too with Mr. Weeks.         As much as

04:24   20   Mr. Carney wants to try to distance his client from these men,

        21   he cannot do it.    They are together.     They're part of the same

        22   criminal organization.     They're partners.     Everything they do

        23   they do together.    That's the way this business worked.

        24             He wants to talk to you about a Rule 35 motion, and,

        25   again, the Judge is going to give you a charge on what that is,
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         1   but I suggest to you that these Rule 35 motions are generally

         2   made within one year of sentence, and that's it.         In the case

         3   of David Lindholm, he was locked up with somebody who made a

         4   jailhouse confession to him that was new information that he

         5   provided.    Mr. Flemmi has provided no new information to the

         6   government since the time he cooperated in 2003, which is ten

         7   years ago.    That information has been used by the government in

         8   multiple trials since 2003.      There is no basis for the

         9   government to file any motion on Mr. Flemmi's behalf, and

04:26   10   there's no evidence in the record that the government intends

        11   to do so or Mr. Flemmi believes the government intends to do

        12   so.

        13               He wants to talk to you about the government adding

        14   18 months to Jimmy Katz's sentence because Jimmy Katz refused

        15   to become a witness for the government, and, again, this is the

        16   way that Mr. Carney twists and misrepresents what the evidence

        17   is.   People are called to a grand jury just like they're called

        18   to this trial, and they have to raise their right hand and they

        19   have to testify; and if they refuse to testify, they get held

04:26   20   in contempt of court.     And that's what Mr. Katz did.       It's not

        21   about being a witness for the government or not being a witness

        22   for the government.     It's being called to a grand jury or a

        23   trial and required to answer questions; and if you don't do

        24   that when you're ordered to do it by a judge like Judge Casper,

        25   yes, you go to jail.
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         1             He wants to suggest to you that somehow the government

         2   mistreated Kevin O'Neil, that the government said things about

         3   Mr. O'Neil that weren't true.      Well, we talked a little bit

         4   about Ray Slinger.    Okay, Kevin O'Neil is the one who has the

         5   dispute with Ray Slinger.      Kevin O'Neil is the one who tells

         6   Jim Bulger about that.     Kevin O'Neil knows what Jim Bulger is

         7   about, and Kevin O'Neil knows, when Jim Bulger tells Kevin

         8   O'Neil to have Ray Slinger come down to Triple O's, Kevin

         9   O'Neil knows what's going to happen.       And Kevin O'Neil brings

04:28   10   Ray Slinger to Triple O's where he goes upstairs, and Kevin

        11   O'Neil knows what happens to people who go upstairs with the

        12   likes of Stephen Flemmi, James Bulger, and Kevin Weeks.            Kevin

        13   O'Neil goes and picks up the envelope with the money that

        14   Bulger extorted from Ray Slinger.

        15             So, again, when we talk about criminal liability, we

        16   go back to that chart.     You can be a principal.      You can be an

        17   aider and abetter.    You can be a co-conspirator.       Did

        18   Mr. O'Neil aid and abet the extortion of Ray Slinger?             You bet

        19   he did.   He was guilty of that offense, and he pled guilty to

04:28   20   it.   So to suggest that that is not true is another

        21   misrepresentation by Mr. Carney.

        22             To suggest that David Lindholm was lying when he

        23   testified at the Trenkler trial that he didn't want a Rule 35,

        24   well, you heard what the evidence was.        You saw what the

        25   evidence was.    His lawyer sent a letter to the prosecutor and
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         1   said, "Despite the fact my client doesn't want this, I feel I

         2   have a professional obligation to ask for it."         That's how that

         3   happened.

         4               So, again, you know, please, go back and take a look

         5   at the evidence in this case.      Take a look at your notes.

         6   There is nothing that occurred in this case where the leader of

         7   the criminal organization was not involved in some capacity.

         8   It's humorous to hear Mr. Carney and Mr. Brennan stand up here

         9   before you and try to suggest to you that, oh, these crimes

04:29   10   were committed by Mr. Flemmi and Mr. Weeks and Mr. Nee but not

        11   by Mr. Bulger; he just got thrown in.       Is that consistent with

        12   what any of the evidence has been in this case?         Haven't you

        13   heard from witness after witness -- and I'm not talking about

        14   Flemmi, Martorano, or Weeks.      I'm talking about the drug

        15   dealers, the bookies, all these other witnesses who said Bulger

        16   was the boss; Bulger was in charge.       Did any witness come in

        17   here and say Mr. Flemmi was the boss?       So when you consider

        18   what Mr. Bulger's role is, he's in charge.        To suggest that

        19   these individuals are engaging in this criminal activity

04:30   20   without his involvement is nonsense, and it's not supported at

        21   all by the evidence.

        22               THE COURT:    Mr. Wyshak, two minutes.

        23               MR. WYSHAK:    Again, ladies and gentlemen, the

        24   defendant, Mr. Carney, Mr. Brennan want to hold themselves out

        25   as being sympathetic to the families of the victims in this
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         1   case.    The Donahues, whose father was murdered, whose husband

         2   was murdered by James Bulger, the man sitting at the table is

         3   the man who pulled the trigger and killed both of those men,

         4   and they want to feign sympathy for the victims while defending

         5   him.     Don't buy it.

         6               Thank you very much.     I have nothing further.

         7               THE COURT:   Jurors, we're at the end of our session

         8   today.    As I mentioned to you, tomorrow first thing I will give

         9   you the final jury charge.      Those are the instructions of law

04:31   10   that you are to follow in your deliberation, and I'll give you

        11   certain rules and procedures that you need to follow in your

        12   deliberation.

        13               As you leave today, keep all of my cautionary

        14   instructions in mind.     They're just as important today even as

        15   we're at this juncture where you've already heard the closing

        16   arguments.    You're not to discuss this case, not with anyone,

        17   not with each other and not with anyone outside.         You're not to

        18   do any research, not to listen, watch any media accounts about

        19   this case, and keep an open mind.       I will see you in the

04:32   20   morning, and, as I said, I'll charge you tomorrow.

        21               I did tell you on Friday but just remind you each day,

        22   be prepared to stay all day, okay?       So the schedule we had

        23   today is much the schedule that you can expect in the days to

        24   come.    Thank you, and have a good afternoon.

        25               THE CLERK:   All rise.
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 1             (Jury excused.)

 2             THE COURT:    Counsel, we'll stand in recess.       I'll see

 3   you at 8:45 tomorrow.     Thank you.

 4             (Adjourned, 4:33 p.m.)

 5                               CERTIFICATION

 6             We certify that the foregoing is a correct transcript

 7   of the record of proceedings in the above-entitled matter to

 8   the best of our skill and ability.

 9

10   /s/Debra M. Joyce                     August 5, 2013
     Debra M. Joyce, RMR, CRR              Date
11   Official Court Reporter

12

13   /s/Lee A. Marzilli               August 5, 2013
     Lee A. Marzilli, RMR, CRR       Date
14                       Official Court Reporter

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